Case 3:23-cv-00141-SPM    Document 54 Filed 11/08/24    Page 1 of 168   Page ID
                                    #317



               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ILLINOIS


 CALEB BARNETT, et al.,
     Plaintiffs,

            v.                           Case No. 23-cv-00209-SPM (Lead Case)

 KWAME RAOUL, et al.,
     Defendants.


 DANE HARREL, et al.,
     Plaintiffs,

            v.                           Case No. 23-cv-00141-SPM

 KWAME RAOUL, et al.,
     Defendants.


 JEREMY W. LANGLEY, et al.,
     Plaintiffs,

            v.                           Case No. 23-cv-00192-SPM

 BRENDAN KELLY, et al.,
     Defendants.


 FEDERAL FIREARMS
 LICENSEES OF ILLINOIS, et al.,
      Plaintiffs,

            v.                           Case No. 23-cv-00215-SPM

 JAY ROBERT “J.B.” PRITZKER, et al.,
      Defendants.


McGLYNN, District Judge:




                                  Page 1 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 2 of 168     Page ID
                                      #318



        FINDINGS OF FACT AND CONCLUSIONS OF LAW

                                   INTRODUCTION

      Why are there small lifeboats on gigantic steel ocean liners? Why do we spend

thousands equipping our vehicles with airbags? Why do we wear seatbelts and place

our infants in safety seats? Why do we build storm shelters under our homes? Why

do we install ground-fault interrupter outlets by sinks and bathtubs? Why do we get

painful inoculations? Why do we voluntarily undergo sickening chemotherapy?

      And why do we protect ourselves with firearms?

      In life, we face many perils. Some are natural weather phenomena such as

hurricanes, tornadoes, or floods. Some are biological such as viruses, disease, or

malignant cells. Some perils are associated with important products like electricity,

natural gas, matches, automobiles, and pain-reliving medications.

      Too often, the perils we face are forced upon us by other people. By people who

are negligent, reckless, insane, impaired, or evil. Sometimes it is the proverbial lone

wolf; sometimes, it is the whole wolf pack. Truly, life comes at you quickly.

      And who comes to our aid in times of peril? Sometimes, it is the police or first

responders; other times it is healthcare professionals; and sometimes it is family,

friends, or neighbors. Sometimes, it is no one.




                                     Page 2 of 168
Case 3:23-cv-00141-SPM        Document 54 Filed 11/08/24           Page 3 of 168     Page ID
                                        #319



                  Rabbit and Duck Illusion – What Do You See?1




       This illustration posits the question on the top line, written in German,

“[w]hich two animals are most like each other?” Beneath the image are the words

“[R]abbit and duck.” The image distinguishes perception from interpretation. If you

see only a duck, your interpretation of the data is too narrow. Yet once you become

aware of the duality of the image, your interpretation of the data allows you to see

both a duck and a rabbit. This image illustrates the way in which perspective and

context enable one to see the same information in entirely different ways.

       The AR-15 is the Rorschach test of America’s gun debate. In listening to the

political debate and in reading various judicial interpretations of what the AR-15

represents, it is obvious that many are seeing very different creatures. Many see one,

but not the other. Our task here is to understand the duality of much of the data and



1  “Kaninchen und Ente” (“Rabbit and Duck”), FLIEGENDE BLÄTTER (Oct. 23, 1892),
https://commons.wikimedia.org/wiki/File:Flegende-Blatter-1892.png [https://perma.cc/78WL-F99T]
(Ger.).


                                        Page 3 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24       Page 4 of 168    Page ID
                                     #320



the reasons for varying interpretations. Are they seeing a dragon to be slayed or a

horse to pull a carriage? Often, the different perspectives are defined by whom they

picture using the weapon—either a menacing criminal or a law-abiding citizen

involved in a dangerous confrontation.

                     The Protect Illinois Communities Act

      The Protect Illinois Communities Act, Ill. Pub. Act 102-1116 § 1 (codified at

720 ILL. COMP. STAT. 5/24-1.9–1.10) [hereinafter PICA] criminalizes knowing

possession of hundreds of previously lawful rifles, handguns, and shotguns. It also

bans various attachments, accessories, configurations, and so-called “large capacity”

magazines. It also created a firearm registration program requiring registry of arms

possessed prior to January 1, 2024, the date after which PICA would be enforced.

      The stated impetus for imposing these sweeping gun restrictions was a tragic

incident where a young person armed with a semiautomatic rifle opened fire on a

crowd gathered for an Independence Day parade. The goal was to impede violent

criminals from deploying semiautomatic firearms and ammunition magazines

designated as “high capacity.”

      So much about firearms is contentious, from the political debate to the

jurisprudential debate. At the crossroads of this debate stands the Second

Amendment of the United States Constitution.

      The United States Supreme Court has issued several landmark decisions that

seemingly answered several important questions about the right to keep and bear

arms. Those decisions were not unanimous. Dissenting justices advanced divergent




                                    Page 4 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24       Page 5 of 168    Page ID
                                      #321



arguments, including that the Second Amendment is an anachronism with no

relevance to the present day and no power to thwart government gun control laws.

Additionally, modern gun violence demands that the “unqualified reach” of the

Second Amendment’s directive that the “right to keep and bear arms shall not be

infringed” surrender wide latitude to the government’s efforts to minimize gun

violence.

      There is no happy consensus on guns, particularly those defined as “assault

weapons.” With malice toward none on either side of these debates, and with no desire

to impose policy judgments by judicial fiat, this Court seeks to understand what

exactly it means for a firearm to be “dangerous,” “unusual,” “bearable,” “in common

use,” in “dual use,” and/or a “military weapon.”

      As the Second Amendment’s guarantee centers around the right to self-

defense, one cannot identify the delimits of its reach unless one understands what

falls within the parameters of confrontation with an adversary. The Court will

examine the soldier in military confrontation as well as the civilian in dangerous or

deadly confrontation and determine whether clear lines of demarcation exist between

the two and where those lines may blur.

      This Court will analyze Supreme Court jurisprudence on the Second

Amendment as well as the Seventh Circuit’s holdings in Friedman v. City of Highland

Park, 784 F.3d 406 (2015) and in Bevis v. City of Naperville, 85 F.4th 1175 (Nov. 3,

2023). This Court will determine if, in the process of more clearly defining important




                                     Page 5 of 168
Case 3:23-cv-00141-SPM           Document 54 Filed 11/08/24              Page 6 of 168       Page ID
                                           #322



terms, the established caselaw gives way to a more harmonious synthesis of both

Supreme Court and Seventh Circuit jurisprudence.

                         FACTUAL AND PROCEDURAL BACKGROUND

       Within months of the Supreme Court’s decision in New York State Rifle &

Pistol Association, Inc. v. Bruen, 597 U.S. 1 (2022), Illinois Governor J.B. Pritzker

signed PICA in response to the Highland Park shooting on July 4, 2022.2 Governor

Pritzker declared that Illinois became “the ninth state to institute an assault weapons

ban and one of the strongest assault weapons bans in the nation.”3 This matter is

before the Court for a final adjudication on the merits of the equitable claims4 brought

by the Plaintiffs in Barnett v. Raoul, 23-cv-00209-SPM5; Harrel v. Raoul, 23-cv-00141-

SPM6; Langley v. Kelly, 23-cv-00192-SPM7; and Federal Firearms Licensees of Illinois

v. Pritzker, 23-cv-00215-SPM8 against various Illinois state and municipal




2 See, e.g., Jessica D’Onofrio, Craig Wall & Eric Horng, Assault Weapons Ban Illinois: Gov. Pritzker

Signs Gun Law After House Passes Amended Version, ABC7 CHI. (Jan. 10, 2023),
https://abc7chicago.com/illinois-assault-weapons-ban-bill-2023/12683807/      [https://perma.cc/6MUG-
FVAS]; Mawa Iqbal, Downstate Judge Set to Rule Next Month on Constitutionality of Illinois’ Assault
Weapons       Ban,      NAT’L     PUBLIC     RADIO     ILL.    (Sept.   19,     2024,     5:59    PM),
https://www.nprillinois.org/illinois/2024-09-19/downstate-judge-set-to-rule-next-month-on-
constitutionality-of-illinois-assault-weapons-ban [https://perma.cc/4QM8-E55X].
3 CBS Chi., Illinois Gov. JB Pritzker Signs Assault Weapons Ban at 0:26 (Jan. 10. 2023),

https://www.youtube.com/watch?v=9UBEdOfnT90 [https://perma.cc/3BWR-HHLK].
4 While one group of plaintiffs brought claims for damages pursuant to 42 U.S.C. § 1983 in their

amended complaint, those same plaintiffs have since withdrawn those claims.
5 The named Barnett Plaintiffs are Caleb Barnett, Brian Norman, Hoods Guns & More, Pro Gun and

Indoor Range, and National Shooting Sports Foundation, Inc.
6 The named Harrel Plaintiffs Dane Harrel; C4 Gun Store, LLC; Marengo Guns, Inc.; the Illinois State

Rifle Association; Firearms Policy Coalition, Inc.; and the Second Amendment Foundation.
7 The Langley Plaintiffs are Jeremy W. Langley, Timothy B. Jones, and Matthew Wilson.
8 The Federal Firearms Licensees of Illinois (“FFL”) Plaintiffs are Federal Firearms Licensees of

Illinois, Guns Save Life, Gun Owners of America, Gun Owners Foundation, Piasa Armory, Jasmine
Young, Chris Moore. While Debra Clark was originally a named Plaintiff, this Court granted a
stipulation of dismissal dismissing all claims against Ms. Clark on August 27, 2024. See FFL (Doc. 79).


                                            Page 6 of 168
Case 3:23-cv-00141-SPM           Document 54 Filed 11/08/24             Page 7 of 168      Page ID
                                           #323



government Defendants.9 The Plaintiffs in each of the four consolidated cases10 seek

declaratory judgment that PICA is unconstitutional under the Second and

Fourteenth Amendments.11 See Bruen, 597 U.S. 1 (2022); United States v. Rahimi,

144 S. Ct. 1889 (2024); see also McDonald v. City of Chicago, 561 U.S. 742 (2010);

District of Columbia v. Heller, 554 U.S. 570 (2008).

       The Plaintiffs sought preliminary injunctions to enjoin the enforcement of

PICA in each of the four cases,12 which were granted by this Court in Barnett on April

28, 2023. (Doc. 101). The Seventh Circuit vacated the preliminary injunction on

November 3, 2023. See Bevis v. City of Naperville, 85 F.4th 1175 (7th Cir. Nov. 3,

2023). The Federal Firearms Licensees of Illinois Plaintiffs filed a second motion for

preliminary injunction on November 13, 2023, which this Court denied on December

22, 2023. See 23-cv-00215-SPM (Docs. 57, 75). Various Bevis Plaintiffs (including the

Barnett and Langley Plaintiffs) concurrently filed petitions for rehearing by the same

panel and for rehearing en banc, see Bevis (Docs. 129, 139), which were denied by the

Seventh Circuit on December 11, 2023. See id. (Docs. 146, 147).


9 The Defendants in Barnett are Attorney General Kwame Raoul and Illinois State Police Director

Brendan F. Kelly. The Defendants in Harrel are Attorney General Raoul, Director Kelly, State’s
Attorney James Gomric of St. Clair County, State’s Attorney Jeremy Walker of Randolph County,
State’s Attorney Patrick D. Kenneally of McHenry County, Sheriff Richard Watson of St. Clair County,
Sheriff Jarrod Peters of Randolph County, and Sheriff Robb Tadelman of McHenry County. The
Defendants in Langley are Director Kelly and State’s Attorney Cole Price Shaner of Crawford County.
The Defendants in FFL are Illinois Governor J.B. Pritzker, Attorney General Raoul, and Director
Kelly.
10 This Court consolidated Barnett, Harrel, Langley, and FFL for purposes of discovery and injunctive

relief. (See Doc. 32). Barnett was designated as the lead case. (See id.).
11 While the Langley Plaintiffs also alleged Fifth Amendment self-incrimination claims in their

Complaint, see 23-cv-00192-SPM (Doc. 1), the Court denied their Motion for Partial Summary
Judgement (Doc. 133) and granted the Government’s Cross-Motion for Partial Summary Judgment
(Doc. 151) on this issue on September 10, 2024. (See Doc. 226).
12 See Harrel, 23-cv-00141-SPM (Doc. 16); Langley, 23-cv-00192-SPM (Doc. 6); Barnett, 23-cv-00209-

SPM (Doc. 10); and Fed. Firearms Licensees of Ill., 23-cv-00215-SPM (Doc. 28).


                                           Page 7 of 168
Case 3:23-cv-00141-SPM            Document 54 Filed 11/08/24              Page 8 of 168        Page ID
                                            #324



        Three Bevis plaintiffs13 next filed an application for writ of injunction with the

Supreme Court—Justice Amy Coney Barrett referred the application to the full

Supreme Court, which denied it on December 14, 2023. See Nat’l Ass’n for Gun Rts.

v. City of Naperville, No. 23A486 (Dec. 14, 2023). All four groups of plaintiffs also filed

petitions for writs of certiorari before the Supreme Court; all of these petitions were

denied on July 2, 2024. See Harrel v. Raoul, 144 S. Ct. 2491 (July 2, 2024) (Mem.); see

also Harrel v. Raoul, No. 23-877 (2024); Barnett v. Raoul, No. 23-879 (2024)14; Langley

v. Kelly, No. 23-944 (2024).

        This Court notes that the Government’s objections15 to various evidence and

expert testimony offered by the Plaintiffs are addressed via a separate order. (See

Doc. 257). There is one additional motion pending—the Government submitted a

Motion for Partial Summary Judgment on the Langley Plaintiffs’ Counts IV and VI

on August 30, 2024 (Doc. 220). From September 16 to September 19, 2024, this Court

held a bench trial during which the Plaintiffs and the consolidated Defendants 16 in

this matter called witnesses and presented evidence. Various other issues were

presented to the Court via post-trial proposed findings of fact and conclusions of law

submitted on October 21, 2024. (See Docs. 247, 248, 249, 253, 254, 255).




13 The National Association for Gun Rights, Robert C. Bevis, and Law Weapons, Inc. d/b/a Law
Weapons and Supply filed the application in question. See Nat’l Ass’n for Gun Rts. v. City of Naperville,
No. 23A486 (Dec. 14, 2023).
14 The Barnett and FFL Plaintiffs jointly filed a petition for writ of certiorari.
15 The Government filed a Motion to Preclude Consideration of survey evidence proffered by the

Plaintiffs’ experts on September 6, 2024 (Doc. 223) and a Motion to Bar Certain Opinions of Plaintiffs’
Experts on September 13, 2024 (Doc. 229).
16 See supra note 9.




                                             Page 8 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24        Page 9 of 168    Page ID
                                       #325



                                       ANALYSIS

I. Are the Covered Weapons, Attachments, Configurations, and Ammunition
Magazines “Arms” Implicated by the Second Amendment?

A. Supreme Court Jurisprudence

      1. Majority Opinions

      a. District of Columbia v. Heller, 554 U.S. 570 (2008)

      In District of Columbia v. Heller, the Supreme Court stated that “[t]here seems

to us no doubt, on the basis of both text and history, that the Second Amendment

conferred an individual right to keep and bear arms.” 554 U.S. at 595. The Heller

Court stated that “the Second Amendment, like the First and Fourth Amendments,

codified a pre-existing right.” Id. at 592; see also id. at 599 (stating that the Second

Amendment “codified a right ‘inherited from our English ancestors’” (quoting

Robertson v. Baldwin, 165 U.S. 275, 281 (1897))). After analyzing the text of the

Second Amendment in detail, the Heller Court held that that the prefatory clause (“A

well regulated Militia, being necessary to the security of a free State . . . .”, U.S.

CONST. amend II) “announces the purpose for which the right was codified: to prevent

elimination of the militia” yet “does not suggest that preserving the militia was the

only reason Americans valued the ancient right; most undoubtedly thought it even

more important for self-defense and hunting.” Heller at 595–600.

      That being said, the Heller Court clarified that “the right was not unlimited,

just as the First Amendment’s right of free speech was not.” Id. at 595. They

continued, stating that they “do not read the Second Amendment to protect the right

of citizens to carry arms for any sort of confrontation, just as we do not read the First



                                      Page 9 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 10 of 168    Page ID
                                       #326



Amendment to protect the right of citizens to speak for any purpose.” Id. at 595 (citing

United States v. Williams, 553 U.S. 285 (2008)). Thus, provisions restricting firearm

possession by felons, “imposing conditions and qualifications on the commercial sale

of arms,” or restricting “dangerous and unusual weapons” are permissible. Id. at 626–

27 (quoting United States v. Miller, 307 U.S. 174, 179 (1939)). Apart from these

conditions, the key metric is whether the firearm in question was “in common use at

the time.” Id. at 627 (citing Miller, 307 U.S. at 179). The Court held that this

“limitation is fairly supported by the historical tradition of prohibiting the carrying

of ‘dangerous and unusual weapons.’” Id. (citing 4 WILLIAM BLACKSTONE,

COMMENTARIES 148–149 (1769); 3 B. WILSON, WORKS OF THE HONOURABLE JAMES

WILSON 79 (1804); J. DUNLAP, THE NEW–YORK JUSTICE 8 (1815); C. HUMPHREYS, A

COMPENDIUM OF THE COMMON LAW IN FORCE IN KENTUCKY 482 (1822); 1 W. RUSSELL,

A TREATISE ON CRIMES AND INDICTABLE MISDEMEANORS 271–272 (1831); H. STEPHEN,

SUMMARY OF THE CRIMINAL LAW 48 (1840); E. LEWIS, AN ABRIDGMENT OF THE

CRIMINAL LAW OF THE UNITED STATES 64 (1847); F. WHARTON, A TREATISE ON THE

CRIMINAL LAW OF THE UNITED STATES 726 (1852); State v. Langford, 10 N.C. 381, 383–

384 (1824); O’Neill v. State, 16 Ala. 65, 67 (1849); English v. State, 35 Tex. 473, 476

(1871); State v. Lanier, 71 N.C. 288, 289 (1874)). Moreover, while “[i]t may be objected

that if weapons that are most useful in military service—M–16 rifles and the like—

may be banned, then the Second Amendment right is completely detached from the

prefatory clause,” the Heller Court noted that even though “it may be true that no

amount of small arms could be useful against modern-day bombers and tanks[,] . . .




                                     Page 10 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 11 of 168    Page ID
                                      #327



the fact that modern developments have limited the degree of fit between the

prefatory clause and the protected right cannot change our interpretation of the

right.” Id. at 627–28. Thus, this “common use” determination overrides whether or

not the weapon in question was restricted in the past; what matters is that the

weapon would not be considered “highly unusual in society at large.” Heller at 627.

      b. McDonald v. City of Chicago, 561 U.S. 742 (2010)

      The Supreme Court in McDonald v. City of Chicago ruled that the Fourteenth

Amendment’s Due Process Clause incorporated the Second Amendment, making it

applicable to the states in addition to the federal government. 561 U.S. 742, 790

(2010). After analyzing the historical record in detail, the Supreme Court wrote that

“[u]nless considerations of stare decisis counsel otherwise, a provision of the Bill of

Rights that protects a right that is fundamental from an American perspective

applies equally to the Federal Government and the States.” Id. (citing Duncan v.

Louisiana, 391 U.S. 145, 149 (1968)). Moreover, “if a Bill of Rights guarantee is

fundamental from an American perspective, then, unless stare decisis counsels

otherwise, that guarantee is fully binding on the States and thus limits (but by no

means eliminates) their ability to devise solutions to social problems that suit local

needs and values.” Id. at 784–85 (footnote omitted).

      The Supreme Court held that “[s]elf-defense is a basic right, recognized by

many legal systems from ancient times to the present day.” Id. at 767 (footnote

omitted). They wrote that “it is clear that the Framers and ratifiers of the Fourteenth

Amendment counted the right to keep and bear arms among those fundamental




                                     Page 11 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24        Page 12 of 168   Page ID
                                        #328



rights necessary to our system of ordered liberty.” Id. at 778. The McDonald Court

wrote that “[i]n Heller, we recognized that the codification of this right was prompted

by fear that the Federal Government would disarm and thus disable the militias, but

we rejected the suggestion that the right was valued only as a means of preserving

the militias.” McDonald at 787 (citing Heller 598–99). “On the contrary, we stressed

that the right was also valued because the possession of firearms was thought to be

essential for self-defense [because] [a]s we put it, self-defense was ‘the central

component of the right itself.’” Id. (citing Heller at 599).

       The McDonald Court also stated that “[t]he right to keep and bear arms was

considered no less fundamental by those who drafted and ratified the Bill of Rights.”

Id. at 768. “During the 1788 ratification debates, the fear that the federal government

would disarm the people in order to impose rule through a standing army or select

militia was pervasive in Antifederalist rhetoric.” Id. at 768–69 (quoting Heller at 598)

(citing Letters from The Federal Farmer III (Oct. 10, 1787), in 2 THE COMPLETE ANTI–

FEDERALIST 234, 242 (H. Storing ed. 1981)); Federal Farmer: An Additional Number

of Letters to the Republican, Letter XVIII (Jan. 25, 1788), in 17 DOCUMENTARY

HISTORY OF THE RATIFICATION OF THE CONSTITUTION 360, 362–63 (J. Kaminski & G.

Saladino eds. 1995); S. HALBROOK, THE FOUNDERS' SECOND AMENDMENT 171–278

(2008)). “Federalists responded, not by arguing that the right was insufficiently

important to warrant protection but by contending that the right was adequately

protected by the Constitution's assignment of only limited powers to the Federal

Government.” Id. at 769 (citing Heller at 599). “Thus, Antifederalists and Federalists




                                       Page 12 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 13 of 168     Page ID
                                       #329



alike agreed that the right to bear arms was fundamental to the newly formed system

of government.” Id. at 769. “This understanding persisted in the years immediately

following the ratification of the Bill of Rights. In addition to the four States that had

adopted Second Amendment analogues before ratification, nine more States adopted

state constitutional provisions protecting an individual right to keep and bear arms

between 1789 and 1820.” Id. at 769 (citing Heller at 600–03).

      “By the 1850’s, the perceived threat that had prompted the inclusion of the

Second Amendment in the Bill of Rights—the fear that the National Government

would disarm the universal militia—had largely faded as a popular concern, but the

right to keep and bear arms was highly valued for purposes of self-defense.” Id. at

770 (citing M. DOUBLER, CIVILIAN IN PEACE, SOLDIER IN WAR 87–90 (2003); A. AMAR,

THE BILL OF RIGHTS: CREATION AND RECONSTRUCTION 258–59 (1998)). “When

attempts were made to disarm ‘Free–Soilers’ in ‘Bloody Kansas,’ Senator Charles

Sumner, who later played a leading role in the adoption of the Fourteenth

Amendment, proclaimed that ‘[n]ever was [the rifle] more needed in just self-defense

than now in Kansas.’ Id. (quoting THE CRIME AGAINST KANSAS: THE APOLOGIES FOR

THE CRIME: THE TRUE REMEDY, SPEECH OF HON. CHARLES SUMNER IN THE SENATE OF


THE UNITED STATES 64–65 (1856)). “After the Civil War, many of the over 180,000


African-Americans who served in the Union Army returned to the States of the old

Confederacy, where systematic efforts were made to disarm them and other blacks.”

Id. at 771 (citing Heller, 554 U.S. at 614). “Throughout the South, armed parties,

often consisting of ex-Confederate soldiers serving in the state militias, forcibly took




                                      Page 13 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24         Page 14 of 168     Page ID
                                       #330



firearms from newly freed slaves.” Id. at 772. “In the first session of the 39th

Congress, Senator Henry Wilson told his colleagues: ‘In Mississippi rebel State forces,

men who were in the rebel armies, are traversing the State, visiting the freedmen,

disarming them, perpetrating murders and outrages upon them; and the same things

are done in other sections of the country.’” Id. (citing 39th CONG. GLOBE 40 (1865)).

      Additionally, the McDonald Court writes that “the 39th Congress concluded

that legislative action was necessary” and that “[i]ts efforts to safeguard the right to

keep and bear arms demonstrate that the right was still recognized to be

fundamental.” Id. at 773. They stated that:

      The most explicit evidence of Congress’ aim appears in § 14 of the
      Freedmen’s Bureau Act of 1866, which provided that “the right . . . to
      have full and equal benefit of all laws and proceedings concerning
      personal liberty, personal security, and the acquisition, enjoyment, and
      disposition of estate, real and personal, including the constitutional
      right to bear arms, shall be secured to and enjoyed by all the citizens . . .
      without respect to race or color, or previous condition of slavery.”

Id. (citing 14 Stat. 176–77 (alteration in original) (emphasis added)). “The Civil

Rights Act of 1866, 14 Stat. 27, which was considered at the same time as the

Freedmen’s Bureau Act, similarly sought to protect the right of all citizens to keep

and bear arms.” Id. at 774 (footnote omitted). “Section 1 of the Civil Rights Act

guaranteed the ‘full and equal benefit of all laws and proceedings for the security of

person and property, as is enjoyed by white citizens.’” Id. (citing Civil Rights Act of

1866, 14 Stat. 27). The McDonald Court writes that “[t]his language was virtually

identical to language in § 14 of the Freedmen's Bureau Act, 14 Stat. 176 (“the right

. . . to have full and equal benefit of all laws and proceedings concerning personal




                                     Page 14 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 15 of 168     Page ID
                                       #331



liberty, personal security, and the acquisition, enjoyment, and disposition of estate,

real and personal”).

      c. New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1 (2022)

      In New York State Rifle & Pistol Association, Inc. v. Bruen, the Supreme Court

readdressed the Second Amendment rights codified in Heller and McDonald, ruling

that “the government must demonstrate that the regulation is consistent with this

Nation’s historical tradition of firearm regulation.” 597 U.S. 1, 17 (2022). “Only if a

firearm regulation is consistent with this Nation's historical tradition may a court

conclude that the individual’s conduct falls outside the Second Amendment’s

‘unqualified command.’” Id. (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 50,

n.10 (1961)). The Supreme Court thus eliminated the two-step test previously in use

in the circuit courts, saying that tests employed “one step too many.” Id. at 19.

Therefore, “the constitutional right to bear arms in public for self-defense is not ‘a

second-class right, subject to an entirely different body of rules than the other Bill of

Rights guarantees.’” Id. at 6 (quoting McDonald, 561 U.S. at 780 (plurality opinion)).

      While the Supreme Court previously stated that “the need for armed self-

defense is perhaps ‘most acute’ in the home,” Heller at 628; see Bruen at 33 (citing the

same), it also recognized the reality that “[m]any Americans hazard greater danger

outside the home than in it.” Bruen at 33 (citing Moore v. Madigan, 702 F.3d 933, 937

(7th Cir. 2012)). Moreover, “confining the right to ‘bear’ arms to the home would make

little sense given that self-defense is ‘the central component of the [Second

Amendment] right itself.’” Id. at 32 (quoting Heller at 599). The Supreme Court stated




                                      Page 15 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 16 of 168    Page ID
                                       #332



that “the Second Amendment guarantees an ‘individual right to possess and carry

weapons in case of confrontation,’ and confrontation can surely take place outside the

home.” Id. at 33 (quoting Heller at 592).

      Additionally, the Supreme Court stated that the “definition of ‘bear’ naturally

encompasses public carry” because “[m]ost gun owners do not wear a holstered pistol

at their hip in their bedroom or while sitting at the dinner table.” Bruen at 32.

“Although individuals often ‘keep’ firearms in their home, at the ready for self-

defense, most do not ‘bear’ (i.e., carry) them in the home beyond moments of actual

confrontation. To confine the right to ‘bear’ arms to the home would nullify half of the

Second Amendment’s operative protections.” Id.

      d. United States v. Rahimi, 144 S. Ct. 1889 (2024)

      At the end of its 2023 Term, the Supreme Court once again assessed the Second

Amendment in United States v. Rahimi, 144 S. Ct. 1889 (2024). The Supreme Court

wrote that “some courts have misunderstood the methodology of our recent Second

Amendment cases. These precedents were not meant to suggest a law trapped in

amber.” Id. at 1897. “As we explained in Heller, for example, the reach of the Second

Amendment is not limited only to those arms that were in existence at the founding.”

Id. (citing 554 U.S. at 582). “Rather, it ‘extends, prima facie, to all instruments that

constitute bearable arms, even those that were not [yet] in existence.’” Id.

Additionally, “[b]y that same logic, the Second Amendment permits more than just

those regulations identical to ones that could be found in 1791. Holding otherwise

would be as mistaken as applying the protections of the right only to muskets and




                                     Page 16 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24          Page 17 of 168      Page ID
                                        #333



sabers.” Id. at 1897–98 (quoting Heller at 582). “As we explained in Bruen, the

appropriate analysis involves considering whether the challenged regulation is

consistent with the principles that underpin our regulatory tradition. A court must

ascertain whether the new law is ‘relevantly similar’ to laws that our tradition is

understood to permit, ‘apply[ing] faithfully the balance struck by the founding

generation to modern circumstances.’” Id. at 1898. “Discerning and developing the

law in this way is ‘a commonplace task for any lawyer or judge.’” Id. (quoting Bruen

at 28, 29) (citing Bruen at 26–31). Critically:

       Why and how the regulation burdens the right are central to this
       inquiry. For example, if laws at the founding regulated firearm use to
       address particular problems, that will be a strong indicator that
       contemporary laws imposing similar restrictions for similar reasons fall
       within a permissible category of regulations. Even when a law regulates
       arms-bearing for a permissible reason, though, it may not be compatible
       with the right if it does so to an extent beyond what was done at the
       founding. And when a challenged regulation does not precisely match
       its historical precursors, “it still may be analogous enough to pass
       constitutional muster.”

Id. “The law must comport with the principles underlying the Second Amendment,

but it need not be a ‘dead ringer’ or a ‘historical twin.’” Id. (quoting Bruen at 30) (citing

Bruen at 29).

       To summarize, “[t]he Second Amendment’s plain text thus presumptively

guarantees . . . a right to ‘bear’ arms in public for self-defense.” Bruen at 33. This

right includes “the possession and use of weapons that are ‘in common use at the

time,’” but does not include weapons that are “dangerous and unusual.” Id. at 21

(citing Heller at 627). The burden is on the government to prove that there is a

historical analogue to the modern prohibition in question that shows a historical



                                       Page 17 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 18 of 168     Page ID
                                       #334



tradition of regulation of the weapon in question. Id. at 29. Central to this inquiry are

“how and why the regulations burden a law-abiding citizen’s right to armed self-

defense.” Id.

      Rahimi’s principal holding is that, when an individual has been “found by a

court to pose a credible threat to the physical safety of another,” that person “may be

temporarily disarmed consistent with the Second Amendment.” 144 S. Ct. at 1903.

Unlike the regulation struck down in Bruen, § 922(g) does not broadly restrict

firearms use by the general public. Rahimi at 1901; see Bruen at 11–12.

      2. Dissenting Opinions

      It is also worth examining the dissents in Heller and in Bruen to see which

interpretations and analyses of the Second Amendment were rejected by the majority

in those cases. This is especially salient to this case, as arguments expressly rejected

by the Supreme Court in Heller and in Bruen continue to be advanced in Second

Amendment cases, both in this District and before other federal courts across the

nation.

      a. District of Columbia v. Heller

      The dissenting Justices in Heller advanced two independent arguments

against the majority decision. First, Justice Stevens argued that the scope of the

Second Amendment did not extend further than militia-related interests.

Additionally, Justice Breyer argued that, even if there is a self-defense interest in the

Second Amendment, that protection is not absolute. Rather, a violation of this

protection must be due to the law being “unreasonable or inappropriate in Second




                                      Page 18 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24       Page 19 of 168    Page ID
                                        #335



Amendment Terms.” District of Columbia v. Heller, 554 U.S. 570, 681 (2008) (Breyer,

J., dissenting).

              i. Justice Stevens’s Dissent

       Justice Stevens not only opposed the majority holding regarding the District of

Columbia law at the heart of the case but also found the scope of the Second

Amendment described by the majority to be entirely absent from both the text and

drafting history of the amendment. Unlike the majority opinion, Justice Stevens

found a plain reading of the text to do no more than provide a “right to keep and bear

arms for certain military purposes, but that it does not curtail the Legislature’s power

to regulate the nonmilitary use and ownership of weapons.” Heller, 554 U.S. at 637

(Stevens, J., dissenting).

       This narrow reading of the Second Amendment begins with the text of the

preamble of the Second Amendment, in which Justice Stevens found three important

points. First, he found that the purpose of the amendment was to preserve the militia.

Id. at 640. Further, it established the militia’s importance to the preservation of a

free state. Id. Finally, he found that the preamble recognized that this militia must

be well-regulated. Id. This focus on the role of the militia in the newly formed nation

defined Justice Stevens’ view of the scope of this Amendment, which he saw as further

bolstered when comparing the Second Amendment to similar provisions in certain

state constitutions. See id. at 642–43 (discussing provisions of the Pennsylvania and

Vermont Constitutions which discuss not only the right to bear arms for the

preservation of the state, but also for such purposes and self-defense or hunting); see




                                     Page 19 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24         Page 20 of 168     Page ID
                                       #336



also PA. CONST. OF 1776, art. XIII (“That the people have a right to bear arms for the

defence of themselves and the state.”); PA CONST. OF 1776, art. XIII (“The inhabitants

of this state shall have liberty to fowl and hunt.”); VT. CONST. OF 1777, Ch. I, art. XV

(“That the people have a right to bear arms for the defence of themselves and the

State.”). Justice Stevens argued that the framing of this Amendment in the preamble

not only provided context for the amendment, but also “informs the remainder of its

text.” Id. at 643.

       Moving to the operative clause of the Second Amendment, Justice Stevens

found that “the people” refers to the collective action of individuals who are under a

duty to serve in the militia. Id. at 645. Further, he argued that the language of “to

keep and bear arms” continued to describe a unitary right of the people “to possess

arms if needed for military purposes and to use them in conjunction with military

activities.” Id. at 646. Justice Stevens found this interpretation not only due to the

gloss given to the operative clause by the preamble, but also based on the definition

of the term “bear arms” relating to military service or acting as a soldier. Id. (citing 1

OXFORD ENGLISH DICTIONARY 634 (2d ed. 1989)).

       Aside from the text of the Amendment, Justice Stevens found that the drafting

history of the Second Amendment revealed two themes that provided insight into the

intended scope of the Amendment. First, Justice Stevens recounted the fear of the

Framers that a standing army would threaten both individual liberty and the

sovereignty of the separate states. Id. at 653 (citing 3 JONATHAN ELLIOT, DEBATES IN

THE SEVERAL STATE CONVENTIONS ON THE ADOPTION OF THE FEDERAL CONSTITUTION




                                      Page 20 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24       Page 21 of 168    Page ID
                                      #337



401 (2d ed. 1863) (“With respect to standing army, I believe there was not a member

in the federal Convention, who did not feel indignation at such an institution.”

(quoting Governor Edmund Randolph)). However, during the drafting of this

Amendment, the danger of relying solely on inadequately trained militia members

for the common defense of the nation was also a recognized concern. Heller at 653

(Stevens, J., dissenting) (citing Frederick Bernays Wiener, The Militia Clause of the

Constitution, 54 HARV. L. REV. 181, 182 (1940) (discussing the difficulty in the

Revolutionary War of utilizing an armed, but largely untrained militia)). Justice

Stevens thus described the resulting framework to be a compromise under which the

Congress and the States each received divided authority over the various militias. Id.

at 655. However, even this compromise did not quell the fear that the Congress could

still disarm the militia. Id. (citing 3 JONATHAN ELLIOT, DEBATES IN THE SEVERAL

STATE CONVENTIONS ON THE ADOPTION OF THE FEDERAL CONSTITUTION 379 (2d ed.

1863)). Justice Stevens believed the Second Amendment to be written specifically to

address this concern.

      Justice Stevens argued that this lack of concern over the private rights of

citizens to carry firearms in nonmilitary contexts is supported by similar

amendments that were proposed and rejected during the drafting of the Bill of Rights.

Id. at 660 (quoting and citing THE COMPLETE BILL OF RIGHTS 169 (Neil H. Cogan, 1st

ed. 1997) (discussing proposed amendments from Virginia which secured the right to

keep and bear arms in a military context)). While some states’ proposed amendments

would have broadly protected the right to use of firearms without tying it to military




                                    Page 21 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24         Page 22 of 168     Page ID
                                       #338



use, other states did make such a connection. Id. at 655–58 (quoting and citing 2

SCHWARTZ, THE BILL OF RIGHTS 758, 761, 932–933, 912 (1971) (discussing proposed

amendments from New Hampshire which placed this right in personal terms, outside

of military context, as well as proposed amendments from Virginia, North Carolina,

and New York which placed this right within a military context)). The original draft

of the Second Amendment was modeled after the latter amendments. Thus, while the

drafters of the Bill of Rights were aware of efforts to broadly protect this right without

tying it to military service, Justice Stevens argued that they ultimately rejected such

a protection. Id. at 660.

      In response to the majority’s commentary on historical sources, Justice Stevens

examined the sources on which the majority relied, providing a view of how each may

not actually be as important to the interpretation of the Second Amendment as the

majority believed. First, while the English Bill of Rights may have protected the

disarming of citizens, it was designed to address different concerns than those

addressed by the Second Amendment. Id. at 664. Unlike the Second Amendment’s

focus on the importance of militias, the English Bill of Rights protected against the

selective disarmament of certain groups by the monarch. Id.; (quoting and citing LOIS

G. SCHWOERER, THE DECLARATION OF RIGHTS, 1689, App. 1, p. 295 (1981)). Further,

there was no preamble to limit the English Bill of Rights. Id. at 664.

      Finally, Justice Stevens argued that the English Bill of Rights was far more

limited than the majority’s interpretation of the Second Amendment because not all

persons were protected under the English Bill of Rights. Only those of a certain social




                                      Page 22 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 23 of 168    Page ID
                                       #339



and economic status were included and they were only protected “subject to

regulation by Parliament.” Id. (quoting and citing LOIS G. SCHWOERER, THE

DECLARATION OF RIGHTS, 1689, App. 1, 297 (1981) (quoting the language of Article VII

of the English Bill of Rights). For the same reasons that the majority’s reliance on the

English Bill of Rights is not appropriate, Justice Stevens found any reliance on

Blackstone’s Commentaries to be misplaced. Heller at 665 (Stevens, J., dissenting).

Justice Stevens argued that Blackstone specifically wrote in reference to the English

Bill of Rights, thus making his commentary ill-fit for interpretation of the Second

Amendment. Id. However, he argued that Blackstone’s Commentaries do reveal a

method of interpretation which places far more weight on preambles than the

majority would give in this case. Id. at 665 (quoting and citing WILLIAM BLACKSTONE,

COMMENTARIES ON THE LAWS OF ENGLAND, VOL. 1 59–60 (1765)).

      In a similar fashion, Justice Stevens found post-enactment commentary to be

of little relevancy. Not only were these commentaries not entirely clear, he argued,

but much of this work conflated the Second Amendment and the English Bill of

Rights. Id. at 666. Further, he argued that many of these sources seemed to be

entirely unfamiliar with the drafting history of the Second Amendment. Id. While

one of the sources on which the majority relied was Justice Joseph Story, Justice

Stevens argued that Story’s commentary supported Stevens’s own interpretation.

Story exclusively focused on the importance of the militia when writing on the Second

Amendment, even tying this discussion back to the fear of standing armies that

animated the drafters of the Second Amendment. Id. at 669 (quoting and citing




                                     Page 23 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24         Page 24 of 168     Page ID
                                       #340



JOSEPH STORY, COMMENTARIES ON THE CONSTITUTION OF THE UNITED STATES VOL. 2

620-21 (4th ed. 1873)). At no point did Story discuss the scope of the Second

Amendment to include hunting or self-defense.

      By the post-Civil War period, the majority claimed that there was an

understanding that the Second Amendment protected not only military use of

firearms, but also “purely private purposes, like self-defense.” Id. at 670. While

Justice Stevens conceded that this was true for much of this period’s legislative

history, he argued that it should be entitled to little, if any, weight. Id. Not only does

this history exist long after the enactment, but, based on the heightened political

circumstances, Justice Stevens viewed this history as advocacy rather than honest

interpretation. Id.

      Justice Stevens further contended that “the invalidity of Second-Amendment-

based objections to firearms regulations has been well settled and uncontroversial.”

Id. at 676 (footnote omitted). This proposition was supported by the examination of

three cases touching upon the Second Amendment in the 19th and 20th centuries.

First, United States v. Cruikshank, 92 U.S. 542 (1875) held that the Second

Amendment did no more than protect the right to keep and bear arms from

infringement by Congress. Heller at 673 (Stevens, J., dissenting). Following

Cruikshank, the Court in Presser v. Illinois, 116 U.S. 252 (1886) affirmed the holding

in Cruikshank and at least suggested that the Second Amendment provided no

protection outside the context of the militia. Heller at 674–75 (Stevens, J., dissenting).

Finally, in United States v. Miller, 307 U.S. 174 (1939), the Court unanimously held




                                      Page 24 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24       Page 25 of 168     Page ID
                                        #341



that the Second Amendment extends no further than the military use of firearms and

thus required at least some reasonable relationship between the law at issue and the

militia. Heller at 677 (Stevens, J., dissenting). According to Justice Stevens, the cases

make clear that the scope of the Second Amendment had already been decided by the

Court, contrary to the majority.

      Therefore, due to the text of the Second Amendment, its drafting history, and

the treatment of the Amendment post-enactment, Justice Stevens found that the

protected right had no connection to self-defense, but rather is exclusively oriented

towards the preservation of the militia. Justice Stevens warned that the new rule

created by the majority would have far-reaching ramifications. Not only would it

require future cases to parse out permissible from impermissible regulations, but he

argued that it would also invite the judiciary to play an active role that was not

envisioned. Id. at 679–80.

             ii. Justice Breyer’s Dissent

      While Justice Breyer agreed with the analysis written by Justice Stevens, he

penned an individual dissent that further developed the second independent

argument against the majority opinion—that the Second Amendment is not absolute.

Even assuming the Second Amendment does protect a right to self-defense, Justice

Breyer did not assume that this means there is “an untouchable right to keep guns

in the house to shoot burglars.” Id. at 683 (Breyer, J., dissenting). Rather, he argued

that the state retains the ability to tailor specific laws that may burden Second

Amendment interests so long as it is not “unreasonable or inappropriate.” Id. at 681.




                                      Page 25 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 26 of 168    Page ID
                                      #342



      To support this proposition, Justice Breyer looked toward colonial history

which demonstrates a history of regulations that burden the right to self-defense in

some manners yet were not considered unreasonable restrictions at the time. Id. at

683. Several colonies prohibited the discharge of firearms within the limits of towns,

and others regulated the storage of gunpowder in the home. Id. at 684–86 (citing

Robert H. Churchill, Gun Regulation, the Police Power, and the Right To Keep Arms

in Early America, 25 LAW & HIST. REV. 138, 162 (2007) (discussing Philadelphia, New

York, and Boston laws prohibiting the firing of guns within the city); Saul Cornell &

Nathan DeDino, A Well Regulated Right: The Early American Origins of Gun Control,

73 FORDHAM L. REV. 487, 510–512 (2004) (discussing laws in the same cities which

regulated the storage of gunpowder, for fire safety reasons)). Both regulations could

be burdensome to the ability to defend oneself, but this, apparently, was not seen as

a restraint on their existence. While the majority claimed that these laws must have

had an implicit self-defense exception, Justice Breyer was skeptical of this

assumption. Id. at 686. However, even assuming this exception to exist, Justice

Breyer asserted that the laws would still place some burden on the right to self-

defense. Id. at 687. Thus, he argued that the question must be how courts should

determine which regulations are prohibited by the Second Amendment. Id.

      While the Respondent in Heller argued for the application of strict scrutiny,

the majority was unconcerned over which level of scrutiny applied because it found

that the law in question would fail under any level of scrutiny. Justice Breyer, on the

other hand, argued in favor of applying an interest-balancing inquiry under which




                                     Page 26 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 27 of 168    Page ID
                                       #343



the Second Amendment interests are weighed against the government’s public safety

interest. Id. at 689. Because both interests are important, Justice Breyer would not

presume either constitutionality or unconstitutionality when addressing gun-control

legislation. Id. This approach would assess the constitutionality of the provision by

asking “whether the statute burdens a protected interest in a way or to an extent that

is out of proportion to the statute’s salutary effects upon other important

governmental interests.” Id. at 689–90.

      Applying this standard to the District of Columbia’s challenged gun-control

law, Justice Breyer began by describing the governmental interest as saving lives. Id.

at 693. The Council of the District of Columbia enacted this law to reduce both firearm

deaths and firearm-related crimes. Id at 693–94 (quoting and citing Firearms Control

Regulations Act of 1975 (Council Act No. 1-142), Hearing and Disposition before the

House Committee on the District of Columbia, 94th Cong., 2d Sess., on H. Con. Res.

694, Ser. No. 94–24, at 25 (1976) [hereinafter D.C. Report]). The Council based this

decision on research and hearings conducted by the House Committee on the District

of Columbia (the “Committee”) prior to enacting this law. Id. at 694 (quoting D.C.

Report at 24). Nationally, the Committee found that 69 people were killed by firearms

each day, with 25,000 killed each year. Id. (quoting D.C. Report at 25). Tragically, the

Committee found 3,000 of these deaths to be due to accidents. Id. (quoting D.C. Report

at 25). Aside from deaths, 200,000 gun-related injuries were found to occur each year.

Id. (quoting D.C. Report at 25). Within the District, the Committee observed that, in

1974, there were 285 murders, 155 of which were committed using handguns. Id. at




                                     Page 27 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 28 of 168    Page ID
                                      #344



695 (quoting D.C. Report at 26). The Committee found that handguns were not only

the choice of murderers, but also used in around 60% of robberies and 26% of assaults.

Id. (quoting D.C. Report at 26). Further, when a handgun is used in crime, the event

is far more likely to be lethal than crimes utilizing any other type of weapon. Id.

(quoting D.C. Report at 25). Based on this evidence and the realities of handgun

prevalence in the District, the Council adopted the challenged legislation.

      At the time of Justice Breyer’s drafting of his dissent, he argued that the facts

of firearm-related deaths and injuries told the same story. Heller at 696 (Breyer, J.,

dissenting). Between 1993 and 1997, the nation saw an average of 36,000 firearm-

related deaths per year. Id. at 696 (citing MARIANNE W. ZAWITZ & KEVIN J. STROM,

DEPT. OF JUST., BUREAU OF JUST. STAT., FIREARM INJURY AND DEATH FROM CRIME,

1993–97, at 7 (2000) [hereinafter FIREARM INJURY AND DEATH FROM CRIME]). A slight

majority of these deaths were suicides, 51%, while 44% were the result of homicides.

Id. (citing FIREARM INJURY AND DEATH FROM CRIME at 2). Only 1% were legal

interventions. Id. (citing FIREARM INJURY AND DEATH FROM CRIME at 2). Further,

during this period 82,000 nonfatal firearm injuries occurred in the nation. Id. (citing

FIREARM INJURY AND DEATH FROM CRIME at 2). The rate at which children and

adolescents fall victim to firearms further illuminates the problem as well. One out

of eight deaths caused by firearms in 1997 killed someone under 20 years of age. Id.

at 697 (citing American Academy of Pediatrics, Firearm–Related Injuries Affecting

the Pediatric Population, 105 PEDIATRICS 888, 888 (2000) [hereinafter Firearm-

Related Injuries]). Out of the total number of injury deaths for those aged 1 to 19,




                                     Page 28 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 29 of 168    Page ID
                                      #345



22.5% were caused by firearms. Id. at 697 (citing Firearm-Related Injuries at 888).

Nearly half of all hospital-treated firearm injury victims between June of 1992 and

May of 1993 were under the age of 25. Id. (citing Firearm-Related Injuries at 891).

      Justice Breyer noted that handguns were particularly destructive during this

period. Id. In fact, most of the deaths and injuries caused by firearms were committed

using handguns. Id. (citing Firearm-Related Injuries at 888). Between 1993 and 1997,

the vast majority of homicide victims—81%—were victimized by handguns. Id. (citing

FIREARM INJURY AND DEATH FROM CRIME at 4). Further, the vast majority—70%—of

teenage firearm-related suicides were committed with handguns. Id. (citing Firearm-

Related Injuries at 890). For those under the age of 20, 70% of unintentional firearm-

related injuries and deaths occurred with a handgun. Id. (citing Firearm-Related

Injuries at 889). A 1997 study indicated that handguns are the weapon of choice for

the overwhelming majority of criminals. Id. at 698. In this study of those incarcerated

who were armed during their crime, 83.2% of state inmates and 86.7% of federal

inmates reported to have been armed with a handgun. Id. (citing CAROLINE W.

HARLOW, DEPT. OF JUSTICE, BUREAU OF JUST. STAT., FIREARM USE BY OFFENDERS 3

(2001) [hereinafter FIREARM USE BY OFFENDERS]). In addition to being the tool of

criminals, Justice Breyer also found that handguns were often the object of criminals

as well. Id. (citing M. ZAWITZ, DEPT. OF JUST., BUREAU OF JUST. STAT., GUNS USED IN

CRIME 3 (July 1995) [hereinafter GUNS USED IN CRIME]). Between 1985 and 1994,

nearly 60% of the over 274,000 reports of stolen guns were handguns. Id. (citing GUNS

USED IN CRIME at 3).




                                     Page 29 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24       Page 30 of 168    Page ID
                                      #346



      Finally, Justice Breyer argued that urban areas experienced gun-related

death, injury, and crime differently than rural areas. Id. (citing D. DUHART, DEPT. OF

JUST., BUREAU OF JUST. STAT., URBAN, SUBURBAN, AND RURAL VICTIMIZATION, 1993–

98, pp. 1, 9 (Oct. 2000)). Both property and violent crime occur disproportionally in

urban areas, with half of the nation’s homicides occurring in cities with 16% of the

nation’s population between 1985 and 1993. Id. (citing Wintemute, The Future of

Firearm Violence Prevention, 282 JAMA 475 (1999)). Further, the link between

handguns and firearm deaths and injuries is much stronger in urban areas than in

rural areas. Id. at 699 (citing Lee T. Dresang, Gun Deaths in Rural and Urban

Settings, 14 J. AM. BD. FAMILY PRACTICE 107, 108 (2001) [hereinafter Gun Deaths in

Rural and Urban Settings]). While in urban areas, the greater number of gun deaths

are from handguns, in rural areas, the greater number of gun deaths are from rifles

and shotguns. Id. (citing Gun Deaths in Rural and Urban Settings at 108).

      The Respondent in this case did not disagree with these facts; rather, they

disagreed that the District’s gun control regulation would help to solve the issues it

was meant to address. Id. They presented numerous arguments as to why this was

true, including that the ban since its enactment did not actually decrease violent

crime—rather, it increased. Id. at 699–700 (citing Brief for Academics et al. as Amici

Curiae 7–10; Brief for Criminologists et al. as Amici Curiae 6–9, 3a–4a, 7a). Further,

they presented evidence to show that strict gun laws were “correlated with more

murders, not fewer.” Id. at 700 (citing Don. B. Kates & Gary Mauser, Would Banning

Firearms Reduce Murder and Suicide?, 30 HARV. J.L. & PUB. POL’Y 649, 651–94




                                    Page 30 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24       Page 31 of 168     Page ID
                                       #347



(2007)). They also presented evidence of the beneficial self-defense effect of firearm

ownership, including the brandishing of firearms for self-defense. Id. at 700–01

(citing Gary Kleck & Mark Gertz, Armed Resistance to Crime: The Prevalence and

Nature of Self-Defense with a Gun, 86 J. CRIM. L. & CRIMINOLOGY 150, 164 (1995)).

Finally, the Respondent argued that the criminalization of gun ownership does not

stop criminals from acquiring guns, instead only preventing law-abiding citizens from

obtaining them. Id. at 701 (citing Brief for President Pro Tempore of Senate of

Pennsylvania as Amicus Curiae 35, 35 and n.15). This evidence, argued the

Respondent, demonstrated that the gun ban does not bear a reasonable relation to

the problem the District sought to solve. Id. at 702.

      Considering all this evidence, Justice Breyer found that the Respondent’s

evidence did not demonstrate a lack of a reasonable relation; it only established

uncertainty about the effectiveness of the legislation. Id. at 704. Further, he argued

that the fact that the District was able to provide studies that rebutted the claims

made by the Respondent demonstrated that this is not a settled area of policy. Id. at

703. Giving substantial weight to the democratic process, Justice Breyer concluded

that the District did properly attempt to further a compelling interest. Id. at 705.

      Justice Breyer continued the application of his interest-balancing approach by

investigating the burden that gun control legislation such as this would have on the

three interests identified by the majority. Id. at 706First, Justice Breyer found that

the law hardly burdens the preservation of a well-regulated militia, as this law has

nothing to do with military service. Id. Further, it did not interfere with military




                                     Page 31 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 32 of 168    Page ID
                                       #348



training. Id. at 707–08. The only real restriction the law had on training would be the

training with handguns inside the District. Id. at 708–09. However, the small size of

the district meant that residents of the District remained able to train with handguns

in close proximity to their homes. Id. at 709. Therefore, he argued that this small

expense and hassle minimally burdened the primary objective of the Second

Amendment. Id. Similarly, the law did not impose a large burden on any hunting

interest contained within the Second Amendment, as the District is so small and

urban that hunting simply did not exist within its boundaries. Id. at 709–10.

Therefore, he argued that any hunting interests were not burdened by this law. Id.

at 710. Finally, Justice Breyer did concede that the law in question does make self-

defense with a handgun in the home more difficult. Id.

      Since the government’s interest is compelling and the Second Amendment

interests are burdened, at least, in some way, Justice Breyer proceeded to ask

whether there was a less restrictive means of promoting the same goals. However, in

this case, Justice Breyer found there to be no less restrictive alternative that would

have the same effect, seeing as the very objective of the ban was to reduce the number

of handguns within the District. Id. at 711. Other schemes such as licensing

restrictions would not quell the fear that the firearm may still be stolen and placed

into the hands of a criminal. Id. at 712. While requiring safety devices or safe storage

requirements would substantially burden the self-defense interest of the Second

Amendment, this would also permit the firearm to be used to commit crimes by the

owner. Id. Justice Breyer wrote that the fact that other States and urban centers




                                     Page 32 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 33 of 168    Page ID
                                      #349



have similar laws to the District demonstrated that other means would not be

effective. Id.

       Therefore, the only question left under his analysis was whether the burden of

the Second Amendment interest is disproportionate to the interest being advanced

by the law. Justice Breyer relied upon several factors to conclude that it was not. Id.

at 714. First, the law was “tailored to the life-threatening problems it attempts to

address.” Id. While the law does restrict one type of firearm that is particularly

problematic for urban areas, it does not interfere with residents’ ability to defend

themselves with other weapons like shotguns and rifles. Id. Second, the self-defense

interest of the Second Amendment is not the primary interest but could rather be

classified as a subsidiary interest. Id. Further, the specific interest in self-defense

possibly conceived by the drafters could not have been focused on urban crime related

dangers, or the use of handguns as a self-defense tool. Id. at 715–16 (citing DEPT. OF

COMM., BUREAU      OF   CENSUS, POPULATION: 1790       TO   1990 (1998) (Table 4),

https://www2.census.gov/programs-surveys/decennial/1990/tables/cph-2/table-4.pdf

[https://perma.cc/BX8X-3V4M]). Third, Justice Breyer found that the Founders did

not think such a law to be unconstitutional as evidenced by Samuel Adams’

advocation for an amendment that would protect the right of peaceable citizens to

keep their own arms. Id. at 716 (citing 6 THE DOCUMENTARY HISTORY OF THE

RATIFICATION OF THE CONSTITUTION 1453 (John P. Kaminski et al. eds. 2000)

[hereinafter DOCUMENTARY HISTORY OF THE RATIFICATION]). While Adams advocated

for such an amendment, he knew that the Massachusetts Constitution contained a




                                     Page 33 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 34 of 168     Page ID
                                       #350



similar provision, while Boston prohibited keeping loaded guns in the home. Id.

(citing DOCUMENTARY HISTORY OF THE RATIFICATION at 1453). Thus, Adams must not

have thought that such a gun control law violated either the Massachusetts

Constitution or his proposed Federal Constitutional amendment. Fourth, Justice

Breyer pointed out the unfortunate consequences of the majority’s decision, which he

claimed would encourage legal challenges throughout the nation, without a clear

standard for their resolution. Id. at 718.

       Justice Breyer concluded that the District’s law was not disproportionate in

its burdening of the Second Amendment’s interests, and that, therefore, it was a

permissible regulation of firearms under the standards of the Second Amendment.

      b. Justice Breyer’s Dissent in New York State Rifle & Pistol

      Association, Inc. v. Bruen

      The dissent in Bruen, written by Justice Breyer, contains a different vision of

the Second Amendment’s protections than does the majority opinion. Unlike the

majority, the dissent would have engaged in means-end scrutiny that takes account

not only the historical tradition of firearms regulation exclusively, but also allows the

court to “take account of the serious problems posed by gun violence.” New York State

Rifle & Pistol Ass’n Inc. v. Bruen, 597 U.S. 1, 91 (2022) (Breyer, J., dissenting). As

recounted by the dissent, these problems are not only serious (with 45,222 gun deaths

in 2020) but are becoming more prevalent in recent years, with gun violence

increasing by about 25% between 2015 and 2020. Id. at 85 (citing CENTERS FOR

DISEASE CONTROL & PREVENTION, FAST FACTS: FIREARM VIOLENCE PREVENTION,




                                      Page 34 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24       Page 35 of 168      Page ID
                                      #351



https://www.cdc.gov.violenceprevention/firearms/fastfacts.html (last updated May 4,

2022); M. Siegel et al., Easiness of Legal Access to Concealed Firearm Permits and

Homicide Rates in the United States, 107 AM. J. PUB. HEALTH 1923 (2017)). Justice

Breyer was also deeply concerned with those upon whom this issue falls, with gun

violence becoming the leading cause of death for children and adolescents, as well as

disproportionately affecting Black communities. Id. at 85–86 (citing Josiah Bates,

Guns Became the Leading Cause of Death for American Children and Teens in 2020,

TIME MAG. (Apr. 27, 2022); CENTERS FOR DISEASE CONTROL & PREVENTION, AGE-

ADJUSTED RATES OF FIREARM-RELATED HOMICIDE, BY RACE, HISPANIC ORIGIN, AND

SEX—NATIONAL VITAL STATISTICS SYSTEM, UNITED STATES, 2019, at 1491 (Oct. 22,

2021,   https://www.cdc.gov/mmwr/volumes/70/wr/pdfs/mm7042a6-H.pdf           [https://

perma.cc/NY3G-XDKQ]). In addition to the tragedy of this problem, the dissent also

recounts how it is unique that, when compared to other similar nations, our nation

ranks among the highest in gun violence. Id. at 85 (citing Brief for Educational Fund

to Stop Gun Violence et al. as Amici Curiae 17–18). The dissent further discussed

how this problem with gun violence makes other scenarios more dangerous and

deadly, including road rage incidents, protests, domestic disputes, and police

interactions. Id. at 87–89 (citing Sarah Burd-Sharps et al., Road Rage Shootings are

Continuing       to       Surge,      EVERYTOWN          (Mar.       20,        2023),

https://everytownresearch.org/reports-of-road-rage-shootings-are-on-the-rise/

[https://perma.cc/287J-R8CH]; EVERYTOWN FOR GUN SAFETY, ARMED ASSEMBLY:

GUNS, DEMONSTRATIONS, AND POLITICAL VIOLENCE IN AMERICA (Aug. 23, 2021),




                                    Page 35 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 36 of 168    Page ID
                                       #352



https://www.everytownresearch.org/report/armed-assembly-guns-demonstrations-

and-political-violence-in-america/ [https://perma.cc/4ZUE-G37L]; April M. Zeoli et

al., Risks and Targeted Interventions: Firearms in Intimate Partner Violence, 38

EPIDEMIOLOGIC REVS. 125 (2016); David I. Swedler et al., Firearm Prevalence and

Homicides of Law Enforcement Officers in the United States, 105 AM. J. PUB. HEALTH

2042, 2045 (2015)).

      Thus, while the dissent acknowledged that some Americans use firearms for

lawful purposes, the legislature must balance the lawful uses with the dangers of

firearms. Id. at 89. In doing so, the dissent envisioned taking account of the fact that

“different types of firearms may pose different risks and serve different purposes.” Id.

at 89. Further, legislatures may consider that the risks and benefits of firearms will

differ depending on whether the area is urban or rural. Id. at 90 (citation omitted).

The dissent saw these considerations and the dangers associated with firearms as

demonstrating the complexity of this issue—because of this, the dissent argued that

this issue ought to be solved by legislatures, not the courts. Id. at 90–91.

      Beyond the serious problems associated with firearms in this nation, Justice

Breyer proceeded to argue against the majority’s exclusive reliance on history. First,

the dissent pointed out how “anomalous” it is for the court to reject means-end

scrutiny and adopt their “history-only approach.” Id. at 107. While the lower courts

each adopted a two-step framework that began with asking whether the regulated

activity fell within the Second Amendment’s scope and then proceeded to apply either

intermediate or strict scrutiny depending on the burden of the regulation, the




                                     Page 36 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 37 of 168    Page ID
                                      #353



majority rejected such an approach. Id. at 103 (citing Ezell v. City of Chicago, 846

F.3d 888, 892 (7th Cir. 2017)). While the majority claimed that their historical

approach falls in line with the treatment of other constitutional rights, the dissent

claimed that this is plainly wrong, pointing to First Amendment and Equal Protection

Clause jurisprudence both as evidence of means-ends scrutiny being applied to

safeguard constitutional rights. Id. at 106–07 (citing Ariz. Free Enter. Club’s Freedom

Club PAC v. Bennett, 564 U.S. 721, 734 (2011) (applying strict scrutiny under the

First Amendment for political speech); Ward v. Rock Against Racism, 491 U.S. 781,

791 (1989) (applying intermediate scrutiny under the First Amendment to time,

place, and manner restrictions); Adarand Constructors, Inc. v. Peña, 515 U.S. 200,

227 (1995) (applying strict scrutiny under the Equal Protection Clause for race-based

classifications); Clark v. Jeter, 486 U.S. 456, 461 (1988) (applying intermediate

scrutiny for sex-based classifications under the Equal Protection Clause)).

      Further, the dissent alleged that the history-only approach is also “deeply

impractical” for numerous reasons. Id. at 107. To begin, judges, while practiced in

weighing ends against means, have little experience grappling with difficult

historical questions. Id. Thus, requiring a near-exclusive reliance on history raises

numerous troubling issues, including lower courts’ lack of research resources, lack of

guidance for what history qualifies as “analogous,” unknown credibility of historians,

lack of guidance for the treatment of new historical evidence, as well as the fact that

this approach could assist judges in simply cloaking their preferred outcomes in the

“language of history.” Id. The dissent saw some of these problems illustrated in the




                                     Page 37 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 38 of 168     Page ID
                                       #354



majority decision in Heller. Id. at 108. Not only did the dissent believe Heller’s

majority misread their own historical sources, but it also believed that the majority

erred in rejecting what he believes to be a more accurate interpretation of the term

“bear Arms” that would only encompass militia service. Id. at 109 (citation omitted).

      The dissent further pointed toward several practical problems posed by the

history-only approach. Id. at 111. To begin, Justice Breyer argued that the difficulties

of conducting extensive historical analysis would be particularly difficult in the lower

courts. Id. These courts “have fewer research resources, less assistance from amici

historians, and higher caseloads” than the Supreme Court. Id. These factors make

them ill-equipped to do what the majority asks of them, while these courts remain

equipped and experienced in conducting means-end scrutiny. Id.

      Additionally, the dissent also discussed the practical problem of the majority’s

approach in that it provides lower courts too little instruction on “how to resolve

modern constitutional questions based almost solely on history.” Id. The dissent

argued that the majority did not sufficiently explain how close to a historical law is

necessary to find the regulation at issue sufficiently analogous. Id. at 112. The dissent

also argued that the majority described some laws as outliers but failed to explain

how lower courts should distinguish these outliers from laws worthy of historical

weight. Id. at 112. The ambiguity the majority leaves in the application of this test,

the dissent feared, will, at best, allow judges to “pick their friends out of history’s

crowd” and, at worst, “make it nearly impossible to sustain common-sense

regulations.” Id.




                                      Page 38 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24       Page 39 of 168    Page ID
                                       #355



      Justice Breyer also discussed the problem that history itself will often be too

indefinite to provide an answer to the difficult questions litigants will present to

courts. Id. He argued that historical evidence presented to the courts will often be

unclear and that facts will be in dispute or be ambiguous or contradictory to other

evidence. Id. Additionally, aspects such as the actual enforcement of laws and how

they were interpreted centuries ago will not be entirely clear. Id. He argued that even

historians viewing the same evidence would likely reach different results. Id. at 112–

13 (citing Patrick J. Charles, The Faces of the Second Amendment Outside the Home:

History Versus Ahistorical Standards of Review, 60 CLEV. ST. L. REV. 1, 14 (2012),

with JOYCE LEE MALCOM, TO KEEP AND BEAR ARMS: THE ORIGINS OF AN ANGLO-

AMERICAN RIGHT 104 (1994)). As a result of these problems, the dissent again feared

that this method would allow judges to simply choose the historical evidence that best

suits the judge’s own preferences. Id. at 113.

      Finally, the dissent was concerned that history will be “an inadequate tool

when it comes to modern cases presenting modern problems.” Id. The country at the

time of the Second Amendment’s adoption was so different than our country today,

that those in the past could not have anticipated the modern problems faced today.

Id. The nation was “predominantly rural,” making it unlikely to have faced the same

risks from gun violence that the nation faces today. Id. (quoting Charles R. McKirdy,

Misreading the Past: The Faulty Historical Basis Behind the Supreme Court’s

Decision in District of Columbia v. Heller, 45 CAPITAL U. L. REV. 107, 151 (2017)).

Further, modern technology, such as ghost guns or smart guns, makes it even more




                                     Page 39 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 40 of 168   Page ID
                                       #356



clear that the Framers could not have anticipated how these problems could

permissively be dealt with by legislatures. Id. (citing White House Briefing Room,

FACT SHEET: The Biden Administration Cracks Down on Ghost Guns, Ensures

That ATF Has the Leadership it Needs to Enforce our Gun Laws (Apr. 11, 2022)). The

majority assumes that analogical reasoning would provide the answer, but the

dissent fears that the majority provided too little guidance on how this reasoning is

meant to operate. For example, while the majority signaled that laws regulating

public carriage in sensitive places are permissible, there is no indication of which

areas of a modern city could fall under this exception. Id. at 114.

      While the dissent would reject a history-only based approach, an application of

this approach demonstrates the problems sketched out throughout the dissent, while

revealing a historical tradition of regulating the public carriage of firearms. Id. at

115. The dissent began its searching historical analysis in England, as our nation

inherited the right found in the Second Amendment from these ancestors. Id. As far

back as the 13th century, laws permitted local authorities to “prohibit any person

from ‘going armed’” Id. (quoting 4 Calendar of the Close Rolls, Edward I, 1296–1302,

at 318 (Sept. 15, 1299) (1906)). However, these edicts also permitted those with a

“special license” from the king to be exempt from such regulation. Id. (quoting 5

Calendar of the Close Rolls, Edward 1, 1302–1307, at 210 (June 10, 1304)). The

dissent was unwilling to discount these laws, as the majority does, because they were

enacted while England was in turmoil, as this would heighten the need for armed

self-defense, not lower it. Id. 116–17.




                                      Page 40 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 41 of 168     Page ID
                                       #357



      The Statute of Northampton, which criminalized the carrying of weapons

unless one had authorization from the king, is another example of this English

tradition. Id. at 117 (citing 2 Edw. 3, 258, c. 3 (1328)). The majority rejected reliance

on this statute for several reasons. First, this statute, as well as the going armed

laws, was enacted before firearms arrived in England. Id. (citing Sir John Knight’s

Case, 87 Eng. Rep. 75 (K.B. 1686)). However, the Statute of Northampton eventually

was applied to firearms once they became present in England. Id. Second, the

majority saw the 450-year gap between the enactment of this statute and the

ratification of the Second Amendment as discounting the statute’s relevance to the

Second Amendment. Id. at 118. The dissent responded by observing that this statute,

while enacted hundreds of years before the Second Amendment, remained the law

into the 18th century. Id. (citing 4 WILLIAM BLACKSTONE, COMMENTARIES 148–149

(1769)). The majority interpreted the Statute of Northampton to include an “intent to

cause terror” element. The dissent, in examining the sources on which the dissent

relied, found this to be a misinterpretation of the history. Id. at 118–20 (analyzing

Sir John Knight’s Case, 87 Eng. Rep., at 76 and the Hawkins Treatise, 1 Pleas of the

Crown 136 (1716)).

      While not universally enacted, the dissent found this tradition to be continued

in the Colonies and pointed to a law from the colony of East New Jersey that

prohibited persons from carrying certain “unusual or unlawful weapons” or from

“going armed with sword, pistol, or dagger.” Id. at 121 (quoting An Act Against

Wearing Swords, &c., ch. 9, in GRANTS, CONCESSIONS, AND ORIGINAL CONSTITUTIONS




                                      Page 41 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24       Page 42 of 168    Page ID
                                        #358



OF THE PROVINCE OF NEW JERSEY 290 (2d ed. 1881)). Similar prohibitions were in the


law of Massachusetts Bay and New Hampshire. Id. (citing An Act for the Punishing

of Criminal Offenders, 1692 MASS. ACTS AND LAWS, no. 6, at 11–12; An Act for the

Punishing of Criminal Offenders, 1771 N. H. ACTS AND LAWS ch. 6, § 5, at 17). The

fact that only three colonies enacted such laws raises the question of whether they

are outliers or proper historical analogues. While the majority discredited these laws

as outliers, the dissent rather saw them as “successors to several centuries of

comparable laws in England.” Id. Further, the majority gave less weight to these

laws, seeing as they only applied to particular people, and only to smaller firearms.

Id. at 122. However, the dissent expressed the concern that the majority may have

required too close of a historical twin. Id.

      In the founding era, the dissent pointed toward several states—including

Virginia, North Carolina, and others—which passed laws that largely mirrored the

Statute of Northampton’s prohibition. Id. (citing 1786 VA. ACTS, ch. 21; COLLECTION

OF STATUTES, 60–61, ch. 3 (F. Martin ed. 1792) (reporting North Carolina’s founding


era statute which used the language from the Statute of Northampton)). Just as the

majority believed there was an intent to terrify standard in the statute of

Northampton, the majority finds this same standard to apply to these laws. Id. After

examining the historical sources the majority provided for this standard in these

American laws, the dissent concluded that, just like the Statute of Northampton,

public terror was a reason for the prohibition, not an element of it. Id. at 123 (citing




                                      Page 42 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 43 of 168    Page ID
                                       #359



State v. Huntly, 25 N.C. 418 (1843); O’Neill v. State, 16 Ala. 65 (1849); Simpson v.

State, 13 Tenn. 356 (1833)).

      In the 19th century, the dissent found two innovations from the Statute of

Northampton. Id. at 124. First, there were both states and territories that banned

concealed carry of firearms, or any type of carrying certain concealable weapons. Id.

(citing GA. CODE § 4413 (1861)). While there existed some outlier opinions that

invalidated these laws on Second Amendment State Analogues, most courts held

them to be lawful. Id. at 125. In addition to these laws, the dissent further pointed to

the introduction of surety laws. Id. at 126 (citing MASS. REV. STAT., ch. 134 § 16

(1836)). These laws required those who went armed but could not demonstrate a fear

of an assault that was reasonable to pay a surety when a complaint was made by one

who had cause to reasonably fear an injury. Id. As noted by the dissent, these laws

largely resemble the New York law the majority struck down by conditioning the

carrying of firearms on a “special showing of need.” Id. (citing MASS. REV. STAT., ch.

134, § 16). Based on these two innovations, the dissent believed that the 19th century

demonstrates that the public carriage of firearms has been subject to “relatively

stringent restrictions” that are consistent with the Second Amendment. Id. at 127.

      Justice Breyer further pointed to support for the idea of extensive regulation

of firearms being constitutional in the period after the Civil War. Id. During this

period, the dissent found many states and western territories prohibited all public

carriage of firearms, subject only to limited exceptions. Id. at 128 (citing 1871 Tex.

Gen. Laws ch. 34, § 1). Further, even when these laws were challenged in court, they




                                     Page 43 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 44 of 168     Page ID
                                       #360



were largely upheld, subject to the condition provided by Congress and others that

the laws could not be discriminatory in design or effect. Id. at 127–28 (citing Patrick

J. Charles, The Facts of the Second Amendment Outside the Home, Take Two: How

We Got Here and Why It Matters, 64 CLEV. ST. L. REV. 373, 414 (2016)).

      Finally, the dissent analyzed the history of the New York licensing law at issue

in the case, contrasting it with the types of prohibitions found to be presumptively

lawful in Heller and noting that the New York law has a “longer historical pedigree

than at least three of the four” presumptively lawful regulations. Id. at 129. The fact

that this disconnect exists between Heller and the majority in this case, demonstrated

to the dissent that they were either being “unnecessarily cramped” in their view of

the relevant history, or “needlessly rigid” in their analogical reasoning. Id. For as the

dissent stated, “if the examples discussed above, taken together, do not show a

tradition and history of regulation that supports the validity of New York’s law, what

could?” Id.

      While the dissent conceded that they were bound by Heller, they recognized

that Heller did not create an absolute right, but rather one subject to appropriate

regulations. Id. at 131. Further, the dissent read the history to provide a clear picture

of extensive regulation of firearms being able to exist perfectly within the Second

Amendment. Id. However, the dissent rejected that history alone is the appropriate

manner to evaluate this right, preferring to rely on means-end scrutiny to resolve

these issues. Id. Applying such a balancing approach, the dissent would have found

the law to be substantially related to New York’s compelling interest. Id. at 132.




                                      Page 44 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 45 of 168     Page ID
                                       #361



      c. Summary

      In summation, the Supreme Court majorities in Heller and in Bruen explicitly

rejected the following notions. First, they rejected the argument that the scope of the

Second Amendment did not go further than to protect citizens’ right to keep and bear

arms for military or militia purposes. They also rejected the argument that the

“people” identified in the Second Amendment referred only to the collective actions of

individuals under a duty to serve in the militia. The Court also flatly rejected any

notion that the term “bear arms” related only to military service or acting as a soldier.

Additionally rejected was the notion that the only concern addressed by the Second

Amendment was a fear of standing armies. Also rejected was any notion that the self-

defense interest advanced by the Second Amendment was nothing more than a

“subsidiary interest.”

      The majority decision in Bruen explicitly rejected the call to apply any form of

means-ends scrutiny to Second Amendment challenges, thereby rejecting any notion

that the Second Amendment must yield to a state’s “compelling interest,” even when

such an interest can be demonstrated by compelling data. Justice Breyer’s argument

that the complexity of firearm regulation reserves this issue only for legislatures’

discretion—without the possibility of judicial review—was also rejected. The fact that

urban and rural communities suffer from gun violence in different ways or that

different firearms pose different risks and serve different purposes was rejected as a

justification for broadly insulating the legislature from extensive judicial review. The

Bruen Court also rejected the argument that history alone would be both impractical




                                      Page 45 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 46 of 168     Page ID
                                       #362



for judges to utilize and incapable of providing definitive answers. Aside from means-

ends scrutiny, the majority in Heller rejected an interest-balancing test that would

have weighed the burden the Second Amendment against the government’s interest

in enacting the law.

      Finally, the Bruen dissent’s understanding of history was rejected as a

justification for the public carry legislation at issue at issue in the case. English and

colonial “going armed laws,” the Statute of Northampton, or colonial laws prohibiting

the carrying of unlawful weapons were rejected as a justification for New York’s

licensing regime. Similarly, founding-era laws that mirrored the Statute of

Northampton were rejected as proper historical analogues to the New York law. Even

concealed carry laws and surety laws from the 19th century failed to justify the law

struck down in Bruen. Finally, postbellum regulation that went as far as to prohibit

the carrying of firearms in public also could not stand as a justification for New York’s

public carry law. The Supreme Court, in rejecting the dissent’s arguments, made

clear that these regulations did not demonstrate a historical tradition of regulating

firearms that would justify all modern legislation.

      3. Justice Thomas’s Statement in Harrel v. Raoul, 144 S. Ct. 2491 (July
      2, 2024)

      This Court notes that, while the Supreme Court denied the petitions for

certiorari that sought to set aside the Seventh Circuit’s decision in Bevis, Justice

Thomas wrote in a Statement that “[w]e have never squarely addressed what types

of weapons are ‘Arms’ protected by the Second Amendment.” See Harrel v. Raoul, 144

S. Ct. 2491, 2492 (July 2, 2024) (Statement of Thomas, J.). He writes:



                                      Page 46 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 47 of 168    Page ID
                                       #363



      To be sure, we explained in District of Columbia v. Heller, 554 U.S. 570,
      (2008), that the Second Amendment’s protection “extends, prima facie,
      to all instruments that constitute bearable arms, even those that were
      not in existence at the time of the founding.” And, we noted that “the
      Second Amendment does not protect those weapons not typically
      possessed by law-abiding citizens for lawful purposes,” recognizing “the
      historical tradition of prohibiting the carrying of dangerous and unusual
      weapons[.]” But, this minimal guidance is far from a comprehensive
      framework for evaluating restrictions on types of weapons, and it leaves
      open essential questions such as what makes a weapon “bearable,”
      “dangerous,” or “unusual.”

Id. (quoting Heller at 582, 625, 627) (citing Caetano v. Massachusetts, 577 U.S. 411,

417–419 (2016) (Alito, J., concurring in judgment)). Justice Thomas writes that “[t]he

Seventh Circuit’s decision illustrates why this Court must provide more guidance on

which weapons the Second Amendment covers.” Id. Additionally, “[b]y contorting

what little guidance our precedents provide, the Seventh Circuit concluded that the

Second Amendment does not protect ‘militaristic’ weapons,” before “tautologically

defin[ing] ‘militaristic’ weapons as those ‘that may be reserved for military use.’” Id.

“The Seventh Circuit’s contrived ‘non-militaristic’ limitation on the Arms protected

by the Second Amendment seems unmoored from both text and history.” Id. (quoting

Bevis at 1194) (citing Bevis at 1199). Moreover, “even on its own terms, the Seventh

Circuit’s application of its definition is nonsensical.” Id. (citing Bevis at 1222

(Brennan, J., dissenting) (“The AR–15 is a civilian, not military, weapon. No army in

the world uses a service rifle that is only semiautomatic.” (footnote omitted)). Justice

Thomas writes that “[i]n [his] view, Illinois’ ban is ‘highly suspect because it broadly

prohibits common semiautomatic firearms used for lawful purposes.’” Id. (citing

Friedman v. City of Highland Park, 577 U.S. 1039, 1042 (2015) (Opinion of Thomas,




                                     Page 47 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 48 of 168     Page ID
                                       #364



J.). Finally, he states that “[i]t is difficult to see how the Seventh Circuit could have

concluded that the most widely owned semiautomatic rifles are not ‘Arms’ protected

by the Second Amendment.” Id.

B. Seventh Circuit Jurisprudence

      After the issuance of Heller but before the Supreme Court issued Bruen, the

Seventh Circuit issued its opinion in Friedman v. City of Highland Park, 784 F.3d

406 (7th Cir. 2015). The case involved a challenge to the constitutionality of Highland

Park’s ordinance prohibiting the possession of assault weapons and large-capacity

magazines (defined as magazines holding more than ten rounds, see id. at 407). The

challenged ordinance also banned various firearm attachments and features. Id.

      The Friedman Court recited Heller’s cautionary language warning “against

readings that go beyond the scope of Heller’s holding that ‘the Second Amendment

creates individual rights, one of which is keeping operable handguns at home for self-

defense.’” Id. at 410 (quoting United States v. Skoien, 614 F.3d 638, 640 (7th Cir.2010)

(en banc)) (citing Heller). After surveying the opinions of other circuits grappling with

what level of scrutiny should be applied to laws regulating firearms, the opinion held

that “we think it better to ask whether a regulation bans weapons that were common

at the time of ratification or those that have ‘some reasonable relationship to the

preservation or efficiency of a well regulated militia,’ and whether law-abiding

citizens retain adequate means of self-defense.” Id. (citing Heller at 622–25; Miller,

307 U.S. at 178–79). After pointing out that the arms banned by the Highland Park

ordinance are not like those arms existing in 1791, id., the Friedman Court also




                                      Page 48 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24         Page 49 of 168     Page ID
                                       #365



observed that, because some of the arms in questions were commonly used for

military and police functions, “they therefore bear a relation to the preservation and

effectiveness of state militias.” Id. “But states, which are in charge of militias, should

be allowed to decide when civilians can possess military-grade firearms, so as to have

them available when the militia is called to duty.” Id.

      Friedman concedes that the banned weapons can be used for self-defense. See

id. at 411 (“Since the banned weapons can be used for self-defense, we must consider

whether the ordinance leaves residents of Highland Park ample means to exercise

the ‘inherent right of self-defense’ that the Second Amendment protects.” Id. (quoting

Heller at 628). In critiquing the plaintiffs’ argument that the ordinance substantially

restricts their options for armed self-defense, the Friedman Court noted that “[i]f

criminals can find substitutes for banned assault weapons, then so can law-abiding

homeowners.” Id. They continue, stating that:

      True enough, assault weapons can be beneficial for self-defense because
      they are lighter than many rifles and less dangerous per shot than large-
      caliber pistols or revolvers. Householders too frightened or infirm to aim
      carefully may be able to wield them more effectively than the pistols
      James Bond preferred. But assault weapons with large-capacity
      magazines can fire more shots, faster, and thus can be more dangerous
      in aggregate. Why else are they the weapons of choice in mass shootings?
      A ban on assault weapons and large-capacity magazines might not
      prevent shootings in Highland Park (where they are already rare), but
      it may reduce the carnage if a mass shooting occurs.

Id. The Friedman Court further noted that “[t]he best way to evaluate the relation

among assault weapons, crime, and self-defense is through the political process and

scholarly debate, not by parsing ambiguous passages in the Supreme Court's

opinions.” Id. at 412. In summation, the majority noted that “[t]he central role of



                                      Page 49 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 50 of 168     Page ID
                                       #366



representative democracy is no less part of the Constitution than is the Second

Amendment: when there is no definitive constitutional rule, matters are left to the

legislative process.” Id. (citing McCulloch v. Maryland, 4 Wheat. 316, 17 U.S. 316,

407 (1819)).

      In dissent, Judge Manion stated that “[t]o limit self-defense to only those

methods acceptable to the government is to effect an enormous transfer of authority

from the citizens of this country to the government—a result directly contrary to our

constitution and to our political tradition.” Id. at 413 (Manion, J., dissenting). “The

rights contained in the Second Amendment are ‘fundamental’ and ‘necessary to our

system of ordered liberty.’ The government recognizes these rights; it does not confer

them.” Id. (quoting McDonald, 561 U.S. at 778). A further critique was that the “novel

test” prescribed by the majority includes the following prongs: (1) “whether the

weapons in question were ‘common at the time of ratification’ or have ‘some

reasonable relationship to the preservation or efficiency of a well regulated militia’”

and (2) “whether law-abiding citizens retain adequate means of self-defense.” Id.

(citing id. at 410–11). The issue as Judge Manion saw it was that “Heller expressly

disclaimed two of the three aspects of this test.” Id. Heller specifically noted that the

argument that the Second Amendment only protected those arms that were in

common use in 1791 was “bordering on the frivolous.” Id. (quoting Heller at 582).

Likewise, Heller “expressly overruled any reading of the Second Amendment that

conditioned the rights to keep and bear arms on one’s association with a militia.” Id.

at 413–14 (citing Heller at 612). For this reason, Judge Manion argued that “there is




                                      Page 50 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 51 of 168     Page ID
                                       #367



no way to square this court’s holding with the clear precedents of Heller and

McDonald.” Id. at 414. After discussing why the banned arms were “in common use”

and entitled to Second Amendment protection, Judge Manion touched on the use of

weapons for self-defense versus use for criminal activity:

      Whether or how people might use these weapons for illegal purposes
      provides a basis for a state to regulate them, but it has no bearing on
      whether the Second Amendment covers them. Unfortunately, the court
      effectively inverts this equation and considers first the potential illegal
      uses (here: catastrophic public shootings) and then doubles back to
      determine whether attendant lawful use by ordinary citizens might be
      sufficient to warrant some type of Second Amendment protection.

Id. at 416.

      The Friedman plaintiffs sought a writ of certiorari which was denied. See

Friedman v. City of Highland Park, 577 U.S. 1039 (2015) (Mem.). However, two

justices dissenting from that denial: Justice Scalia, author of the majority opinion in

Heller, and Justice Thomas, who would later author the majority opinion in Bruen.

This dissent foreshadows the direction the Supreme Court would take as Second

Amendment jurisprudence evolved. They also explained that Friedman blatantly

ignored the Supreme Court’s opinions in Heller and in McDonald:

      We excluded from protection only “those weapons not typically
      possessed by law-abiding citizens for lawful purposes.” And we stressed
      that “[t]he very enumeration of the right takes out of the hands of
      government—even the Third Branch of Government—the power to
      decide on a case-by-case basis whether the right is really worth insisting
      upon.”

Id. at 1039 (Scalia, J., dissenting) (first quoting Heller at 625; next quoting Heller at

634 (emphasis deleted)). Addressing directly the majority’s finding that the

regulation of modern weapons should be left to the political process, the dissent



                                      Page 51 of 168
Case 3:23-cv-00141-SPM           Document 54 Filed 11/08/24               Page 52 of 168        Page ID
                                            #368



responded that: “[w]e cautioned courts against leaving the rest of the field to the

legislative process: ‘Constitutional rights are enshrined with the scope they were

understood to have when the people adopted them, whether or not future legislatures

or (yes) even future judges think that scope too broad.’” Id. (quoting Heller at 634–

635). Because “[t]he right to keep and bear arms is an independent, individual right,”

the dissent wrote that “[i]ts scope is defined not by what the militia needs, but by

what private citizens commonly possess.” Id. (citing Heller at 592, 627–629).

Therefore, the dissent would have granted the writ of certiorari.

        Even considering the above discussion, the Seventh Circuit has stated that

their preexisting test from Friedman v. City of Highland Park, 784 F.3d 406 (7th Cir.

2015), is consonant with Bruen’s historical test. See Bevis v. City of Naperville, 85

F.4th 1175, 1190–91 (7th Cir. Nov. 3, 2023); New York State Rifle & Pistol

Association, Inc. v. Bruen, 597 U.S. 1 (2022); see also United States v. Rahimi, 144 S.

Ct. 1889 (2024); McDonald v. City of Chicago, 561 U.S. 742 (2010); District of

Columbia v. Heller, 554 U.S. 570 (2008). The Bevis Court stated that the “military

use” test employed in Friedman is consonant with Bruen, even though Bruen held

that any two-step test is “one step too many.” Bruen at 19; see Bevis at 1191. The

Seventh Circuit states that Friedman was not explicitly overruled or abrogated

unlike other Circuits’ two-step tests.17 The Bevis Court writes that “[a]lthough the



17 Bruen explicitly notes that following cases as abrogated: Harley v. Wilkinson, 988 F. 3d 766 (4th Cir.

2021); Libertarian Party of Erie County v. Cuomo, 970 F.3d 106 (2d Cir. 2020); Worman v. Healey, 922
F.3d 26 (1st Cir. 2019); Kanter v. Barr, 919 F.3d 437 (7th Cir. 2019); Association of New Jersey Rifle
and Pistol Clubs, Inc. v. Attorney General New Jersey, 910 F.3d 106 (3d Cir. 2018); Kolbe v. Hogan,
849 F.3d 114 (4th Cir. 2017); National Rifle Ass’n of America, Inc. v. Bureau of Alcohol, Tobacco,
Firearms, and Explosives, 700 F.3d 185 (5th Cir. 2012).


                                            Page 52 of 168
Case 3:23-cv-00141-SPM           Document 54 Filed 11/08/24              Page 53 of 168        Page ID
                                            #369



district court in Bevis thought that the reasoning in Friedman might not have

survived Bruen, we see Friedman as basically compatible with Bruen, insofar as

Friedman anticipated the need to rest the analysis on history, not on a free-form

balancing test.”18 Bevis at 1189 (citing Bruen, 597 U.S.; Bevis v. City of Naperville,

657 F. Supp. 3d 1052 (N.D. Ill.), aff’d, 85 F.4th 1175 (7th Cir. 2023), cert. denied sub

nom. Harrel v. Raoul, 144 S. Ct. 2491 (2024) (Mem.)).

        This Circuit adopts a framework in which, prior to conducting any Second

Amendment analysis as to a weapon, attachment, or magazine, the burden shifts to

the plaintiff to prove by a preponderance of the evidence that the item in question

constitutes an “Arm” for purposes of the Second Amendment. See Bevis at 1192–93

(quoting Heller at 581). If the item does not constitute an “Arm,” then the Seventh

Circuit holds that the Second Amendment has nothing to say about a law banning or

restricting it. See id. This method is required even if the item otherwise falls within

the definition of what constitutes an “Arm” as set out in Heller and in Bruen. See

Bevis at 1192–1202. The Seventh Circuit holds that this precertification process

renders Friedman consistent with the “methodology approved in Bruen” and so they

may employ it in Bevis. Id. at 1191.

        The Seventh Circuit also states that “‘common use’ is a slippery concept.” See

Bevis at 1198.19 Friedman held that “states, which are in charge of militias, should




18 In a concurring opinion, Circuit Judge Jane Richards Roth of the Third Circuit discusses a similar

test in Del. State Sportsmen’s Ass’n, Inc. v. Del. Dep’t of Safety & Homeland Sec., No. 23-1633, 2024
WL 3406290 (3d Cir. July 15, 2024).
19 This Court finds the definition of weapons reserved for “military use” to be similarly nebulous as it

shapeshifts its way through Bevis’s majority opinion.


                                            Page 53 of 168
Case 3:23-cv-00141-SPM            Document 54 Filed 11/08/24                Page 54 of 168        Page ID
                                             #370



be allowed to decide when civilians can possess military-grade firearms, so as to have

them available when the militia is called to duty.” Friedman at 410 (emphasis

added).20 Conceding that “[m]ass shootings are rare, but they are highly salient, and

people tend to overestimate the likelihood of salient events,” the Seventh Circuit

allows that “[i]f a ban on semiautomatic guns and large-capacity magazines reduces

the perceived risk from a mass shooting, and makes the public feel safer as a result,

that’s a substantial benefit.” Id. at 412.

        While Friedman uses terms like “semiautomatic guns” and “large-capacity

magazines,” it does not explicitly link these terms to a workable definition of a

“military-grade weapon.”21 See id. at 410, 412. In Bevis, the Seventh Circuit states

that the plaintiffs “have the burden of showing that the weapons addressed in the

pertinent legislation are Arms that ordinary people would keep at home for purposes

of self-defense, not weapons that are exclusively or predominantly useful in military

service, or weapons that are not possessed for lawful purposes.” Id. at 1194. The

question, thus, was whether civilian-model AR-15s are “Arms” as covered by the


20 This is somewhat confusing, as the Seventh Circuit explicitly stated in Bevis that the Supreme Court

“severed” the prefatory and operative clauses that comprise the Second Amendment. See Bevis at 1189
(citing Heller). The Court is at a loss to explain how states are able to regulate civilian use of military-
grade weapons so that they can be available for the militia when the Supreme Court explicitly
eschewed this connection in Heller. See id. at 595 (“There seems to us no doubt, on the basis of both
text and history, that the Second Amendment conferred an individual right to keep and bear arms.”);
see also id. at 612 (“It is not possible to read this as discussing anything other than an individual right
unconnected to militia service. If it did have to do with militia service, the limitation upon it would not
be any ‘unlawful or unjustifiable purpose,’ but any nonmilitary purpose whatsoever.”).
21 Plaintiffs’ expert James Ronkainen states that “at Remington, we had an entirely separate division

devoted to military firearms development and production (Remington Defense) to meet the distinct
needs of the separate military market. We did not consider military grade rifles to be MSRs.” (Doc.
229, Ex. 9 (Ronkainen Rep.), p. 6). Ronkainen provides “ferritic nitrocarburization—a kind of barrel
surface treatment technology” as an example of a process that “is used to extend the useful life of the
gun barrel and improve corrosion protection beyond that offered by standard chrome plating, on
military-grade rifles.” (Id., p. 5).


                                              Page 54 of 168
Case 3:23-cv-00141-SPM            Document 54 Filed 11/08/24               Page 55 of 168         Page ID
                                             #371



Second Amendment’s protection or whether, like “machineguns,” they are “dedicated

exclusively to military use.” Id. at 1193 (citing Heller at 624). The Seventh Circuit

specifically considered the AR-15’s rate of fire as compared with the military M16, as

well as the “core design” and the fact that “both rely on the same patented operating

system.” Id. at 1196. They also state that the AR-15 has a “semiautomatic rate of

‘only’ 300 rounds per minute” compared with the M16’s 700 rounds per minute rate

of fire.22 Id. The Seventh Circuit ultimately concluded that “assault weapons and

high-capacity magazines are much more like machineguns and military-grade

weaponry than they are like the many different types of firearms that are used for

individual self-defense (or so the legislature was entitled to conclude)” and, more

specifically, that “based on the record before us, we are not persuaded that the AR-

15 is materially different from the M16.” Id. at 1197.

        That being said, the Seventh Circuit (in a footnote) adds the following:

“[o]bviously, many weapons are ‘dual use’: private parties have a constitutionally

protected right to ‘keep and bear’ them and the military provides them to its forces.

In this sense, there is a thumb on the scale in favor of Second Amendment protection.”

Id. at 1195 n.8. They clarify that “[w]hen we refer to ‘military’ weapons here, we mean




22 The Seventh Circuit does not cite a source for these figures. It is unclear        to this Court how a
semiautomatic rifle can workably fire 300 rounds per minute (put another way, 5 trigger pulls per
second for 60 seconds). The U.S. Army’s marksmanship manual from states that the M16A1 rifle had
a “maximum effective rate of fire” of forty-five to sixty-five rounds per minute in semiautomatic and
150 to 200 rounds per minute in automatic. (Doc. 247, ¶¶ 196 (citing id., Ex. 261, U.S. Army, FM 3-
22.9 at 2-1)). Notably, even at the high end of the band, sixty-five rounds per minute is 32.5% of the
rate of fire of a fully automatic military AR-style rifle (which is not available for purchase by civilians
in any capacity). Perhaps the Seventh Circuit used “cyclic” rates of fire, which is “the theoretical
mechanical rate at which a firearm is capable of being fired.” (Doc. 247, ¶ 282 (citing Doc. 185, Ex. 1
(Yurgealitis Rep.), ¶ 49; Doc. 232, Ex. 19 (Boone Decl.), ¶ 67))).


                                             Page 55 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24         Page 56 of 168     Page ID
                                       #372



weapons that may be essentially reserved to the military.” Id. Such a carve-out means

that specific weapons that would be “reserved for military use” by the above definition

may not be restricted from use by civilians for self-defense; the most obvious examples

would be the civilian variants of the M9 service pistol (sold as the Beretta 92F pistol

and M1014 Joint Service Shotgun (sold as the Benelli M4 shotgun). Without this

dual-use provision, such weapons would not be “Arms” in accordance with the

Seventh Circuit’s reckoning.

C. Harmonizing Seventh Circuit and Supreme Court Case Law

      Regardless of the tension between Friedman/Bevis and Heller/Bruen, it is this

Court’s task to try to harmonize these two lines of case law. As discussed in the Order

issued on February 23, 2024, the Court will proceed as follows. In line with the

Friedman/Bevis “precertification,” the Plaintiffs must establish via a preponderance

of the evidence that (1) the weaponry in question is an item an ordinary person would

keep at home for purposes of self-defense; (2) the weaponry in question is not

exclusively or predominantly useful in military service; and (3) the weaponry in

question is not possessed for unlawful purposes. (See Doc. 166, pp. 6–7). However,

even if a weapon flunks the first or second prong of this test, it can still be considered

an “Arm” entitled to Second Amendment protection if “dual use” is demonstrated. See

Bevis at 1195 n.8.

      If the Plaintiffs are able to establish that the weapons, attachments, or

ammunition-feeding devices proscribed by PICA are “Arms” included within the

protective reach of the Second Amendment in line with Friedman and Bevis, the




                                      Page 56 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24       Page 57 of 168    Page ID
                                       #373



Government “must affirmatively prove” that PICA “is part of the historical tradition

that delimits the outer bounds of the right to keep and bear arms” via a showing of

“how and why the regulations burden a law-abiding citizen’s right to armed self-

defense.” Bruen at 19, 29; (see Doc. 166, p. 12 (quoting the same)).

D. Definitions

      Justice Thomas wrote that the Supreme Court’s “minimal guidance is far from

a comprehensive framework for evaluating restrictions on types of weapons, and it

leaves open essential questions such as what makes a weapon ‘bearable,’ ‘dangerous,’

or ‘unusual.’” See Harrel v. Raoul, 144 S. Ct. 2491, 2492 (July 2, 2024) (Statement of

Thomas, J.). Before assessing the parties’ arguments and attempting to harmonize

Supreme Court and Seventh Circuit precedent, this Court will create workable

definitions for “bearable,” “dangerous,” “unusual,” and “common use.”

      1. “Bearable”

      In Heller, the Supreme Court wrote that “[a]t the time of the founding, as now,

to ‘bear’ meant to ‘carry.’” Id. at 584 (citing S. JOHNSON, 1 DICTIONARY OF THE ENGLISH

LANGUAGE 161 (4th ed.) (reprinted 1978); N. WEBSTER, AMERICAN DICTIONARY OF THE

ENGLISH LANGUAGE (1828) (reprinted 1989); T. SHERIDAN, A COMPLETE DICTIONARY

OF THE ENGLISH LANGUAGE (1796); 2 OXFORD ENGLISH DICTIONARY 20 (2d ed.1989)).


“When used with ‘arms,’ however, the term has a meaning that refers to carrying for

a particular purpose—confrontation.” Id. The Supreme Court notes Justice

Ginsburg’s definition from her dissent in Muscarello v. United States, 524 U.S. 125

(1998): “[s]urely a most familiar meaning is, as the Constitution’s Second Amendment




                                     Page 57 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24         Page 58 of 168     Page ID
                                       #374



. . . indicate[s]: ‘wear, bear, or carry . . . upon the person or in the clothing or in a

pocket, for the purpose . . . of being armed and ready for offensive or defensive action

in a case of conflict with another person.’” Id. (citing Muscarello at 143 (Ginsburg, J.,

dissenting)); see also BLACK’S LAW DICTIONARY 214 (6th ed.1990). The Heller Court

stated that “[w]e think that Justice Ginsburg accurately captured the natural

meaning of ‘bear arms.’ Although the phrase implies that the carrying of the weapon

is for the purpose of ‘offensive or defensive action,’ it in no way connotes participation

in a structured military organization.” Id.

      In the Seventh Circuit, the Bevis Court asks “what exactly falls within the

scope of ‘bearable’ Arms?” Id. at 1193. “Not machineguns, the [Heller] Court said,

because they can be dedicated exclusively to military use.” Id. (citing Heller at 624).

“Yet a normal person can certainly pick up and carry a machinegun, or for that matter

the portable nuclear weapons we mentioned at the outset.” Id. “‘Bearable’ thus must

mean more than ‘transportable’ or ‘capable of being held.’” Id. (citing Heller at 627

(discussing “weapons that are most useful in military service—M16 rifles and the

like,” which “may be banned”)).

      As additional context, the Third Circuit attempted to refine which “bearable”

weapons are Arms in the context of the Second Amendment. In a concurring opinion,

Judge Roth of the Third Circuit wrote that although “weapons can be (and are) used

for lawful purposes besides self-defense” including “[r]ecreational target shooting,

hunting, and pest-control,” that “Heller holds, and its progeny affirms, that self-

defense is ‘the core lawful purpose’ protected by the Second Amendment” and that




                                      Page 58 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24       Page 59 of 168    Page ID
                                        #375



“[w]hile these other uses may be lawful, the Supreme Court has never recognized

them as ‘core’ purposes protected by the Second Amendment.” Del. State Sportsmen’s

Ass’n, Inc. v. Del. Dep't of Safety & Homeland Sec., 108 F.4th 194, 211 (3d Cir. 2024)

(Roth, J., concurring) (footnotes omitted). “Until it might do so, the ‘bearable arms’

presumptively protected by the Second Amendment are limited to weapons used

explicitly for self-defense.” Id. (footnote omitted).

        Admittedly, some of the circuits (including the Seventh Circuit), demand that

the right “to keep and bear arms” for any lawful purpose be narrowed to “bearing

arms” only for self-defense in the home unless the weapon is an arm “useful” for

military purposes. This asymmetry can easily derail any effort to fashion a neutral

definition of what it means to “bear” an arm. However, it is not necessary to narrow

the definition of what constitutes “bearable” to address only what is bearable for the

purposes of self-defense. The concerns of the circuits with respect to semiautomatic

weapons, attachments, configurations, and magazine capacity are more aptly

addressed in how one defines “dangerous,” “unusual,” “military weapon,” and/or “dual

use.”

        It is critical that one does not gloss over this language in Heller: “the Second

Amendment extends, prima facie, to all instruments that constitute bearable arms,

even those that were not in existence at the time of the founding.” 554 U.S. at 582.

Prima facie means “legally sufficient to establish a fact or a case unless disproved.”

Prima     facie,   MERRIAM-WEBSTER,      https://www.merriam-webster.com/dictionary/

prima%20facie [https://perma.cc/B9TT-URBL] (last visited Oct. 31, 2024). Prima




                                       Page 59 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 60 of 168     Page ID
                                      #376



facie evidence sustains a judgment unless contrary evidence is produced. BLACK’S

LAW DICTIONARY (12th ed. 2024).

      Considering the above, this Court holds that “for the purpose . . . of being armed

and ready” is the controlling language. Muscarello at 143 (Ginsburg, J., dissenting).

The definition of “bearable” clearly includes items like helmets, body armor, and the

like. However, because PICA only focuses on handheld or shoulder-mounted firearms,

this Court will not attempt to exhaust the list of what may be wearable or bearable

to be armed and ready for confrontation. For the purposes of this discussion, as the

Supreme Court has conclusively accepted Justice Ginsburg’s definition of “bearable,”

the Court will employ it here.

      Yet, is any handgun, shotgun, or rifle that can be picked up and carried a

bearable arm? Is the ability to safely operate the weapon a function of whether it is

bearable? Some firearms may so be awkward, cumbersome, or ponderous to hold, aim,

and fire that they may be inherently unbearable as a practical matter. Consider a

firearm with a size or intense recoil such that it compromises its ability to be safely

or properly used for self-defense. In this category may be a rifle or a handgun that

fires .50 caliber rounds. Most adults would struggle mightily to fire five rounds at

quick intervals because of the immense recoil.

      Moreover, how do we treat a weapon that is only partially borne while

operating it? Consider an arm that can be deployed remotely or by operation of a

radio-controlled device. This Court acknowledges that such issues may be deemed by

many to be relevant to what is “bearable.” However, given the types of arms banned




                                     Page 60 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24       Page 61 of 168    Page ID
                                      #377



by PICA, these queries are more properly addressed in the definitions of the other

terms infra.

      Therefore, this Court defines bearable as: a weapon that an individual

carries for the purpose of being armed and ready for offensive or defensive

action in a case of conflict with another person.

      2. “Dangerous”

      Heller also discusses what “dangerous” means in the context of firearms. Id. at

627. The definition of “dangerous” is inextricably linked to that of “common use.” The

Heller Court wrote that “[w]e also recognize another important limitation on the right

to keep and carry arms. Miller said, as we have explained, that the sorts of weapons

protected were those ‘in common use at the time.’” Heller at 627 (quoting United

States v. Miller, 307 U.S. 174, 179 (1939)). “We think that limitation is fairly

supported by the historical tradition of prohibiting the carrying of ‘dangerous and

unusual weapons.’” Id. (citing 4 WILLIAM BLACKSTONE, COMMENTARIES 148–149

(1769); 3 B. WILSON, WORKS OF THE HONOURABLE JAMES WILSON 79 (1804); J. DUNLAP,

THE NEW–YORK JUSTICE 8 (1815); C. HUMPHREYS, A COMPENDIUM OF THE COMMON

LAW IN FORCE IN KENTUCKY 482 (1822); 1 W. RUSSELL, A TREATISE ON CRIMES AND

INDICTABLE MISDEMEANORS 271–272 (1831); H. STEPHEN, SUMMARY OF THE CRIMINAL

LAW 48 (1840); E. LEWIS, AN ABRIDGMENT OF THE CRIMINAL LAW OF THE UNITED

STATES 64 (1847); F. WHARTON, A TREATISE ON THE CRIMINAL LAW OF THE UNITED

STATES 726 (1852); State v. Langford, 10 N.C. 381, 383–384 (1824); O’Neill v. State,

16 Ala. 65, 67 (1849); English v. State, 35 Tex. 473, 476 (1871); State v. Lanier, 71




                                    Page 61 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 62 of 168     Page ID
                                      #378



N.C. 288, 289 (1874)). Heller specifically stated that “machineguns” and “short-

barreled shotguns” are weapons that are excluded from Second Amendment

protection. Id. at 624–25. In the conclusion to this discussion, the Supreme Court

writes:

      It may be objected that if weapons that are most useful in military
      service—M–16 rifles and the like—may be banned, then the Second
      Amendment right is completely detached from the prefatory clause. But
      as we have said, the conception of the militia at the time of the Second
      Amendment’s ratification was the body of all citizens capable of military
      service, who would bring the sorts of lawful weapons that they possessed
      at home to militia duty. It may well be true today that a militia, to be as
      effective as militias in the 18th century, would require sophisticated
      arms that are highly unusual in society at large. Indeed, it may be true
      that no amount of small arms could be useful against modern-day
      bombers and tanks. But the fact that modern developments have limited
      the degree of fit between the prefatory clause and the protected right
      cannot change our interpretation of the right.

Id. at 627–28.

      Bruen discussed an 1801 Tennessee statute which “required any person who

would ‘publicly ride or go armed to the terror of the people, or privately carry any

dirk, large knife, pistol or any other dangerous weapon, to the fear or terror of any

person’ to post a surety; otherwise, his continued violation of the law would be

‘punished as for a breach of the peace, or riot at common law.’” Bruen at 50 (quoting

1801 Tenn. Acts pp. 260–61). They also pointed to an 1833 Tennessee case where “the

Tennessee attorney general once charged a defendant with the common-law offense

of affray, arguing that the man committed the crime when he ‘arm[ed] himself with

dangerous and unusual weapons, in such a manner as will naturally cause terror to

the people.’” Id. at 51 (quoting Simpson v. State, 13 Tenn. 356, 358 (1833)).




                                     Page 62 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 63 of 168    Page ID
                                       #379



      As discussed supra, the Seventh Circuit in Bevis lists “firearms, explosives,

Bowie knives, or other like devices” as being regulated in the past as “especially

dangerous weapons of the time.” Id. at 1199.

      As additional context, the Fourth Circuit wrote that “[w]e also recognize that

the Supreme Court, in the handful of Second Amendment cases that it has decided,

has not yet had the opportunity to clarify the full array of weaponry that falls outside

the ambit of the Second Amendment.” Bianchi v. Brown, 111 F.4th 438, 451 (4th Cir.

2024) (en banc). As examples, they discuss “arms that disable an adversary over time,

such as those that release slow-acting poison” like “[a]n umbrella gun that fires a

ricin-laced pellet, while a bearable arm, is utterly ineffective at countering imminent

threats for which the right to self-defense exists because it takes hours for ricin to

have a debilitating effect.” Id. (citing Ricin and the Umbrella Murder, CNN (Oct. 23,

2003); CTRS. FOR DISEASE CONTROL AND PREVENTION, QUESTIONS AND ANSWERS ABOUT

RICIN (Apr. 4, 2018)). Additionally, some bearable arms deliver force so excessive for

self-defense that no reasonable person could posit that the Constitution guarantees

civilian access to them.” Id. at 451–52 (citing Bevis at 1198 (“Everyone can also agree,

we hope, that a nuclear weapon such as the . . . 51-pound W54 warhead, can be

reserved for the military, even though it is light enough for one person to carry.”);

Heller at 627).

      The Fourth Circuit continues, writing that “[a]s should be clear, these are not

the modern equivalents of weapons that were commonly possessed and employed for

self-preservation by your shopkeeper, or your butcher, or your blacksmith up the road




                                     Page 63 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24         Page 64 of 168     Page ID
                                        #380



in colonial America—the disarmament of whom the Second Amendment was ratified

to prevent.” Id. at 452 (citing Heller at 598–99). “The Second Amendment, with its

‘central component’ of ‘individual self-defense,’ is not concerned with ensuring

citizens have access to military-grade or gangster-style weapons.” Id. (quoting Bruen

at 29) (emphasis omitted). “In short, then, while the Second Amendment jealously

safeguards the right to possess weapons that are most appropriate and typically used

for self-defense, it emphatically does not stretch to encompass excessively dangerous

weapons ill-suited and disproportionate to such a purpose.” Id.

       What are we to make of the frequent references to the Second Amendment’s

“core lawful purpose as self-defense” when identifying what is an “Arm” protected by

the Second Amendment? Is this a fair reading of the Second Amendment, or, rather,

an attempt to strangle the more full-throated test of the Supreme Court (whether the

weapon is in common use for any lawful purpose)? Is there a different test

contemplated for arms in common use, but the principal purpose is for, say, hunting

or competition shooting instead of confrontation in the home? How about ammunition

designed for larger game? What should we make of a flare gun, the principal purpose

of which is to help identify a location or signal distress?

       Merriam-Webster defines dangerous as “able or likely to inflict injury or

harm.”       Dangerous,        MERRIAM-WEBSTER,           https://www.merriam-webster

.com/dictionary/dangerous [https://perma.cc/JRQ6-DK6T] (last visited Oct. 30, 2024).

Clearly, the ability to “inflict injury or harm” applies to all firearms; they are designed

to maim, wound, and kill. Thus, all firearms could be considered “dangerous” under




                                      Page 64 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24         Page 65 of 168     Page ID
                                        #381



this definition, which clearly does not mean what the Supreme Court intended

“dangerous” to mean. However, considering the weapons that the Supreme Court has

said are not covered by the Second Amendment (machineguns and sawed-off

shotguns) provides this Court with context on what exactly is included within the

definition of “dangerous.”

      A machinegun is dangerous in the same way as is a flamethrower, an explosive,

or a chemical or biological weapon—in its normal mode of operation, it is extremely

difficult, if not impossible, to control the weapon or to fix it on a discrete target. When

fired in fully automatic mode, an M16 or other fully automatic military-issued firearm

like the M249 Squad Automatic Weapon or M240B machinegun provides

“suppressing fire,” meaning it is not designed to necessarily hit individual targets,

but rather to lay down a “blanket” of fire to cover a fire team or military unit’s

movement. (See Doc. 229, Ex. 6 (Eby & Musselman Rep.), p. 5 (“Fighting against a

peer opponent requires a choreographed response during an engagement. The

infantry usually meets the opponent by receiving gunfire from an entrenched or

hidden force (historically we in the USA are the ‘moving’ force, attacking a prepared

‘defending’ force). The infantry rifleman requires a high volume of accurate fire to

‘suppress’ an opponent into position. Think of suppression as an action that prevents

the enemy from rising out of prepared positions to shoot at US forces. Sufficient

suppression prevents enemy action and is measured by overwhelming the enemy’s

ability to return fire for the duration of friendly force firing. These are not precision




                                      Page 65 of 168
Case 3:23-cv-00141-SPM           Document 54 Filed 11/08/24             Page 66 of 168        Page ID
                                            #382



aimed fires, as it is very unlikely that an enemy is visible to the approaching US

forces . . . .” (footnote omitted))).

       This Court notes that this use occurs in military or tactical situations only.

Continuing this line of reasoning, these weapons are imprecise as an inherent part of

their normal operation, even when they are used by trained and skilled military

personnel. Thus, it stands to reason that an untrained civilian shooter would have

even less control over a machinegun (or, for that matter, flamethrower or grenade).

Such weapons would maim or kill an attacker, but the operator would not be able to

control the weapon’s discharge in any reasonable manner. This quality—the inability

of the shooter to control the weapon—is a workable and reasonable definition of

“dangerous” in line with the Supreme Court’s intentions. Put another way, the

“dangerousness” of a weapon is linked to the operator’s control of fire, not to the rate

of fire. Thus, machineguns would not necessarily be banned because of the rapidity

with which they deliver rounds downrange, but because the average civilian operator

(and, as it turns out, the military operator, as well23) cannot control the weapon when

fully automatic in a way that would ensure that shots are reasonably aimed. Such

weapons would not be used for self-defense in a confrontation with a discrete,




23 In his report, the Government’s expert Craig Tucker states that using an M16 or M4 in fully creates

logistical and technical problems because a military rifleman does not carry enough ammunition to
enable practical automatic fire and because “[t]he rifle overheats, requiring constant cooling” and
because “[t]he heat can misshape the barrel, and the rate of misfires and magazine feed problems
increases considerably.” (Doc. 222, Ex. 2 (Tucker Decl.), ¶ 13; see also Doc. 229, Ex. 6 (Eby &
Musselman Rep.), p. 5 (“The riflemen need an extremely high volume of sufficiently accurate shots
that will allow time for the 3-man machine-gun teams to be moved forward to the point of contact,
mount their weapons onto tripods to support the engagement, locate the target areas, select an
engagement criterion, initiate firing shots and to refine their impact areas (of bullets) sufficient to
continue suppressing the enemy.” (footnote omitted))).


                                            Page 66 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 67 of 168     Page ID
                                       #383



identifiable opponent (or opponents); rather, they are used in military settings

against concealed targets. (See Doc. 229, Ex. 6 (Eby & Musselman Rep.), p. 5). Using

a machinegun in a self-defense situation would result in rounds being fired toward

random or unintentional targets.

       The same definition applies to sawed-off shotguns for similar reasons.

Decreasing the length of the shotgun’s barrel decreases not only the effective range

of the weapon, but its precision as well; put another way, the projectiles will spray in

a wider pattern because the diminished length of the barrel imparts less control on

the trajectory of the projectiles. A sawed-off shotgun suffers from the same fatal defect

as does a machinegun—the operator lacks control over the weapon and its projectiles.

Scattershot aptly describes the discharge from a sawed-off shotgun unless at point-

blank range.

       Therefore, this Court defines dangerous as: bearable arms that a typical

operator cannot reasonably control to neutralize discrete, identified

aggressors. Once more, it is the lack of the ability to discriminately control

the arm and its discharged projectiles that makes it dangerous, not its rate

of fire.

       3. “Unusual”

       Regarding the definition of “unusual,” Merriam-Webster defines this term as

“uncommon, rare.” Unusual, MERRIAM-WEBSTER, https://www.merriam-webster.com/

dictionary/unusual [https://perma.cc/P6M5-Q3HE] (last visited Oct. 30, 2024).

Defining “unusual” in the context of the Second Amendment is not as easy as it is to




                                      Page 67 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 68 of 168     Page ID
                                       #384



determine which arms are usually used in self-defense. Historically, “usual” weapons

for confrontation included bladed weapons like knives, spears, and swords; blunt

weapons like clubs; and ranged weapons like bows, bullet-firing weapons like pistols

and rifles, and projectile-firing weapons like crossbows, some rifles, and shotguns.

Today, due to advances in technology, our self-defense weapons include electrically

charged tasers and canisters spraying mace and pepper liquid.

      There are two qualities or characteristics that make an arm unusual. The first

quality is the atypical way in which the arm neutralizes an opponent. The second is

an arm that harms an opponent in a way that is repulsive. This is odd to contemplate

when the focus is the purposeful use of lethal weapons. Nonetheless, included within

this category would be arms that use chemicals like acids to inflict horrible pain and

leave permanent scars, arms that eject blister agents, and arms that use lasers to

blind an adversary. (See Doc. 240 (9/18/2024 Trial Tr. (Watt)), 495:16–497:18).

Additionally, poisons, including radioactive compounds, are unusual. See Bianchi at

451–52. The use of a biological agent, in addition to being dangerous, is also atypical

when compared to the types of arms used for self-defense.

      Unusual as related to the Second Amendment also has an element of “cruel

and unusual” in accordance with the Eighth Amendment. We have banned weapons

for use in war because, even in a war setting, they are so cruel, brutal, indiscriminate,

and inhumane as to prohibit their use. The 1980 Convention on Certain Conventional




                                      Page 68 of 168
Case 3:23-cv-00141-SPM         Document 54 Filed 11/08/24           Page 69 of 168      Page ID
                                          #385



Weapons banned poison gases, non-detectable fragments,24 land mines, incendiary

weapons, poisoned bullets, cluster bombs, and biological weapons. See U.N.

Convention on Prohibitions or Restrictions on the Use of Certain Conventional

Weapons Which May Be Deemed to Be Excessively Injurious or to Have

Indiscriminate Effects (with Protocols I, II and III), Dec. 10, 1980, 1342 U.N.T.S. 137,

as amended Dec. 21, 2001 [hereinafter U.N. Conventional Weapons Convention].

       In the context of the Second Amendment, when it comes to firearms, technical

advances and improvements are expected and are not unusual. As an example, prior

to 1950, almost all rifle stocks were wooden. With advances in composite materials,

now many are made of synthetic materials.

       When applied to handheld or shoulder-mounted firearms, “unusual” means

those weapons that launch or emit lethal or seriously harmful explosives; chemical

or biological agents; poisons; blister agents; aural weapons; or directed-energy

weapons like lasers. Handheld or shoulder-mounted weapons that deploy high

thermal energy would also fall under the category of “unusual” for Second

Amendment purposes.

       In looking at the items banned by PICA, the only items that fall under the

“unusual” category would be grenade launchers and belt-fed munitions. Grenades are

included in this category because no one uses them for self-defense; belt-fed




24 Non-detectable fragments are fragments that cannot be detected in the human body via an X-ray.

See U.N. Conventional Weapons Convention, Protocol I. Thus, treating the wound would be very
difficult and cause unnecessary suffering.


                                         Page 69 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24       Page 70 of 168    Page ID
                                       #386



munitions are included because civilians simply do not purchase firearms in which

cartridges are fed through a belt rather than housed in a cylinder or magazine.

      Therefore, considering the above, unusual is defined as: an arm deploying

an atypical method to neutralize an opponent in confrontation or that

deploys a neutralizing agent that is caustic, incendiary, noxious, poisonous,

or radioactive. Unusual would also include those weapons that are not

designed for successful self-defense in neutralizing an opponent, but rather

are primarily deployed to inflict cruel, brutal, or inhumane suffering on a

person.

      4. “Common Use”

      Having developed working definitions for “bearable,” “dangerous,” and

“unusual,” we now arrive at the concept of “common use.” Recall that the Supreme

Court stated that it was “fairly supported by the historical tradition of prohibiting

the carrying of dangerous and unusual weapons that the Second Amendment protects

the possession and use of weapons that are in common use at the time.” Bruen at 21

(quoting Heller at 627) (citations omitted) (cleaned up).

      In Bevis, The Seventh Circuit stated that the fact that AR-15s have been sold

to the public since the expiration of the Federal Assault Weapons Ban is not

dispositive on whether or not they are in “common use” or are “dangerous and

unusual.” See Bevis at 1198–99 (citing Friedman). The Seventh Circuit wrote that:

      We recognized in Friedman that “common use” is a slippery concept.
      Suppose, for example, a new type of handgun is introduced to the market
      on January 1, 2024. As of that day, zero guns of that type have been sold.
      Yet if its characteristics are analogous to those of the many other types



                                     Page 70 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 71 of 168    Page ID
                                      #387



      of handguns available for consumers, no one would say that this new
      handgun was not within the class of Arms protected by the Second
      Amendment. At the other end of the spectrum, consider the actual case
      of machineguns, which for a time were available for civilian purchase,
      but which were eventually withdrawn from that market. However
      popular machineguns might have been, either in organized crime circles
      or more generally, because their characteristics were military in nature,
      the decision to reserve them to military use was within the power of the
      legislature.
      ....

      One brief asserts that at least 20 million AR-15s and similar rifles are
      owned by some 16 million citizens (though they do not specify how many
      of these owners would fall within the large carveout created by the
      grandfather and the trained professional exceptions to the Act). The
      plaintiffs also assert that at least 150 million magazines with a capacity
      greater than 10 rounds have been bought for private use. (The state
      criticizes these numbers for being based, it says, on “an unpublished,
      non-peer-reviewed paper recounting an online survey that does not
      disclose its funding or measurement tools.” We have no need for present
      purposes to resolve that dispute.) Cook County offers a different
      perspective, noting that of all the firearms in the country, only 5.3% are
      assault weapons, and that percentage includes those held by law-
      enforcement agencies. One is reminded of Mark Twain’s apocryphal
      remark, “There are three kinds of lies: Lies, Damned Lies, and
      Statistics.”

      For the reasons set forth in more detail in Friedman, we decline to base
      our assessment of the constitutionality of these laws on numbers alone.
      Such an analysis would have anomalous consequences. The problem
      with this approach can be seen in the case of the AR-15. When, in 1994,
      the Federal Assault Weapons Ban made civilian possession of AR-15s
      (among other assault weapons) unlawful, see Pub. L. No. 103-322, §
      110102, 108 Stat. 1796, 1996, few civilians owned AR-15s. But in 2004,
      after the legislation was allowed to expire pursuant to its sunset
      provision, id. § 110105(2), 108 Stat. at 2000, these weapons began to
      occupy a more significant share of the market. Indeed, most of the AR-
      15s now in use were manufactured in the past two decades. Thus, if we
      looked to numbers alone, the federal ban would have been constitutional
      before 2004, but unconstitutional thereafter. This conclusion is essential
      to the plaintiffs’ position, yet it lacks both textual and historical
      provenance.




                                    Page 71 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 72 of 168    Page ID
                                      #388



      As this example illustrates, the idea of “common use” cannot be severed
      from the historical scope of the common-law right that the Second
      Amendment was designed to protect against encroachment. In other
      words, the relevant question is what are the modern analogues to the
      weapons people used for individual self-defense in 1791, and perhaps as
      late as 1868. This would exclude the weapons used exclusively by the
      military—and every Framer of the Second Amendment was well aware
      by 1791 that the King of England had an impressive standing army, and
      that such weapons existed. The weapons used for self-defense are the
      ones that Heller, McDonald, Caetano, and Bruen had in mind—not a
      militaristic weapon such as the AR-15, which is capable of inflicting the
      grisly damage described in some of the briefs.

Bevis at 1198–99.

      Dissenting in Bevis, Judge Brennan wrote that “[e]ven if AR platform rifles

were unusual, they are not more dangerous than handguns. (Recall the test is

‘dangerous and unusual.’” Bevis at 1215 (Brennan, J., dissenting) (citing Heller at

627; Bruen at 2143.)). Moreover, he writes:

      The semiautomatic mechanism in an AR-15 rifle is, in all material
      respects, the same as in a semiautomatic handgun. That mechanism is
      gas powered, and the impact of the pin firing the bullet pushes back the
      lock mechanism, ejects the old shell, and loads the new round from the
      magazine. If Bruen and Heller provide that semiautomatic handguns do
      not fail under the “dangerous” prong, the mechanism in the AR-15 must
      survive scrutiny. Indeed, a handgun could be viewed as more dangerous
      than an AR-15 rifle because the handgun is less accurate and more
      concealable.

Id. Judge Brennan also notes that “[a]lbeit pre-Bruen, two federal appellate courts

also concluded that AR platform rifles are common.” Id. (citing N.Y. State Rifle &

Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242, 255 (2d Cir. 2015) (“Even accepting the most

conservative estimates cited by the parties and by amici, the assault weapons and

large-capacity magazines at issue are ‘in common use’ as that term was used in

Heller.”); Heller v. District of Columbia, 670 F.3d 1244, 1261 (D.C. Cir. 2011) (“We



                                     Page 72 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 73 of 168     Page ID
                                       #389



think it clear enough in the record that semi-automatic rifles and magazines holding

more than ten rounds are indeed in ‘common use,’ . . . .”)). Therefore, he argues that

“[t]he firearms banned by the Act and ordinances here have achieved common use in

the United States. They are not unusual.” Id. However, this was not the majority’s

holding in Bevis.

      The Court of Appeals for the District of Columbia Circuit very recently

assessed whether large-capacity magazines were in common use in the appeal of a

preliminary injunction. See Hanson v. District of Columbia, No. 23-7061 (D.C. Cir.

Oct. 29, 2024). The D.C. Circuit easily found that large-capacity magazines were

“Arms” protected by the Second Amendment because “[a] magazine is necessary to

make meaningful an individual’s right to carry a handgun for self-defense. To hold

otherwise would allow the government to sidestep the Second Amendment with a

regulation prohibiting possession at the component level, ‘such as a firing pin.’” Id. at

*9 (quoting Kolbe v. Hogan, 813 F.3d 160, 175 (4th Cir. 2016), rev’d en banc, 849 F.3d

114 (2017)). Regarding common use, the D.C. Circuit wrote that “[t]he Supreme Court

in Heller did not hold, however, that Second Amendment protection does not extend

to weapons that are ‘most useful’ in the military context. Rather, the Court

acknowledged that the Second Amendment protects those weapons that are ‘in

common use at the time,’ but not ‘dangerous and unusual weapons.’” Id. at *11. This

means, therefore, that “some ‘weapons that are most useful in military service” do

not receive Second Amendment protection.” Id. (citing Heller at 627). Moreover, “the

answer is not to be found solely by looking to the number of a certain weapon in




                                      Page 73 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 74 of 168    Page ID
                                      #390



private hands.” Id. at *10 (citing Bianchi, 111 F.4th at 460). The D.C. Circuit found

that the plaintiffs had shown that the large-capacity magazines at issue were in

common use for self-defense purposes. See id. at 11–12.

      In her dissent in Garland v. Cargill, 602 U.S. 406 (2024), Justice Sotomayor

wrote that the weapon used in the deadly 2017 Las Vegas shooting used “commonly

available, semiautomatic rifles” to which bump stocks were attached. Id. at 430

(Sotomayor, J., dissenting). While in dissent, this language certainly rings close to a

statement that such rifles are “in common use.”

      One additional takeaway from the Bevis majority opinion is that “in common

use” is not a mathematical equation. This is particularly true in light of Bevis’s

reference to the “AR-15 . . . and its many cousins covered by the Act.” 85 F.4th at

1196. Therefore, the number sold of each particular make and model is, essentially,

irrelevant. However, if raw sales data is not determinative, then what is?

      This Court interprets Bevis to require focus on form and function. By that

analysis, this Court holds that any bearable rifle or pistol that is capable of

semiautomatic fire and is or has been available for purchase by law-abiding citizens

is presumptively in common use provided that it is not otherwise “dangerous and

unusual.” Thus, this Court will dispense with any laborious recitation of the sales

data for the many different firearms banned by PICA. What is also noteworthy is the

very real problem that sales data may not be readily available. (See Doc. 247, ¶ 145

(“How many of these weapons are personally owned by Americans is unknown,

because available data sources are problematic . . . . Annual data collected by ATF




                                     Page 74 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 75 of 168    Page ID
                                      #391



from firearms manufacturers, known as the Annual Firearms Manufacturing and

Exporting Report (“AFMER”), is limited to production numbers, not ownership

numbers. ATF’s AFMER data also does not distinguish between ‘modern sporting

rifles’ and other rifles, and it includes rifles that are ultimately acquired by law

enforcement.” (first citing Doc. 185, Ex. 7 (Klarevas Rep.), p. 4; then citing Doc. 236

(9/17/2024 Trial Tr. (Ronkainen)), 332:11–333:07; then citing Doc. 236 (9/17/2024

Trial Tr. (Ronkainen)), 331:11–332:10)).

      Therefore, in relation to the weapons banned by PICA, this Court defines

common use as presumptively encompassing: any bearable rifle, shotgun, or

pistol that is capable of semiautomatic fire and is or has been available for

purchase, possession, and usage by law-abiding citizens for self-defense,

provided that it is not otherwise “dangerous and unusual.” Moreover, for

the sake of clarity, the Court will also include essential features (like

magazines) and nonessential features that increase operability, accuracy,

or safety (like the various attachments prohibited by PICA) as items that

are presumptively in common use.

E. Firearm Usage in Military and Civilian Contexts

      1. Military Confrontation

      While ambushes can and do occur in military conflict, military members are

rarely thrust into battle without the benefit of pertinent weapons, equipment, and

supplies; a coordinated and planned response; and significant training.




                                     Page 75 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 76 of 168    Page ID
                                       #392



        To begin, soldiers, marines, airmen, and sailors are deployed with various

other pieces of equipment: a Kevlar helmet, body armor, utility uniforms, load-

bearing vests, knives, flashlights, a sidearm, and spare ammunition, to list a few.

(See Doc. 240 (9/18/2024 Trial Tr. (Watt)), 489:22–492:5). An Infantry rifleman carries

210 rounds of spare ammunition spread across seven magazines. (See Doc. 222, Ex. 2

(Tucker Decl.), ¶ 13; Doc. 240 (9/18/2024 Trial Tr. (Watt)), 491:11–18).

        Additionally, military members deployed in combat conditions must be in a

“combat ready” status including physical and mental fitness. (See Doc. 240 (9/18/2024

Trial Tr. (Watt)), 492:9–494:7; 502:4–24). For an individual service member, this

requires satisfactory passage of various physical fitness tests, medical screening, and

psychological screening to ensure the individual is ready for the rigors of combat. (See

id.).

        Our troops also proceed into harm’s way as a trained unit, supported by air

cover, reinforcements, medical support, naval support, and reconnaissance and

intelligence from human and/or satellite sources, to list a few. They are also

supported by medical support, including field medics who are embedded within

deployable units. The smallest infantry unit is the “fire team,” a group of four

infantrymen including a team leader, a rifleman, and automatic rifleman, and a

grenadier. See INFANTRY RIFLE PLATOON AND SQUAD, DEPT. OF THE ARMY, ATP 3-21.8,

at 1-4 (Jan. 2024); https://armypubs.army.mil/epubs/DR_pubs/DR_a/ARN40007-

ATP_3-21.8-000-WEB-1.pdf       [https://perma.cc/5HM3-3ZHU].        Additionally,   the

various military branches have produced highly detailed procedures that detail




                                     Page 76 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 77 of 168     Page ID
                                       #393



exactly how infantrymen will respond to various tactical situations. See generally id.;

WEAPON SYSTEMS HANDBOOK 2020–2021, U.S. ARMY. Such procedures are executed

by a highly choreographed chain of command.

      In such a situation, the M16 and M4 are designed to fulfill a specific niche;

their semiautomatic fire feature permits precise target shooting while their ability to

fire in a fully automatic capacity is designed to provide suppression fire in a situation

where members of a squad are moving to or from an objective. Fully automatic fire is

incredibly inaccurate and impractical, even in a military situation. (See Doc. 222, Ex.

2 (Tucker Decl.), ¶¶ 11–12 (“This experience highlights one of the critical challenges

associated with riflemen employing automatic fire: it is logistically unsustainable,

even when employed judiciously. The M16/M4 is not, primarily, a suppression

weapon. For that reason, every unit, including the 4-person rifle team, carries a

machine gun specifically designed to provide suppression to allow riflemen to

maneuver and close with semi-automatic fire on the enemy.”); see also Doc. 253, ¶ 240

(“Semiautomatic fire is more accurate and efficient.” (citing Doc. 236 (9/17/2024 Trial

Tr. (Dempsey)), 606:12-607:1; Doc. 222, Ex. 2 (Tucker Rebuttal Rep.), ¶ 10; Pltfs’ Tr.

Ex. 140 (Dempsey Dep.), 43:4-7; Doc. 241 (9/19/2024 Trial Tr., State’s Closing),

666:17-667:5)).

      2. Civilian Self-Defense

      The purpose of the Second Amendment is not crime reduction. Its focus is self-

defense and the ability of each citizen to be able to either repel an attack by one or




                                      Page 77 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 78 of 168     Page ID
                                       #394



more adversaries or to offensively engage an adversary or adversaries to protect

oneself and/or others.

      The average civilian may be called upon to defend his or her person, family, or

property from an armed home invasion. This person is often ambushed and is stuck

with the weapons he or she has readily available. (See Doc. 240 (9/18/2024 Trial Tr.

(Watt)), 497:19–498:13). The civilian may also be called upon to defend others who

are not armed and almost certainly will not have time to plan or regroup with other

allied defenders. Additionally, combat in the home or property may draw the civilian

away from ammunition supplies. (See id.). Moreover, firearms and munitions kept in

the home are often stored under lock and key so that they are inaccessible to children

or those who might self-harm. In an emergent situation, the accuracy, safety, ease-

of-use, and magazine capacity of an individual defense weapon may literally be the

difference between life or death of the civilian and his or her family members.

      Thus, while both members of the military and civilians may be called upon to

engage in confrontation, the civilian is often an army of one and has no backup, no

support, and no reinforcements in the moment when home confrontation occurs. They

will often not have the same physical fitness abilities as trained professional soldiers.

Moreover, they may not have the benefit of military training and conditioning on

which they can rely in a life-or-death scenario.

      The life and death stakes mandate that their firearms have both lethal

capabilities and give, at a minimum, our citizens a fighting chance. Therefore, sorting

between military use and private use is an exercise in understanding civilian self-




                                      Page 78 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 79 of 168    Page ID
                                      #395



defense. One cannot properly address the scope of the Second Amendment without

understanding the complex dynamics of self-defense in which lethal force may be

required to repel a rapist, a murderer, a kidnapper, or a stalker.

      If one simply considers a self-defense scenario in which one physically fit

person confronts one other person in his or her own home while armed with a pistol

or pump-action shotgun, then the matter is fairly straightforward. However, if we

consider only that scenario, then our search is superficial and woefully inadequate.

Considering only that scenario does a great disservice to citizens who face

confrontation. Unlike in the military, civilian defenders may be infirm, disabled, or

small-statured such that they would not qualify as being “combat ready.”

      Considering only self-defense scenarios in the home also completely ignores

the fact that the right to keep and bear arms applies to any and all lawful purposes,

not just self-defense in the home. See Bruen at 32 (“Although individuals often ‘keep’

firearms in their home, at the ready for self-defense, most do not ‘bear’ (i.e., carry)

them in the home beyond moments of actual confrontation. To confine the right to

‘bear’ arms to the home would nullify half of the Second Amendment’s operative

protections. Moreover, confining the right to ‘bear’ arms to the home would make little

sense given that self-defense is ‘the central component of the [Second Amendment]

right itself.’ After all, the Second Amendment guarantees an ‘individual right to

possess and carry weapons in case of confrontation,’ and confrontation can surely take

place outside the home.” (first quoting Heller at 599; then quoting Heller at 592)

(citing McDonald, 561 U.S. at 767)).




                                       Page 79 of 168
Case 3:23-cv-00141-SPM          Document 54 Filed 11/08/24              Page 80 of 168       Page ID
                                           #396



       Consider scenarios in which the choice of a specific weapon would confer a

tactical advantage and could mean the difference between survival, death, or serious

injury. Consider a scenario involving a stalker and a victim in which a highly

prepared and meticulous stalker aims to assault an individual while at her home, or

while in transit to her workplace, or at her family’s home. Another scenario we judges

see in our courts is an individual who is going to testify about gang activity in his or

her neighborhood and is in danger of serious harm from the gang members; another

version of this scenario is a cooperating witness to a serious or violent crime whose

testimony may be the difference between the government proving its case or not.

Consider an additional scenario where a citizen is called upon to defend himself or

herself at home during a surprise assault by multiple armed aggressors. Or consider

an event where an individual has been abandoned by law enforcement for a variety

of reasons (e.g., law enforcement officers are engaged elsewhere or there is an

impasse on a road preventing them from rendering assistance).

       There is another story regarding confrontation and armed self-defense worth

serious contemplation. At the conclusion of the bench trial on September 19, 2024,

this Court invited the parties to tour the twenty-four sacred sites of the East St. Louis

Race Riot of 1917.25 (See Doc. 241 (9/19/2024 Trial Tr.)); Doc. 245). Some of those sites

are adjacent to the federal courthouse, either across the street or within a few blocks.



25 See EAST ST. LOUIS 1917 CENTENNIAL COMMISSION CULTURAL INITIATIVE, https://estl1917ccci.us/

[https://perma.cc/843R-B5KY] (last visited Nov. 8, 2024). All excerpts are taken from Sacred Sites, a
self-guided tour of the East St. Louis Race Riot. See also Mary Delach Leonard, 100 years later: Group
Is Placing Historical Markers at Sites of 1917 East St. Louis Race Riot, ST. LOUIS PUBLIC RADIO (June
5,    2017),    https://www.stlpr.org/government-politics-issues/2017-06-05/100-years-later-group-is-
placing-historical-markers-at-sites-of-1917-east-st-louis-race-riot [https://perma.cc/Y6DP-37DX]).


                                           Page 80 of 168
Case 3:23-cv-00141-SPM        Document 54 Filed 11/08/24          Page 81 of 168      Page ID
                                         #397



       Heading into the July 4, 1917 celebration of Independence Day, racist impulses

ignited a several-day pogrom to kill Blacks. Over one hundred Black men, women,

and children were killed, lynched, burned alive, and drowned. Thousands were

dispossessed of their homes.26 The National Guard was present but did not actively

suppress the pogrom until the third day.

       Within sight of the federal courthouse are a few sacred sits that give important

insight to the horrors of that event. One block down from the courthouse was the

house of Otto Nelson. He was the highest-ranking Black man in the East St. Louis

Police Department. He and his wife, while hiding in some brush, watched as a mob

burned their house down. See Sacred Site #8, EAST ST. LOUIS 1917 CENTENNIAL

COMMISSION CULTURAL INITIATIVE, https://estl1917ccci.us/ [https://perma.cc/843R-

B5KY] (last visited Nov. 8, 2024). Fortunately, they were able to escape to St. Louis.

One block west was the Broadway Opera House. See id. After word got out to the

rioting mob that Black families were hiding in the basement, it was set on fire and

burned to the ground. There were no known survivors.

       Three blocks east of the courthouse is 4th and Broadway. See Sacred Site #15,

Sacred Site #16. Here, a mob stopped a streetcar and attacked the Black passengers

while soldiers stood and watched. See Sacred Site #15. Six corpses lay in the street

and a Black man was lynched at this same spot. When an ambulance arrived to help

the injured Blacks, the mob threatened to kill the ambulance driver. See Sacred Site

#14.


26 See Introduction to Sacred Sites, EAST ST. LOUIS 1917 CENTENNIAL COMMISSION CULTURAL
INITIATIVE, https://estl1917ccci.us/ [https://perma.cc/843R-B5KY] (last visited Nov. 8, 2024).


                                        Page 81 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24         Page 82 of 168     Page ID
                                        #398



      The tragic story of Scott and Iva Clark, memorialized at Sacred Site #13, gives

one a sense of the brutality. Rioters set fire to their house while they hid in the cellar.

See Sacred Site #13. As the walls started to collapse, they fled to the next house only

to see it set on fire. Id. They fled again, this time making it to a National Guardsman

whom they assumed would protect them from the mob. Id. He did not. Id. Mr. Clark

was struck in the head with an iron bar and a noose was then looped around his neck.

Id. He pleaded for mercy. Id. Finding the rope not long enough to lynch him, they

dragged him through the streets. Id. He died from strangulation. Id.

      A few blocks from the federal courthouse was a house burned down by the mob.

See Sacred Site #15. The badly burned body of a small child was found having died

hiding under his bed from the mob. See Sacred Site #14. A few houses down lived

Narsis Gurlie., who told W.E.B. DuBois:

      Between five and six o'clock we noticed a house nearby burning and
      heard the men outside. We were afraid to come outside and remained in
      the house, which caught fire from the other house. When the house
      began falling in we ran out, terribly burned, and one white man said,
      “Let those old women alone.” We were allowed to escape. Lost
      everything, clothing and household goods.

W.E.B. DuBois, THE CRISIS MAG., Sept. 1917, at 235–36.

      Worth noting is Sacred Site #5, where white rioters killing and burning houses

approached 10th and Trendley Avenue. There, several armed Blacks took up sniper

positions. After a few shots were fired, the white mob retreated. See Sacred Site #5.

      Sacred Site #11 is a place where “over 100 African American barricaded

themselves in two homes.” Sacred Site #11. “They were armed and resisted the white

rioters—so much that the rioters complained to the Illinois National Guard standing



                                      Page 82 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24           Page 83 of 168   Page ID
                                       #399



nearby.” Id. “An officer lectured the rioters, ‘they are playing the game the way you

are.’ He arranged a cease-fire and the African Americans were escorted to St. Louis.”

Id.

      Pleading for mercy because one is innocent, unarmed, and under-armed is,

sadly, too often a losing strategy in confrontation, especially when the confrontation

is catalyzed by evil, hatred, or psychosis. Disarming law-abiding citizens does not also

bring about happy endings. Disarming law-abiding citizens does not inoculate us from

the evil, hatred, and psychosis or from the tyranny of others.

      3. Choice of Arms

      Seneca wrote that “[n]othing happens to the wise man contrary to his

expectation, because the wise man has considered every possibility—even the cruel

and heartbreaking ones.” Self-defense involves strategic decisions to maximize

tactical superiority over an adversary. The first strategic decision is fight, flight, or

surrender. If one can quickly access a bulletproof safe room, that would establish the

tactical advantage of invulnerability. The strategic decisions become more complex

the more an adversary has gained a tactical advantage by surprise, size, number,

skill sets, close proximity, reducing the defender’s response times, and, of course, the

availability of specific weapons.

      What strategic decisions does one make to gain a tactical advantage, or, at

least, a fighting response? The self-defender queries “what are my options?” A frying

pan, a Louisville slugger, a stick, pepper spray? The self-defender may choose flight

as his or her only possible option to avoid the confrontation.




                                      Page 83 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 84 of 168    Page ID
                                       #400



      The Second Amendment guarantees that one may keep and bear arms for self-

defense. Thus, a civilian defender has the advantage of forethought and the ability to

plan and prepare for various “what if” scenarios. We have the right to select arms

that may give us tactical advantages against an adversary. Those may include the

ability to apply lethal force before an attacker gets within arms’ reach or the ability

defend against confrontation against multiple attackers. It may include preparing to

defend children, the elderly, or the disabled during a confrontation. One should also

consider known disadvantages for confrontation, such as lack of mobility, when

selecting arms, magazines, attachments, and configurations,

      One size, one configuration, one type of ammunition does not fit all. There is a

difference between Andre the Giant and Dorothy the gymnast. One may be able to

easily handle a weapon with a powerful recoil while the other simply could not. One

may conclude that proximity to an adversary is a tactical advantage while the other

may understand it likely to result in defeat leading to death, serious injury, rape, or

becoming a hostage.

      Consider the most famous story of confrontation, the story of David and

Goliath. 1 Samuel 17. Goliath was the champion warrior of the Philistines. He

purportedly was nine-and-a-half feet tall, wore 125 pounds of body armor, and was

armed with a sword. Goliath challenges the Israelites to single combat to determine

the outcome of the war between them. David, a young shepherd standing five to five-

and-a-half feet tall, faced off against Goliath. David used a sling to launch a stone at

Goliath, striking him in the head and causing Goliath to fall and be slain by David.




                                     Page 84 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 85 of 168     Page ID
                                       #401



      Obviously, the short David had no chance to succeed in hand-to-hand combat

with the nine-and-a-half-foot-tall giant. David selected an arm that allowed him to

fire a projectile from a safe distance to impose lethal force on his opponent before the

giant closed within an adequate distance to slay David with his sword. Not only did

David have to deploy a lethal weapon—he had to quickly and successfully neutralize

Goliath. David’s strategy to use a lethal weapon from a safe distance led to success in

confrontation. If either the projectile proved nonlethal or David waited too long and

allowed Goliath to come within striking distance, David would have been killed. If

David did not aim his first shot on target, David would have been slaughtered.

      If one is uncomfortable with a biblical reference and would prefer a less

ecclesiastical example to illustrate the point, consider a famous scene in RAIDERS OF

THE LOST ARK (Paramount Pictures 1981). Our hero Indiana Jones first bests multiple


individual adversaries with his hands and fists, mano e mano. As he keeps a few more

at bay with his trusty whip, a gathered crowd suddenly parts. Indiana Jones finds

himself in confrontation with a grinning giant skillfully swinging around a large,

ominous sword. As the crowd awaits the brutal demise of Indiana Jones, he draws a

pistol from his holster and fires a lethal shot into the heart of the giant who was still

too far enough away to apply his sword to Jones’s body.

      Considering the above discussion, it is clear that an individual’s choice of arms

is a critical facet of the concept of self-defense. When facing the possibility of armed

confrontation either within one’s home or outside of it, specific weapons may confer

advantages that would enable a law-abiding citizen to successfully defend oneself and




                                      Page 85 of 168
Case 3:23-cv-00141-SPM           Document 54 Filed 11/08/24              Page 86 of 168        Page ID
                                            #402



one’s family from armed confrontation. To limit civilians’ choice of arms would tip the

scale in favor of the aggressors, who already will likely have various tactical

advantages, including the element of surprise.

F. The Parties’ Arguments

        1. Plaintiffs

        a. Plaintiffs’ Proposed Findings of Fact and Conclusions of Law (Doc.
        253)27

        After discussing the standing of the individual named plaintiffs in this

litigation (which the Court will not belabor here 28), the Plaintiffs argue that the

weapons banned by PICA are those that ordinary citizens keep at home for lawful

purposes (including self-defense), that these same weapons are not used exclusively

or predominately by the military, and are not exclusively or predominately useful for

military service in accordance with Bevis’s tripartite precertification. See 85 F.4th at

1194.

        First, they argue that, based on their experts’ reports and on their testimony

at trial, the same features that make a weapon an “assault weapon” are also useful

for civilian self-defense, including the ability to fire semiautomatically, detachable

magazines, pistol grips, forward-protruding grips, thumbhole stocks, adjustable

stocks, flash suppressors, barrel shrouds, buffer tubes/braces, and threaded barrels.

(See Doc. 253, ¶¶ 35–78). They argue that “[s]emi-automatic pistols, shotguns, and .



27 While the Plaintiffs initially filed their Proposed Findings of Fact and Conclusions of Law at Doc.

252, the Court will use the amended version filed at Doc. 253.
28 The Court has already assessed standing in a previous Order, see FFL, 23-cv-00215-SPM (Doc. 75).

Additionally, the Defendants do not dispute standing here. The Court will discuss standing as it relates
to the Plaintiffs’ request for a permanent injunction infra.


                                            Page 86 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24          Page 87 of 168    Page ID
                                        #403



. . rifles are . . . appropriately and commonly used for typically small game hunting

for many of the same reasons they are well-suited for self and home defense—

accuracy, reliability and ease of handling.” (Doc. 253, ¶ 40 (quoting Doc. 232, Ex. 23

(Lombardo Rep.), p. 2) (citing Doc. 232, Ex. 17 (Eby & Musselman Rep.), p. 11; Doc.

232, Ex. 21 (Little Rep.), ¶¶ 17–22 (“[S]emiautomatic firearms that accept detachable

magazines are so well suited for defense of self or others as to render all other types

of firearms obsolete for that purpose.”); Doc. 232, Ex. 18 (Boone Decl.), ¶¶ 38–42

(explaining utility of AR-type rifles for self-defense, including with the home))); see

PICA §§ 5/24-1.9(a)(1)(A) (rifles), (a)(1)(B) (pistols), (a)(1)(F) (shotguns).

       Similarly, they argue that “[d]etachable magazines ‘facilitate efficient

loading/reloading,’ which is critical in a self-defense situation. (Doc. 253, ¶ 44 (quoting

Doc. 232, Ex. 24 (Watt Rep.), ¶ 6) (citing id. (“Every instructor and virtually every

attendee of the [defensive carbine] course uses detachable magazines that have a

capacity exceeding 10 rounds with their carbine.”); Doc. 232, Ex. 21 (Little Rep.), ¶

17 (detailing various “defensive” benefits of “a detachable magazine,” including

increased “ammunition capacity … when reacting to an attack, especially as fine

motor skills deteriorate significantly under stress”; “reliability” due to jam mitigation;

safe storage; and safe transportation))); see PICA §§ 5/24-1.9(a)(1)(A) (rifles), (a)(1)(C)

(pistols), (a)(1)(F)(vi) (shotguns). The Plaintiffs argue that the same is true for

“[p]istol grips[, which] have particular ergonomic, self-defense benefits on

semiautomatic shotguns (in addition to on pistols and rifles).” (Doc. 253, ¶ 51 (citing

Doc. 240 (9/18/2024 Trial Tr. (Watt)), 454:4–25 (noting that the pistol-grip benefits




                                       Page 87 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24         Page 88 of 168     Page ID
                                        #404



for a semiautomatic shotgun are “even greater” than those applicable to a

semiautomatic rifle “because the recoil from a shotgun is substantially greater than

the recoil from a carbine”); Doc. 232, Ex. 22 (Ronkainen Rep.), p. 3 (describing how

“new grip . . . designs” led to “performance and reliability advantages for all uses,”

“including hunting, sport shooting, and for self or home defense”); Doc. 232, Ex. 24

(Watt Rep.), ¶ 15; Doc. 232, Ex. 21 (Little Rep.), ¶ 19)); see PICA §§ 5/24-1.9(a)(1)(A)(i)

(rifles), (a)(1)(F)(i) (shotguns). Regarding forward grips, they argue that a “forward

grip ‘on a defensive carbine, shotgun, or pistol can aid self-defense in multiple ways,

some of which are: it offers the defender options for grasping the firearm with their

forward hand in various ways conducive to effective individual control of the firearm,

based on physiology, adverse weather, or other conditions, and, thereby, enhancing

safe handling and effective use of the firearm, particularly under the stress of a self-

defense situation.’” (Doc. 253, ¶ 53 (citing Doc. 232, Ex. 24 (Watt Rep.), ¶ 16)). They

make similar arguments for other features banned by PICA. (See id., ¶¶ 56–78).

      Regarding the weapons themselves, the Plaintiffs argue that “[s]emiautomatic

AR-platform rifles ‘traditionally have been widely accepted as lawful possessions’ all

across the country,” which they argue “remains true now.” (Doc. 253, ¶ 84 (citing

Staples v. United States, 511 U.S. 600, 612 (1994); Garland v. Cargill, 602 U.S. 406,

430 (2024) (Sotomayor, J., dissenting) (noting that “semiautomatic rifles” like the AR-

15 are “commonly available” to the civilian public))). They argue that “AR-15-type

rifles are used for lawful purposes such as self-defense, hunting, and target practice.”

(Id., ¶ 86 (quoting NICHOLAS J. JOHNSON ET AL., FIREARMS LAW AND THE SECOND




                                      Page 88 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 89 of 168    Page ID
                                       #405



AMENDMENT: REGULATION, RIGHTS, AND POLICY 1996 (3d ed. 2021) (2024 Supp.))

(citing David B. Kopel, The History of Firearms Magazines and Magazine

Prohibitions, 78 ALBANY L. REV. 849-50, 866, 859 n.88 (2015); (Doc. 232, Ex. 21 (Little

Rep.), ¶ 11; Doc. 232, Ex. 24 (Watt Rep.), ¶ 11; Doc. 232, Ex. 13 (Watt Dep.), 117:5-7

(“[I]n the self-defense realm, these are the favorite style of rifles and carbines that

people show up [with] for training.”); Doc. 240 (9/18/2024 Trial Tr. (Watt)), 411:5-

412:24; id., 468:6-24 (discussing how the semiautomatic rifles that HB5471 bans by

name “are suitable for self-defense”); Doc. 232, Ex. 18 (Boone Rep.), ¶¶ 38–42; Doc.

232, Ex. 22 (Ronkainen Rep.), p. 2 (describing the design of various AR-15 platform

rifles serving “the demand for use of” such weapons “for self and home defense

purposes”); Doc. 232, Ex. 22 (Ronkainen Rep.), p. 2 (“I was directly involved in

analyzing, designing and manufacturing rifles that were well suited” for the “widely

chosen” purpose of “self and home defense”); Pltfs’ Tr. Ex. 140 (Dempsey Dep.). 61:5-

64:7 (state’s expert describing that even he and his friends purchased and use

semiautomatic rifles with a detachable thirty-round magazine for recreational

purposes because “shooting is not an unfun experience”))). While they disagree with

the Government on the exact number of weapons in circulation, the Plaintiffs indicate

that “Defendants’ own experts endorse similar conclusions.” (Doc. 253, ¶ 98 (citing

Doc. 185 (Klarevas Rep.), p. 20 (estimating “the number of Americans who own AR-

15-platform firearms” at “14.1 million” to “18.2 million adults”))).

      The Plaintiffs argue somewhat paradoxically that, because the AR-15 is suited

for self-defense, that people would keep it at home for this purpose because “[w]hile




                                     Page 89 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 90 of 168     Page ID
                                       #406



handguns are easier to maneuver and store and shotguns have devastating firepower

at short distances, the AR-15 carbine offers several advantages as a primary home

defense weapon.” (Doc. 253, ¶ 107 (citing NICHOLAS J. JOHNSON ET AL., FIREARMS LAW

AND THE SECOND AMENDMENT: REGULATION, RIGHTS, AND POLICY 1997 (3d ed. 2021)


(2024 Supp.))). They argue the same for the pistols and shotguns banned by PICA.

(See id., ¶¶ 111–129). Regarding large-capacity magazines, the Plaintiffs argue that

modern firearms manufacturers often sell weapons with default large-capacity

magazines (see Doc. 253, ¶¶ 142–43) and that “[i]ndividual retailer data from within

the state of Illinois also proves that citizens do in fact buy and sell the detachable

magazines that PICA bans.” (Id., ¶ 144 (citing Doc. 234 (9/16/2024 Trial Tr. (Pulaski)),

55:9-14 (“Q. Okay. Do you have an idea of how many magazines Piasa – now restricted

magazines that Piasa sold prior to PICA taking effect? A. I would estimate several

hundred per year. Q. And you base that on the records -- what do you base that on?

A. Again, point of sale records and ordering records from our suppliers.”))).

      The Plaintiffs next argue that the weapons banned by PICA (e.g., AR- and AK-

type rifles, specific pistols, and shotguns) are not military weapons because they do

not have an automatic fire capability. They argue that “[t]he select-fire rifle is a

‘[t]otally different build’ from the kinds of semiautomatic only rifles that PICA bans.”

(Doc. 253, ¶ 158 (quoting Doc. 236 (9/17/2024 Trial Tr. (Ronkainen)), 231:16-25)).

They also argue that “[n]o military in the world is known to use a semiautomatic-only

rifle as its general service infantry weapon.” (Id., ¶ 163 (citing Doc. 234 (9/16/2024

Trial Tr. (Eby)), 115:9-11 (“I’ve served with quite a few different countries, and all of




                                      Page 90 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 91 of 168    Page ID
                                       #407



them will have select fire capabilities.”); Doc. 236 (9/17/2024 Trial Tr. (Ronkainen)),

240:5-7 (“Q. Did any foreign military ever come to you and Remington and say, we

just want a semiautomatic-only rifle? A. Nobody ever came to us and asked for a

semiautomatic rifle. Q. Did all the foreign militaries come to Remington and say, we

want a fully automatic M-4-like rifle? A. For the solicitations that I recall, it was

always – fully automatic was, you know, key part of the specification.”); Doc. 240

(9/18/2024 Trial Tr. (Watt)), 390:1-17 (Q. And were those [foreign military] rifles ever

semiautomatic only? A. I don’t recall any service weapons that were ever semi-auto

only. Q. So they were all select fire? A. Correct.”); Doc. 241 (9/19/2024 Trial Tr.

(Dempsey)), 623:21-23 (“Q. You’re not aware of any military anywhere in the world

that issues semiautomatic only rifles to its infantry? A. No, I’m not.”); Pltfs’ Tr. Ex.

139 (Tucker Dep.), 38:1-4 (“In my experience and observation of other foreign

militaries, I have not seen an infantry combat rifle, in other words a large-issue

combat rifle, that did not have both semiautomatic and automatic selectors.”); E.

Gregory Wallace, “Assault Weapons” Myths, 43 S. ILL. L.J. 193, 205 (2018) (“No

military in the world uses a service rifle that is semiautomatic only.”))). They argue

that rifles with automatic fire capability “serve important military needs in certain

combat settings that semiautomatic-only rifles cannot” (id., ¶ 175) including

providing suppressing fire (id., ¶ 178). They also argue that civilian-model AR-15s

are functionally distinguishable from military-grade M16s/M4s. (See id., ¶ 195 (citing

Doc. 236 (9/17/2024 Trial Tr. (Ronkainen)), 289:13-290:4 (“Q. Are AR-15

semiautomatic fundamentally different from military-grade rifles? A. Yes. Q. Are




                                     Page 91 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 92 of 168     Page ID
                                       #408



they manufactured differently? A. Yes. Q. Are they manufactured in different areas

of the company? A. Yes. Q. Are they tested differently? A. Yes. Q. Are the materials

different? A. Yes. Q. Do they perform differently? A. Yes. Q. Are AR-15s

semiautomatic [rifles] . . . identical copies of military firearms? A. No.”))). They also

argue that it is difficult to modify a civilian AR-15 to match the military version’s

automatic fire capability, which would already violate extant state and federal law.

(See id., ¶ 200 (quoting Doc. 236 (9/17/2024 Trial Tr. (Ronkainen)), 249:5–13, 250:8–

25, 249:23–250:7) (citing 7/20 ILCS 5/24-1(a)(7); 18 U.S.C. §922(o)(1); 26 U.S.C.

§5845(b))).

      The Plaintiffs also argue that the firing rate of a semiautomatic AR-15 is

nowhere near either the effective cyclic or effective firing rate of fully automatic M16s

or M4s. (See id., ¶¶ 203–208). They also argue that characteristics like range,

penetration, muzzle velocity, and energy are affected much more by the caliber of the

ammunition (which Illinois does not restrict apart from .50 caliber ammunition). (See

id., ¶¶ 209–20). They also argue that “[n]one of the pistols and shotguns that PICA

bans share what is the most ‘critical’ military feature: select-fire capability.” (Id., ¶

221 (citing Doc. 234 (9/16/2024 Trial Tr. (Eby)), 187:14–25; Doc. 232, Ex. 3 (Eby Dep.),

61:9–20)). They also argue that the specific features PICA delineates (semiautomatic

fire, pistol grips, and the like) have no bearing on the “militaristic” metrics discussed

in Bevis. (See id., ¶¶ 229–37). Even if the weapons banned by PICA are useful in

military service, the Plaintiffs argue that semiautomatic weapons have “dual uses”

as discussed in Bevis. (See id., ¶¶ 238–49).




                                      Page 92 of 168
Case 3:23-cv-00141-SPM       Document 54 Filed 11/08/24         Page 93 of 168      Page ID
                                        #409



       The Plaintiffs argue that the Supreme Court “has identified a historical

tradition permitting the government to prohibit the carrying of arms that are ‘highly

unusual in society at large,’ or ‘dangerous and unusual.’” (Doc. 253, p. 73 (quoting

Bruen at 47)). They emphasize that the “‘dangerous and unusual’ test is ‘conjunctive’:

‘A weapon may not be banned unless it is both dangerous and unusual.’” (Id. (quoting

Caetano, 577 U.S. at 417 (Alito, J., concurring in judgment) (citing Heller, 554 U.S.

at 627; Bruen at 47)). They argue that “nothing about any of the firearms or feeding

devices that PICA bans makes them unusually or distinctly ‘dangerous’ in some way

that meaningfully differentiates them from common firearms that all agree fall on

the civilian or ‘dual use’ side of the Seventh Circuit’s line.” (Id., pp. 74–75).



b. Langley Plaintiffs’ Closing Arguments for Trial (Doc. 254)

       While joining the Plaintiffs’ primary brief supra, the Langley Plaintiffs also

filed a separate document titled “Closing Arguments for Trial” (Doc. 254), calling it

“a short concurring opinion in an appellate decision, but joining with the majority.”

(Id., p. 2). In this filing, they discuss the East St. Louis race riot mentioned by the

Court on September 19, 2024, the fourth day of the Bench Trial (see Doc. 241

(9/19/2024 Trial Tr.); Doc. 245). They also argue that “[a]s the evidence shows, while

a given make or model of a given banned firearm may well be somewhat rare, overall,

the record makes clear that the banned firearms in this case are in common use, as

cited in the general Plaintiff brief, common to the point of ubiquity.” (Doc. 254, p. 6).

They also argue that “this Court need not consider whether or not grenades may be




                                       Page 93 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24         Page 94 of 168     Page ID
                                       #410



banned, as such a decision would be expressly advisory, as . . . PICA does not ban

grenades, or for that matter flares, and no Plaintiff is arguing any other ban which

may or may not exist in this case.” (Id., pp. 7–8).

      2. Defendants

      a. Illinois State Government Defendants

      The Government responded in kind, filing 159 pages of Proposed Findings of

Fact (Doc. 247); a 119-page Addendum of firearm statutes (id., Ex. 1); almost 3600

pages of other exhibits (id., Exs. 2–63); and 67 pages of Proposed Conclusions of Law

(Doc. 248) for this Court to analyze. The Government analyzes the history and

development of “assault weapons,” tracing their development from the designs of

Eugene Stoner in the 1950s (see Doc. 247, ¶ 33 (citing Doc. 185, Ex. 1 (Yurgealitis

Rep.), ¶¶ 5, 14–25, 100; Doc. 236 (9/17/2024 Trial Tr. (Ronkainen)), 286:10–16, 337:7–

16)) to combat field tests of the AR-15 prototype in the 1960s (see id., ¶ 79 (citing Doc.

185, Ex. 1 (Yurgealitis Rep.), ¶ 39; Tr. Ex. 235, M16 Rifle Review Panel Report at C-

12)) to its adoption as the U.S. military service weapon thereafter (see id., ¶ 93 (citing

Doc. 185, Ex. 1 (Yurgealitis Rep.), ¶ 45)). They argue that “[t]he AR-platform firearms

created by Eugene Stoner at Armalite in the 1950s were originally designed as

military firearms . . . [,] [b]ut in 1964, shortly after the AR-15 received its military

designation as the M16, Colt introduced a semiautomatic version of the AR-15 for the

civilian firearms market.” (Id., ¶ 98 (citing Doc. 236 (9/17/2024 Trial Tr. (Ronkainen)),

337:7–16); Tr. Ex. 235, M16 Rifle Review Panel Report at C-15; Doc. 185, Ex. 1




                                      Page 94 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 95 of 168    Page ID
                                       #411



(Yurgealitis Rep.). ¶¶ 59–60; Tr. Ex. 245, Alex Horton et al., Decades of Marketing

Reinvented the AR-15 into a Top-Selling Firearm, WASH. POST (Mar. 27, 2023)).

      The Government next discusses the “regulatory scrutiny” of AR- and AK-type

weapons in the wake of the 1989 Stockton, California shooting and traces the

development of the Federal Assault Weapons Ban. (See id., ¶¶ 102–22). While they

trace the increased production of AR-type weapons after the expiration of the Federal

Assault Weapons Ban in 2004, the Government argues that it is unknown exactly

“[h]ow many of these weapons are personally owned by Americans . . . , because

available data sources are problematic.” (Id., ¶ 145 (citing Doc. 190, Ex. 1 (Klarevas

Rep.), p. 4). Additionally, “[a]nnual data collected by ATF from firearms

manufacturers, known as the Annual Firearms Manufacturing and Exporting Report

(“AFMER”), is limited to production numbers, not ownership numbers.” (Id. (citing

Doc. 236 (9/17/2024 Trial Tr. (Ronkainen)), 332:11–333:07)). “ATF’s AFMER data also

does not distinguish between ‘modern sporting rifles’ and other rifles, and it includes

rifles that are ultimately acquired by law enforcement.” (Id. (citing Doc. 236

(9/17/2024 Trial Tr. (Ronkainen)), 331:11–332:10)).

      The primary thrust of the Government argument is that civilian-model AR-

type weapons “retain the identical performance capabilities and characteristics as

initially intended for use in combat, except for full-automatic capability.” (Id., ¶ 154

(citing Doc. 185, Ex. 1 (Yurgealitis Rep.), ¶¶ 45, 52, 118)). They argue that the AR-15

and M16/M4 typically fire the same .223 or 5.56 mm NATO ammunition (see id., ¶

155 (citing Doc. 230, Ex. 17 (Fatohi Dep.), 33:24–34:19)); have the same wounding




                                     Page 95 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 96 of 168    Page ID
                                       #412



capacity (see id., ¶¶ 163–77); have the same range and penetration capability (see id.,

¶¶ 178–93); function identically in the semiautomatic setting (see id., ¶¶ 194–210);

and use the same design features to minimize recoil (see id., ¶¶ 211–19). Moreover,

the Government argues that military M16s and M4s are predominately used and

fired in semiautomatic mode only because “semiautomatic fire is more accurate, less

likely to result in weapon damage or jamming, and more logistically sustainable.”

(Id., ¶ 220 (citing (Doc. 222, Ex. 2 (Tucker Rep.), ¶¶ 10–13; Doc. 222, Ex. 3 (Dempsey

Rep.), ¶¶ 17–22)). They argue that “[a]ll four military veterans who testified at trial—

including two witnesses called by Plaintiffs, Watt and Eby—affirmed that M16 and

M4 rifles are most often used in both training and combat in semiautomatic mode by

U.S. troops.” (Id., ¶ 221 (citing Doc. 234 (9/16/2024 Trial Tr. (Eby)), 146:7–9, 152:19–

23; Doc. 240 (9/18/2024 Trial Tr. (Watt)), 386:4–7, 465:7–19, 504:9–19; Doc. 240

(9/18/2024 Trial Tr. (Tucker)), 518:13–519:1, 525:13–18, 526:12–527:1, 532:21–24;

Doc. 241 (Trial Tr. (Dempsey)), 560:23–25, 561:5–9, 561:19–25, 604:25–605:13,

606:12–17, 608:14–18, 611:11–612:7)).

      The Government also argues that any arguments that the military has selected

a new combat weapon (the XM7) with a fully automatic fire capability (instead of a

three-round burst mode) are dispelled by the fact that semiautomatic fire is still

preferred and because there exists a civilian version of this same weapon (the MCX-

Spear). (See id., ¶¶ 243–65)). They also argue that the existence of AR-type rifles

chambered in other than .223 or 5.56 mm NATO is irrelevant because “none of the

individual plaintiffs has indicated a desire to purchase a Smith & Wesson M&P 15-




                                     Page 96 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 97 of 168    Page ID
                                       #413



22 chambered in .22LR rimfire ammunition” or in any other non-.233/5.56 mm NATO

caliber. (See id., ¶ 270 (citing Docs. 198–210, 215, 221)). They also argue that whether

or not a civilian version of an AR-type rifle can meet military specifications is

irrelevant because the weapons are “functionally equivalent.” (Doc. 247 (citing Doc.

241 (9/19/2024 Trial Tr. (Dempsey)), 638:23–639:15, 651:22–652:8)). The Government

also disputes the Plaintiffs’ contention that it is difficult to convert a semiautomatic

AR-15 into a fully automatic weapon because devices like binary triggers, trigger

cranks, and bump stocks are easily installable. (See id., ¶¶ 281–90).

      Moving from AR-type weapons to AK-model weapons, the Government adopts

similar arguments, insisting that the only functional difference between a civilian-

model AK-type weapon and a military-grade version is the absence of a fully

automatic firing mode in the civilian model. (See id., ¶¶ 291–302). They also argue

that the so-called “submachineguns” banned by PICA (e.g., MP5, Uzis, and the like)

are also merely semiautomatic versions of military weapons. (See id., ¶¶ 303–321).

They also argue that the .50 caliber rifle and ammunition banned by PICA are used

by the military in the same configuration. (See id., ¶¶ 322–56). The Government also

argues that “[m]any of the semiautomatic pistols that have features listed in the Act’s

‘assault weapon’ definition have been adapted from AR- and AK-type rifle platforms.”

(Id., ¶ 337 (citing Doc. 185, Ex. 1 (Yurgealitis Rep.), ¶ 152) (footnote omitted)). They

argue that these AR- and AK-type “are uncommon within the overall handgun

market” (id., ¶ 341 (citing Doc. 185, Ex. 1 (Yurgealitis Rep.), ¶ 162)) and share

common features with standard AR- and AK-type weapons. (See id., ¶¶ 349–53).




                                     Page 97 of 168
Case 3:23-cv-00141-SPM      Document 54 Filed 11/08/24        Page 98 of 168     Page ID
                                       #414



      Regarding magazines, the Government argues that large magazines were

designed for rapid fire and that magazines that comply with PICA’s restrictions are

available for purchase. (See id., ¶¶ 354–61). Additionally, regarding shotguns, the

Government paints the weapons PICA restricts as a small subset of semiautomatic

shotguns, many of which share AR- and AK-type features. (See id., ¶¶ 367–76).

      Moving past the weapons themselves, the Government argues that “[h]ome

defense and self-defense situations are rarely, if ever, lengthy shootouts at long

ranges with extensive exchanges of gunfire.” (Id., ¶ 377 (citing Doc. 185, Ex. 1

(Yurgealitis Rep.), ¶ 180.) “Based on an empirical analysis of almost 1,000 real-life

incidents of self-defense with a firearm, it is extremely rare for a person, when using

a firearm in self-defense, to fire more than 10 rounds.” (Id. (citing Doc. 185, Ex. 8

(Allen Rep.), ¶¶ 5, 8); see also id., ¶¶ 378–83). They also argue that “[a]n analysis of

a database of defensive gun uses (“DGUs”) compiled by the Heritage Foundation

indicates that it is rare for any kind of rifle to be used in self-defense.” (Id., ¶ 384

(citing Doc. 185, Ex. 8 (Allen Rep.), ¶ 31)). Moreover, the Government argues that

“AR-15s, AK-47-platform rifles, .50 caliber rifles, and other assault weapons are a

poor choice for self-defense.” (Id., ¶ 394 (citing Doc. 185, Ex. 1 (Yurgealitis Rep.), ¶¶

130, 178; Doc. 234 (9/16/2024 Trial Tr. (Eby)), 175:18–21)). They point to the over-

penetration risk associated with rifles. (See id., ¶¶ 398–407). The Government also

points to the lack of empirical evidence indicating the weapons restricted by PICA

are used for self-defense purposes (see id., ¶¶ 415–27) and also argues that such

weapons are poor choices for hunting (see id., ¶¶ 428–36).




                                      Page 98 of 168
Case 3:23-cv-00141-SPM     Document 54 Filed 11/08/24        Page 99 of 168    Page ID
                                      #415



      The Government concludes its Proposed Findings of Fact with the argument

that “assault weapons” and large-capacity magazines prohibited by PICA pose

“unprecedented threats to public safety,” (Id., p. 125) and are a major factor in the

violence associated with mass shootings. (Id., ¶¶ 444–45). They argue that the use of

semiautomatic “assault weapons” with large-capacity magazines in mass shootings

means the shooter is more lethal and can fire more rounds more quickly. (Id., ¶¶ 446–

69). They point to the increased lethality of mass shootings in large cities like

Chicago, Philadelphia, and Los Angeles. (Id., ¶¶ 470–78).

      b. McHenry County Defendants

      Sheriff Robb Tadelman and State’s Attorney Patrick Kenneally, the “McHenry

County Defendants” in the Harrel case (see supra note 9), filed their own Proposed

Findings of Fact (Doc. 249). They state that their Answer (Doc. 53) in which they

“admitted all of the substantive allegations seeking declaratory relief that the Act is

an unconstitutional infringement of Plaintiffs’ Second Amendment rights.” (Doc. 249,

p. 2). They argue that “[t]here is no evidence in the record that McHenry County

Defendants took any action to enforce PICA against Plaintiffs” and that “[t]here is no

evidence in the discovery record that McHenry County Defendants took any action to

challenge or dispute the substantive allegations that Plaintiff made relating to the

unconstitutional nature of PICA, as applied to Plaintiffs’ Second Amendment rights.”

(Id.). For these reasons, the McHenry County Defendants argue that “Plaintiffs are

not entitled to payment of the attorneys fees and/or court costs from McHenry County




                                     Page 99 of 168
Case 3:23-cv-00141-SPM      Document 54       Filed 11/08/24   Page 100 of 168   Page ID
                                            #416



 Defendants because McHenry County Defendants have not engaged in any action

 warranting such an award.” (Id.).

 G. This Court’s Determination

       As the Seventh Circuit expressly stated in Bevis that “this is a preliminary

 assessment,” Bevis at 1202, the Court will provide relevant data and analysis so that

 if (or, rather, when) this case is appealed, the Seventh Circuit will have ample

 information on which to base its opinion. The Court will assess the question of

 whether the challenged weapons, magazines, and attachments are “Arms” using the

 three-prong precertification from Bevis.

       1. Is the challenged weapon an item an ordinary person would keep at
       home for self-defense?

       Even though this Court acknowledged the methodological concerns associated

 with the Plaintiffs’ survey evidence regarding the prevalence of semiautomatic rifles

 and large-capacity magazines (see Doc. 257), this Court holds that, when considering

 all of the evidence, the Plaintiffs have provided sufficient evidence to establish that

 the semiautomatic rifles, shotguns, and some of the large-capacity magazines and

 attachments proscribed by PICA are in common use. The Plaintiffs have presented

 testimony from various firearms instructors and self-defense experts (e.g., Little,

 Lombardo, and Watt) and from military experts like Marine Gunner Eby that

 indicate that the AR-15 (and similar copycat weapons) are ideally suited for self-

 defense in the home. Moreover, the owner of Piasa Armory (Scott Pulaski) testified

 that Illinois citizens come to gun stores to purchase such weapons. (See Doc. 234

 (9/16/2024 Trial Tr. (Pulaski)).



                                     Page 100 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24     Page 101 of 168      Page ID
                                           #417



       While the Government is understandably concerned that surveys like those

 conducted by English and by Fatohi are methodologically unsound (see Doc. 257), the

 Government’s own expert indicated that, at minimum, millions of Americans own

 AR-15s at this very moment. (See Doc. 253, ¶ 98 (estimating “the number of

 Americans who own AR-15-platform firearms” at “14.1 million” to “18.2 million

 adults” (citing Doc. 185 (Klarevas Rep.), p. 20))). While the Government argues that

 the English Survey does not account for the firearms dealers that possess over a

 hundred AR-type weapons, as discussed supra, this notes that Heller does not require

 an exact estimate. (See Doc. 223, p. 10 (arguing that Professor English’s exclusion of

 the 0.3% of respondents who possessed more than one hundred AR-type weapons

 “account for ownership of 37.1% of all AR-15-style rifles.” (quoting Doc. 190, Ex. 1, pp.

 10–11)); see also Doc. 257). Even if off by an order of magnitude, there are still millions

 of weapons in circulation in the United States (and, by definition, in Illinois) that the

 Illinois Government has rendered illegal.

       While this Court is cognizant of Bevis’s warning that sales numbers alone are

 not sufficient to prove that an item is in common use, the Court is skeptical of the

 Government’s argument that rigid statistical evidence is not only useful, but required

 to prove that specific weapons, magazines, and attachments are in common use. The

 Supreme Court in Heller certainly did not rely on sociological studies of firearm use

 or statistics of firearm ownership to rule that handguns were “in common use,”

 stating only that “handguns are the most popular weapon chosen by Americans for

 self-defense in the home, and a complete prohibition of their use is invalid.” 554 U.S.




                                       Page 101 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 102 of 168     Page ID
                                          #418



 at 629. Similarly, AR-type weapons are both “commonly available” in the United

 States and have been called the country’s most popular rifle for decades. Garland v.

 Cargill, 602 U.S. 406, 430 (2024) (Sotomayor, J., dissenting) (stating that the

 perpetrator of the 2017 Las Vegas mass shooting used “commonly available,

 semiautomatic rifles” to which bump stocks were attached). Thus, it cannot

 reasonably be said that such weapons are not in common use.

       The Court is also not convinced that weapons like the AR-15 and its relatives

 are “dangerous and unusual.” Considering the Court’s definition of “dangerous,” it is

 clear that a semiautomatic rifle does not suffer from the lack of control as is inherent

 to machineguns and sawed-off shotguns. Additionally, the AR-15 and other

 semiautomatic rifles do not appear to be “unusual” like ricin-pellet launchers or

 directed-energy weapons. While they have features that closely resemble their

 military counterparts, they do not operate or utilize technology sufficient to call them

 “unusual” in the sense that they are not widely used in the United States. As

 discussed above, it appears, instead, that the rifles and other weapons banned by

 PICA are in common use when considering the volume of sales over the past 20 years

 and the fact that both experts (like Little, Lombardo, and Watt) and fact witnesses

 (like Piasa Armory owner Scott Pulaski) attest to the fact that law-abiding citizens

 choose them for self-defense.

       Moreover, the Court is also skeptical of the Government’s argument that the

 Plaintiffs have not specified that they seek to purchase or sell each and every firearm

 proscribed by PICA. The Seventh Circuit referred to the AR-15 “and its many




                                      Page 102 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 103 of 168      Page ID
                                          #419



 cousins,” indicating it was comfortable with grouping semiautomatic “assault

 weapons” or “modern sporting rifles” into broad categories for ease of analysis.

 Additionally, the Government has argued that AR-type weapons, AK-type weapons,

 specific semiautomatic shotguns, and associated “submachineguns” share similar

 features. (Doc. 247, ¶¶ 303–21; Doc. 248, pp. 39–40). Thus, it is apropos for this Court

 to consider all of these “modern sporting rifles” and their relatives together.

       Moreover, as discussed supra, the Seventh Circuit has previously indicated

 that, in a facial challenge such as this, “individual application facts do not matter”

 because “[o]nce standing is established, the plaintiff's personal situation becomes

 irrelevant.” Ezell, 651 F.3d at 697. Like Chicago’s Second Amendment-infringing

 ordinance in Ezell, if PICA is unconstitutional now, it was “unconstitutional when

 enacted and violates their Second Amendment rights every day it remains on the

 books.” Id. at 698. Here, clearly, the individual named plaintiffs and the many

 thousands of individual members of the advocacy organization plaintiffs are injured

 by PICA’s infringement on their Second Amendment rights to choose firearms for

 their individual use for self-defense.

       Thus, even discounting the English Survey and those conducted by the NSSF

 because of the Government’s identified methodological concerns (see Docs. 223, 257),

 it is clearly apparent to this Court that law-abiding citizens choose semiautomatic

 AR- and AK-type rifles, semiautomatic shotguns, various machine pistols, large-

 capacity magazines, and assorted firearm attachments for self-defense.




                                      Page 103 of 168
Case 3:23-cv-00141-SPM          Document 54      Filed 11/08/24       Page 104 of 168       Page ID
                                               #420



        That being said, this Court is not convinced that any law-abiding citizen would

 keep a .50 caliber sniper rifle at home for self-defense purposes. The Government’s

 testimony indicates that it is large, cumbersome, has significant recoil, and has

 limited use in close-quarters situations. Such a weapon is clearly unsuited for self-

 defense and is properly banned for civilian use by PICA. The same is true for the

 ammunition it fires. This Court also holds that, outside of .50 caliber rifles and

 ammunition, .50 caliber pistols and any belt-fed weapons have no lawful self-defense

 purpose.

        Regarding      thirty-round      large-capacity     magazines29      and    the    various

 attachments (e.g., pistol grips, flash suppressors, and the like) at issue here, this

 Court holds that these devices are also in common use and have legitimate self-

 defense purposes. For magazines, every round matters in a self-defense scenario—

 reloading takes away significant time during which the defender can be injured or

 wounded. Moreover, unlike in military combat where soldiers are equipped with

 pockets, vests, and belts to carry spare ammunition, a defender will only have what

 he or she can carry. Thus, in a critical self-defense scenario, more rounds equals a

 higher chance of survival.




 29
    PICA § 5/24-1.10(a) defines large-capacity magazines as those that hold more than ten rounds for
 rifles and more than fifteen rounds for handguns. The evidence shows that twenty and thirty-round
 rifles magazines are in common use; in fact, many semiautomatic rifles are sold by manufacturers
 with such magazines. Neither the Plaintiffs nor the Government have provided evidence indicating
 that magazines in excess of thirty rounds are in common use or are dangerous and unusual, so this
 Court makes no determination on whether magazines in excess of thirty rounds for rifles are
 dangerous and unusual or in common use. The same is true for extended-round pistol magazines, so
 this Court will make no determination on those, either.


                                          Page 104 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24     Page 105 of 168      Page ID
                                           #421



       Similarly, the attachments at issue make a weapon safer, easier to aim, and

 easier to fire, features that are well-suited for self-defense. This is especially relevant

 to an individual who is infirm, small-statured, or has limited firearms training. In a

 self-defense scenario, every second matters and this Court will not fault individuals

 who are not able-bodied for choosing weapons that enable them to more carefully

 defend themselves and their families. However, while only discussed by the Langley

 Plaintiffs (see Doc. 254, pp. 7–8), the Court holds that grenade launchers are not in

 common use for lawful self-defense purposes; grenade launchers are listed as

 attachments that, if attached to a semiautomatic rifle or shotgun, convert it into an

 “assault weapon.” See PICA § 5/24-1.9(a)(1)(A)(v); (a)(a)(F)(iv). There, clearly, is no

 lawful self-defense purpose for grenade launchers and they do not make a

 semiautomatic rifle or shotgun easier or more comfortable to operate.

       Attachments that increase the firing rate of semiautomatic weapons must also

 be discussed here. This particular provision of PICA refers to external devices that

 may be attached to semiautomatic weapons to increase their rate of fire (e.g., bump

 stocks, binary triggers, auto-sear switches, and the like). See PICA § 5/24-1(a)(14).

 PICA states that an individual commits the offense of unlawful use of weapons when

 he or she knowingly:

       Manufactures, possesses, sells, or offers to sell, purchase, manufacture,
       import, transfer, or use any device, part, kit, tool, accessory, or
       combination of parts that is designed to and functions to increase the
       rate of fire of a semiautomatic firearm above the standard rate of fire for
       semiautomatic firearms that is not equipped with that device, part, or
       combination of parts.




                                       Page 105 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24   Page 106 of 168     Page ID
                                          #422



 Id. § (a), (a)(14). In a footnote, the Government argues that “[w]hile the Act added

 Section 24-1(a)(14) to criminalize conduct regarding accessories that increase the rate

 of fire for semiautomatic firearms (such as bump stocks and Glock switches), no

 plaintiff has shown it intends to engage in conduct with devices or parts regulated by

 this provision.” (Doc. 248, p. 9 n.1). The Government argues that “[v]ague assertions

 by plaintiffs that they seek to acquire everything banned by the Act are insufficient

 to establish Article III standing.” (Id. (citing Doc. 209 (Vandermyde Decl.) ¶¶ 5, 8)).

 They argue that “[i]f the Court finds a plaintiff has standing to challenge Section 24-

 1(a)(14), then a Second Amendment challenge to that provision would fail for the

 same textual and historical reasons described in this brief as for other accessories.”

 (Id. (citing United States v. Herriott, No. 23-cr-37, 2024 WL 3103275 (N.D. Ind. June

 24, 2024) (finding Glock conversion devices not protected by the Second

 Amendment))).

       The Plaintiffs have not presented evidence to indicate that such devices are

 selected by law-abiding citizens for self-defense. However, the Court holds that these

 devices do not fit within the definition of “dangerous” because, as discussed supra,

 dangerousness is related to control of fire, not rate of fire. No evidence has been

 presented indicating that bump stocks, binary triggers, or similar devices result in

 the operator being unable to control the weapon to which they are attached. Unlike

 the language in PICA prohibiting certain semiautomatic rifles, pistols, and shotguns

 as well as magazines and attachments, the language regarding devices that increase

 rate of fire is vague. Therefore, because this Court lacks data or argument regarding




                                     Page 106 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24     Page 107 of 168     Page ID
                                           #423



 their prevalence or usage, this Court cannot determine whether or not such devices

 are in common use for self-defense.

       2. Is the challenged weapon exclusively or predominantly useful in
       military service?

       Here, the parties’ arguments are summarized as follows. The Plaintiffs argue

 that AR-15s, AK-47, and the like are materially different from military weapons

 because of (1) the lack of automatic fire capability and (2) because of the vastly

 different procurement and quality assurance standards. The Government argues that

 the lack of automatic fire capability is not a material difference because M16s, M4s,

 and other military versions of the civilian weapons at issue here are rarely, if ever,

 used in the burst or automatic mode of fire.

       Here, the Plaintiffs have provided testimony indicating that the semiautomatic

 civilian-model AR-15 has never been used by any military force on the planet, aside

 from its external similarities to military-issued weapons like the M16 and M4. (See

 Doc. 253, ¶ 163 (citing Doc. 234 (9/16/2024 Trial Tr. (Eby)), 115:9-11;Doc. 236

 (9/17/2024 Trial Tr. (Ronkainen)), 240:5-7; Doc. 240 (9/18/2024 Trial Tr. (Watt)),

 390:1-17; Doc. 241 (9/19/2024 Trial Tr. (Dempsey)), 623:21-23; Pltfs’ Tr. Ex. 139

 (Tucker Dep.), 38:1-4; E. Gregory Wallace, “Assault Weapons” Myths, 43 S. ILL. L.J.

 193, 205 (2018))). In rebuttal, the Government has introduced evidence that (1) the

 M16 and AR-15 have the same muzzle velocity, rate of fire, accuracy, and projective

 penetration when fired in semiautomatic mode (Doc. 247, ¶ 154 (citing Doc. 185, Ex.

 1 (Yurgealitis Rep.), ¶¶ 45, 52, 118)); id., ¶ 155 (citing Doc. 230, Ex. 17 (Fatohi Dep.),

 33:24–34:19)); id., ¶¶ 163–219))) and (2) the M16/M4 is overwhelmingly fired in



                                       Page 107 of 168
Case 3:23-cv-00141-SPM          Document 54       Filed 11/08/24       Page 108 of 168        Page ID
                                                #424



 training and in combat in semiautomatic mode; the burst or full automatic fire

 setting, while available as a tool in an operator’s combat toolbox, is rarely used in

 practice (see, e.g., Doc. 240 (9/18/2024 Trial Tr. (Tucker)).

        Regardless of its external appearance, the Court holds that an AR-15 is,

 frankly, not at all the same weapon as the M16 rifle or M4 carbine used by the United

 States military. See Bevis at 1222 (Brennan, J., dissenting) (“The AR–15 is a civilian,

 not military, weapon. No army in the world uses a service rifle that is only

 semiautomatic.” (footnote omitted)). First and foremost, the M4 has semiautomatic,

 fully automatic, and three-round burst modes of fire available; the AR-15 is only

 capable of semiautomatic fire.30 As discussed supra, this critical distinction has been

 noted by the Supreme Court this past term. See Garland v. Cargill, 602 U.S. 406, 415

 (2024). The majority held that “a semiautomatic rifle equipped with a bump stock is

 not a ‘machinegun’ because it cannot fire more than one shot ‘by a single function of

 the trigger.’ And, even if it could, it would not do so ‘automatically.’” Id. Therefore, by

 virtue of its lack of a burst or automatic fire setting, an AR-15 categorically cannot be

 a machinegun. See id.; see also id. at 432–33 (2024) (Sotomayor, J., dissenting)

 (“Semiautomatic weapons are not ‘machineguns’ under the statute. Take, for

 instance, an AR–15-style semiautomatic assault rifle. To rapidly fire an AR–15, a

 shooter must rapidly pull the trigger himself. It is ‘semi’ automatic because, although

 the rifle automatically loads a new cartridge into the chamber after it is fired, it fires


 30 The use of a “bump stock” or other device to convert a semiautomatic weapon into a fully automatic

 one is not a valid reason to prohibit the use of semiautomatic weapons like the AR-15 any more than
 the fact that a shotgun barrel can be severed to make a sawed-off shotgun must result in all shotguns
 being banned. See Garland v. Cargill, 602 U.S. 406 (2024).


                                           Page 108 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24     Page 109 of 168     Page ID
                                          #425



 only one shot each time the shooter pulls the trigger.” (citing 18 U.S.C. § 921(a)(29)

 (2018 ed., Supp. IV)); id. at 432 (“The archetypal modern ‘machinegun’ is the

 military’s standard-issue M16 assault rifle. With an M16 in automatic mode, the

 shooter pulls the trigger once to achieve a fire rate of 700 to 950 rounds per minute.

 An internal mechanism automates the M16’s continuous fire, so that all the shooter

 has to do is keep backward pressure on the trigger. If the shooter stops putting

 pressure on the trigger, the gun stops firing.” (citing DEPT. OF DEF., DEF. LOGISTICS

 AGENCY,     SMALL     ARMS,      https://www.dla.mil/Disposition-Services/Offers/Law-

 Enforcement/Weapons/ [https://perma.cc/AJ64-4AE4]; Brief for Giffords Law Center

 to Prevent Gun Violence et al. as Amici Curiae 9–11 (Giffords Brief) (discussing

 internal firing mechanism of M16)). Because of the difference in construction and

 operation of the M16 and AR-15, “[a] regular person with an AR–15 can achieve a fire

 rate of around 60 rounds per minute, with one pull of the trigger per second.” Cargill

 at 433 (Sotomayor, J., dissenting) (citing Tr. of Oral Arg. 39; Giffords Brief 14).

       Even though in dissent, Justice Sotomayor’s argument is based on factual data

 obtained from the Defense Logistics agency. Notably, while the Seventh Circuit states

 in Bevis that “[t]he M16 has an automatic firing rate of 700 rounds per minute, while

 the AR-15 has a semiautomatic rate of ‘only’ 300 rounds per minute,” 85 F.4th at

 1196, they do not cite a source for this data. Additionally, the Seventh Circuit

 explicitly states that this purported rate of fire is standard “unless, as we have just

 noted, it is modified with, for example, a bump stock or a ‘binary’ trigger, which can

 double the rate at which semiautomatic weapons can be fired.” Id.




                                      Page 109 of 168
Case 3:23-cv-00141-SPM          Document 54       Filed 11/08/24       Page 110 of 168        Page ID
                                                #426



        Critically, the M16 and M4 are military-issue weapons subject to exact

 standards of military specificity and rigorous quality-insurance inspections; the AR-

 15 by definition cannot and does not have the same standard of quality assurance.31

 Notably, M16s/M4s are designed for increased wear-and-tear and have a barrel that

 is capable of sustained firing without overheating. (See, e.g., Doc. 236 (9/17/2024 Trial

 Tr. (Ronkainen)), 241:24–243:7 (discussing the specifications associated with

 military-grade weapons). Setting emotional reactions aside, comparing an AR-15 to

 an M16 is like comparing a military-grade Humvee to the Hummer H3 released to

 the civilian population. Its resemblance to the military version is not a coincidence—

 it is a feature marketed to appeal to the average, law-abiding consumer of such

 products.32 Just like the camouflage print clothing and accessories worn by civilians,

 the similarly of military accessories to the civilian counterpart does not inherently

 designate it as being “military-grade.” Moreover, stating that military-grade weapons

 cannot be used by civilians because they need to be reserved for the militia is not a

 cogent argument. The current version of the militia is the United States Army

 National Guard and Air National Guard. Both organizations utilize U.S. Army and

 U.S. Air Force uniforms, accessories, and equipment. These items are not

 requisitioned from those in civilian use, especially since purported civilian



 31 In fact, civilians cannot purchase “military-issue” or “military-grade” M16s or M4s, as they are

 exclusively issued to members of the United States military, housed on military installations, and
 stamped as being property of the United States Government. Notably, the three-round burst and
 automatic modes of fire along with reduced barrel lengths are not available for any commercially sold
 “M4.”
 32 Circuit Judge Roth cites such advertisements for the AR-15 in her concurrence in Del. State

 Sportsmen’s Ass’n, Inc. v. Del. Dep’t of Safety & Homeland Sec., No. 23-1633, 2024 WL 3406290, at *15
 n.80 (3d Cir. July 15, 2024) (Roth, J., concurring).


                                           Page 110 of 168
Case 3:23-cv-00141-SPM          Document 54       Filed 11/08/24      Page 111 of 168        Page ID
                                                #427



 counterparts have not met the rigorous quality assurance standards for military

 use.33 Put simply, civilian versions of military accessories simply are not tested to the

 same level of specificity as are those utilized by the military, Plaintiffs’ expert

 Ronkainen has testified. (See, e.g., Doc. 229, Ex. 9 (Ronkainen Rep.), p. 7). Indeed,

 this is the only one way to square the military-grade exception in Friedman with the

 “common use” requirement in Bruen—by a determination that the semiautomatic

 AR-15 rifle available for purchase by civilians is, by design and by clear definition,

 not a “military-grade” weapon.

        Moving back to firearms, the commercially available AR-15’s external

 similarity to the M16 rifle and M4 carbine belies its nature, as its lack of burst or

 fully automatic fire fundamentally renders it a different weapon. Thus, while they

 may be similar externally, they are not the same weapon and have vastly different

 functions. The M16 and M4 are designed to be carried by members of the military.

 Military members utilizing M16 rifles or M4 carbines do so in specific ways, from

 guarding critical facilities or equipment to advancing on specific targets.

        Therefore, the Court holds that “military use” refers to weapons that are

 selected, procured, tested, and issued to military members for use in

 combat. With this in mind, none of the weapons, magazines, or attachment




 33 As an example, the steel bolts used in the Strategic Weapons System onboard Ohio-class ballistic

 missile submarines strongly resemble those that are on sale at Home Depot, Lowe’s, and other
 hardware stores. That being said, only bolts that have undergone substantial and exhaustive quality
 assurance inspections and obtained via the Navy’s supply system can be ordered and installed,
 precisely because these military-grade parts are certified to withstand pressures, temperatures, and
 wear that civilian-grade items cannot. Such an exegesis is beyond the scope of this Order.


                                           Page 111 of 168
Case 3:23-cv-00141-SPM     Document 54     Filed 11/08/24   Page 112 of 168        Page ID
                                         #428



 prohibited by PICA can be called “military-grade” since they were not

 issued to the military for use in combat.

       However, even if arguendo there are no material differences between the

 M16/M4 and AR-15, so-called “dual use” has clearly been established here. Even

 though only addressed in a footnote, see Bevis at 1195 n.8, recall that the Seventh

 Circuit wrote that:

       Obviously, many weapons are “dual use”: private parties have a
       constitutionally protected right to “keep and bear” them and the military
       provides them to its forces. In this sense, there is a thumb on the scale
       in favor of Second Amendment protection. When we refer to “military”
       weapons here, we mean weapons that may be essentially reserved to the
       military.

 Id. In dissent, Judge Brennan wrote that “because the AR-15 is not ‘essentially

 reserved to the military’ and shares characteristics with ‘private’ weapons, such as

 being semiautomatic, the AR-15 is at most a ‘dual use’ weapon. So under the majority

 opinion's categories, the AR-15 should warrant Second Amendment protection.” Id.

 at 1224 (Brennan, J., dissenting). Considering the above, the Court holds that “dual

 use” refers to weapons that, while predominantly useful in military

 contexts, are also useful for civilian offensive or defensive use in

 confrontation such that they would be covered by the Second Amendment’s

 guarantee. As discussed in section I.B supra, a clear example is the semiautomatic

 handguns that are useful in military service yet are also “the quintessential self-

 defense weapon.” Heller, 554 U.S. at 629. Clearly, even though handguns are useful

 and are used in military service, they are clearly protected by the Second




                                    Page 112 of 168
Case 3:23-cv-00141-SPM         Document 54     Filed 11/08/24   Page 113 of 168   Page ID
                                             #429



 Amendment. However, as noted above, AR-15s are distinct from their military

 counterparts.

       While the Government argues that the lethality of AR-type weapons is

 sufficient reason to restrict them, those same features that increase “lethality” also

 increase the accuracy, portability, and safety of the weapons for use by variously

 abled individuals. The Second Amendment clearly cannot imply that those who are

 elderly, disabled, or small-statured must only choose a handgun or pump-action

 shotgun for self-dense when other options (like AR-15s) will enable them to defend

 their homes more easily, safely, and securely. The same is true for operator-friendly

 features that protect the defender’s hearing, vision, and allow for ease of use. As

 discussed supra, large-capacity magazines may also be the difference between life

 and death for a person defending him or herself in the home. This Court also holds

 that thirty-round magazines are not predominately useful in military service and,

 even if they were, dual use has clearly been demonstrated given their usefulness for

 individual self-defense and their ubiquity.

       As discussed above, this Court holds that .50 caliber pistols, rifles, and

 ammunition as well as all belt-fed weapons are predominantly useful for military

 service and are not dual-use weapons under Bevis. This Court lacks data to make any

 finding whether or not large-capacity magazines holding more than thirty rounds

 (e.g., box and drum magazines). As above, the Court lacks data to determine whether

 or not devices that increase a semiautomatic weapon’s rate of fire are predominately

 useful in military service.




                                      Page 113 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24        Page 114 of 168    Page ID
                                          #430



       3. Is the challenged weapon possessed for unlawful purposes?

       Here, too, the Plaintiffs have provided testimony that indicates that the vast

 majority of AR-15-style semiautomatic rifles purchased in Illinois have never been

 used in illegal activity and are likely confined to individuals’ homes or firearms

 ranges. (See Doc. 253, p. 92). Even though it is undisputed that AR-15 and AK-47-

 type weapons have been used in various mass shootings, the use of these weapons in

 such horrific massacres is the exception, not the rule, even if such tragedies are

 trending upward over time.

       Indeed, the parties are concerned with issues at opposite ends of the spectrum

 of firearms—the Government is concerned about the use of AR-15s and other “assault

 weapons” in mass shootings and in violent crime while the Plaintiffs are concerned

 that law-abiding citizens’ individual constitutional right to self-defense has been

 infringed by PICA. Data on firearm homicides show that pistols are overwhelmingly

 used in incidents of gun violence, yet we do not ban their use by civilians because of

 these criminal connections. (See Doc. 253, p. 92 (citing FBI, 2019 CRIME IN THE UNITED

 STATES (2019), https://tinyurl.com/2tnwa5yu (further reporting about 1.4% of

 homicides are committed with a shotgun of any kind); FBI, CRIME DATA EXPLORER:

 EXPANDED    HOMICIDE     OFFENSES    CHARACTERISTICS        IN    THE   UNITED     STATES,

 https://bit.ly/3IF5A (confirming the same based on updated data); Doc. 185, Ex. 7

 (Klarevas Rep.), p. 32 (confirming the low rates of recorded crime committed with

 “assault weapons,” ranging, for example, “from a low of 2.4% in Baltimore, Maryland,

 to a high of 8.5% in Syracuse, New York,” and “5% . . . nationwide”); NICHOLAS J.




                                     Page 114 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 115 of 168     Page ID
                                          #431



 JOHNSON, ET AL., FIREARMS LAW AND THE SECOND AMENDMENT 2000–01, 2005 (3d ed.

 2021) (2024 Supp.) (discussing FBI Crime statistics and noting that the “[h]andguns”

 deemed protected under Heller and Bruen, not the firearms banned by PICA, “are the

 most common firearm used in mass shootings, accounting for over 50 percent”))).

 Moreover, as the Plaintiffs argue, even if every AR-15 in Illinois was used in a mass

 shooting, then 99.99% of AR-15 rifles would never have been used in a homicide. (Doc.

 253, p. 92). Clearly, this means that such weapons are not used “for unlawful

 purposes.” (Id.). Such horrific and traffic incidents are clearly outliers, not the most

 common use for the semiautomatic “assault weapons” PICA purports to ban

 wholesale. The Court also notes that the Government has previously stated that

 firearm data showing that semiautomatic rifles are both dangerous and unusual is

 “unattainable,” even though required by 5 ILL. COMP. STAT. 830/10-5. (See Doc. 101,

 p. 24 n.11 (citing 2022 GUN TRAFFICKING LEGISLATIVE REPORT, ILL. STATE POLICE,

 https://isp.illinois.gov/StaticFiles/docs/Gun%20Trafficking/2022%20Gun%20Traffick

 ing%20Legislative%20Report.pdf [https://perma.cc/4G7V-CAP3])).

       While this Court holds that thirty-round magazines are not possessed for

 unlawful purposes, this Court does not make any findings on magazines holding more

 than thirty rounds, as neither party has produced sufficient evidence for this Court

 to make determinations on whether they are in common use, used for lawful

 purposes, or reserved to the military.

       Apart from magazines, the Court also holds that the attachments banned by

 PICA (including foregrips, flash suppressors, barrel shrouds, and the like) are not




                                      Page 115 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24   Page 116 of 168    Page ID
                                          #432



 possessed for unlawful purposes but, rather, are legitimate features that enable a

 semiautomatic rifle or pistol to be fired more safely and accurately and that protect

 the operator from flash blindness and other conditions that would impede his or her

 ability to defend himself or herself. This does not include grenade launchers, which

 do not have a lawful purpose.

       Moreover, the Court is not convinced by the Government’s argument that AR-

 type weapons must be banned because it is easy to convert a semiautomatic AR-15 to

 a fully automatic weapon via the use of a bump stock or the like. Even though the

 Supreme Court has held sawed-off shotguns to be weapons used principally for

 unlawful purposes, see Heller at 623; Bevis at 1190 (citing Heller; Friedman at 408),

 it is not permissible to ban all shotguns by virtue of such an easy conversion,

 especially since they have been held to be in common use. Attaching a bump stock to

 an AR-type weapon is certainly more complex than taking a saw to the barrel of a

 shotgun.

       However, as discussed supra, the Plaintiffs have not provided any evidence

 that bump stocks, binary triggers, and other devices that increase rate of fire are

 selected by law-abiding citizens for self-defense. Therefore, as data is not available

 regarding these devices, this Court cannot determine whether or not they are used

 for lawful or unlawful purposes.

       While the Court is sympathetic to those who have lost loved ones to gun

 violence, such tragedies are not an excuse to restrict the rights guaranteed to the

 Illinois public by the Second Amendment to the United States Constitution.




                                     Page 116 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24   Page 117 of 168    Page ID
                                          #433



 Regardless of state governments’ desire to restrict law-abiding citizens’ Second

 Amendment rights under the guise of crime control, the Second Amendment

 conclusively protects law-abiding citizens’ right to defend themselves utilizing

 weapons that are in common use.

       After serious consideration of the mandate of a multitude of different self-

 defense scenarios and the challenging dynamics of such events, it becomes obvious

 that the extensive scope of the rights guaranteed the citizens to keep and bear arms

 without government infringement is wise and necessary. The AR-15 is easy to

 operate, more accurate, and has a larger magazine capacity than a M1 Garand, a

 shotgun, or a handgun.

       Based on the above, the Court holds that the Plaintiffs have met their burden

 to demonstrate that the AR-15 and other AR-style weapons are protected “Arms”

 within the definition advanced by the Seventh Circuit in Friedman and Bevis.

 Additionally, the Court holds that the various other “assault weapons” proscribed by

 PICA (including AK-type weapons, various semiautomatic shotguns, and what the

 Government calls “submachineguns”) are also “Arms,” as are the thirty-round large-

 capacity magazines and various firearm attachments designated by PICA. To

 reiterate, all of these weapons, magazines, and attachments are bearable, not

 dangerous or unusual, and are in common use. Moreover, they are all possessed for

 lawful self-defense purposes, are either not predominately useful for military service

 or are dual-use items, and are not possessed for unlawful purposes. However, under

 the test articulated in Bevis, this Court holds that the .50 caliber ammunition and




                                     Page 117 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24   Page 118 of 168      Page ID
                                           #434



 weapons restricted by PICA are not “Arms” as they are not in common use for self-

 defense. Additionally, the Court holds that all of the belt-fed weapons and grenade

 launcher attachments restricted by PICA are not in common use for self-defense and

 are used for unlawful purposes. Therefore, Illinois can lawfully ban .50 caliber

 weapons and ammunition, belt-fed weapons, and grenade launchers in accordance

 with Bevis. As stated above, this Court makes no determination on whether or not

 PICA can constitutionally ban devices that increase a weapon’s rate of fire (e.g., bump

 stocks, binary triggers, and the like).

       Considering the above, this Court moves forward to Bruen’s primary thrust.

 II. History and Tradition

       Before continuing on, we are best served by studying how and why the Second

 Amendment came to be. This is the most important historical analysis when it comes

 to the interpretation of the text and reach of the Second Amendment.

       On July 4, 1776 came the “Unanimous Declaration of the Thirteen United

 States of America,” the Declaration of Independence. A written proclamation, this

 document gave us the following:

       We hold these truths to be self-evident: That all men are created equal:
       that they are endowed by their creator with certain unalienable rights;
       that among these are life, liberty, and the pursuit of happiness: that to
       secure these rights, governments are instituted among men, deriving
       their just powers from the consent of the governed . . . .

 THE DECLARATION OF INDEPENDENCE para. 2 (U.S. 1776).

       War ensued, one that was hard fought and exacted a heavy toll on the nascent

 United States. The Americans who survived the War of Independence found




                                      Page 118 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24   Page 119 of 168      Page ID
                                          #435



 themselves grappling with the practicalities of self-governance. On March 1, 1781,

 the thirteen states embraced the Articles of Confederation and Perpetual Union

 Between the States, a compact that designated that each state retained its

 sovereignty while also creating a federal government. Its focus was not on the

 citizens, but rather on the relationship between the states and the powers granted to

 the federal government. The new nation struggled to effectively govern.

       The shortcomings of the Articles of Confederation quickly manifested

 themselves and prompted a formal effort “to form a more perfect Union, establish

 justice, insure domestic tranquility, provide for the common defense, promote the

 general welfare, and secure the blessings of liberty to ourselves and our

 posterity . . . .” U.S. CONST. pmbl. The opening words of the Preamble are, of course,

 “We the People of the United States.” Id.

       The United States Constitution began as a plan to formally separate powers

 between the federal government and the several states. See U.S. Const. It also divided

 the powers of government among three separate branches of government. See id.

 Citizens like George Mason fervently opposed the Constitution. See George Mason,

 Objections   to   the   U.S.    Constitution,    Va.   J.   (November      22,   1787),

 https://billofrightsinstitute.org/activities/masons-objections-annotated

 [https://perma.cc/ZLF8-SCDF] (“There is no Declaration of Rights, and the laws of the

 general government being paramount to the laws and constitution of the several

 States, the Declarations of Rights in the separate States are no security. Nor are the

 people secured even in the enjoyment of the benefit of the common law.”).




                                     Page 119 of 168
Case 3:23-cv-00141-SPM        Document 54     Filed 11/08/24     Page 120 of 168     Page ID
                                            #436



        The Articles of the U.S. Constitution contain only a few clauses that relate

 directly to the rights of citizens. Most notably, Article I, § 9 directs that the “privilege

 of the writ of habeas corpus shall not be suspended” (with some exceptions) and that

 neither bills of attainder nor ex post facto laws may be passed. See id. § 9, cl. 2–3.

 Article III, § 2 guarantees that trial of all crimes shall be by jury and held in the state

 where committed. Under Article IV, § 2, “[t]he Citizens of each state shall be entitled

 to all privileges and immunities of Citizens in the several states.”

        When the Constitution was presented to the people, the people asked, “what

 about us?” It became clear that the American people would only submit to the new

 Constitution if it also included an enumeration of the rights held by citizens on which

 the federal government would neither infringe nor intrude.

        On September 25, 1789, Congress proposed twelve amendments (called

 articles) to the Constitution. On December 15, 1791, ten of them were ratified and

 became the Bill of Rights.

        The Bill of Rights was explained as follows:

        The Conventions of a number of the States, having at the time of their
        adopting the Constitution, expressed a desire, in order to prevent
        misconstruction or abuse of its powers, that further declaratory and
        restrictive clauses should be added: And as extending the ground of
        public confidence in the Government, will best ensure the beneficent
        ends of the institution.

 Cong. J. Res. Proposing 12 Amendments to the U.S. Constitution, 1st Cong. (1789).

        In this stroke of genius, the American people created a limited government

 with the citizens holding the top spot in the chain of power. All individuals entrusted




                                       Page 120 of 168
Case 3:23-cv-00141-SPM        Document 54     Filed 11/08/24   Page 121 of 168   Page ID
                                            #437



 with government duties, powers, and functions became public servants, not public

 masters.

           This was the most important inflection point in American history. Lofty ideas

 became written laws. It changed the arc of America’s destiny. The supreme law of the

 land no longer just spoke of separation of power, i.e., who may make treaties and mint

 coins. See U.S. Const. art. I, § 9. It now had a much more profound repertoire.

 Consider the genius of what was enshrined as a guarantee to each individual citizen,

 to wit:

 Under the First Amendment:
   • free exercise of religion,
   • freedom of speech,
   • freedom of the press,
   • the right to peacefully assemble,
   • “to petition the Government for a redress of grievances”;

 Under the Second Amendment:
   • the right to “keep and bear arms”;

 Under the Third Amendment:
   • no quartering of soldiers in peacetime without the consent of the owner;

 Under the Fourth Amendment:
   • “to be secure in their persons houses, papers, and effects against unreasonable
     searches and seizures,”
   • “no warrants shall issue, but upon probable cause, supported by oath and
     affirmation, and particularly describing the place to be searched, and the
     person or things to be seized”;

 Under the Fifth Amendment:
   • no person shall be held to answer an “infamous crime” unless upon indictment
     by a grand jury,
   • no double jeopardy,
   • cannot be compelled to be a witness against oneself,
   • cannot “be deprived of life, liberty or property without due process of law,”
   • no private property may “be taken for public use without just compensation”;




                                       Page 121 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24     Page 122 of 168     Page ID
                                          #438



 Under the Sixth Amendment:
   • a right to a speedy criminal trial,
   • a right to a public criminal trial,
   • must be tried in the state and district where the alleged crime occurred,
   • to be informed of the “nature and cause of the accusation,”
   • to be “confronted with the witnesses against him,”
   • to have “compulsory process for obtaining witnesses in his favor,”
   • to have the “assistance of counsel for his defense”;

 Under the Seventh Amendment:
   • a right to a jury trial in suits at common law;

 Under the Eighth Amendment:
   • no person can be required to pay an “[e]xcessive bail,”
   • no person shall be required to pay an “excessive fine,”
   • no person shall suffer the infliction of “cruel and unusual punishments.”

 The Bill of Rights also proclaims that “the enumeration in the Constitution of certain

 rights, shall not be construed to deny or disparage other rights retained by the

 people.” Id. amend. IX. These inalienable rights are the same that, when so affronted

 by the last governing power, sparked a Revolution. When searching our history to

 understand and interpret laws in the present age, this history is the most

 illuminating.

       The Second Amendment is a time-honored civil right that has been enshrined

 in our Constitution for centuries; it deserves at least the same respect as befitting its

 status in the Bill of Rights. Even so, it has consistently been treated as a “second-

 class right.” See McDonald v. City of Chicago, 561 U.S. 742, 780 (2010) (“Municipal

 respondents, in effect, ask us to treat the right recognized in Heller as a second-class

 right, subject to an entirely different body of rules than the other Bill of Rights

 guarantees that we have held to be incorporated into the Due Process Clause.” (citing

 District of Columbia v. Heller, 554 U.S. 570 (2008))).


                                      Page 122 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 123 of 168     Page ID
                                          #439



 A. Supreme Court Jurisprudence

       As the Plaintiffs have established that the weapons, attachments, or

 ammunition-feeding devices proscribed by PICA are “Arms” included within the

 protective reach of the Second Amendment in line with Friedman and Bevis, the

 burden then shifts to the Government, who “must affirmatively prove” that PICA “is

 part of the historical tradition that delimits the outer bounds of the right to keep and

 bear arms” via a showing of “how and why the regulations burden a law-abiding

 citizen’s right to armed self-defense.” Bruen at 19, 29.

       In Bruen, we are instructed to search our history so that we may evaluate

 efforts to regulate and restrict arms. See New York State Rifle & Pistol Ass’n, Inc. v.

 Bruen, 597 U.S. 1, 17 (2022). Such a directive has caused courts and litigants to

 embark on a search of old laws that may serve as some historical analogue that may

 pair well with a present-day effort to restrict or even criminalize possession or

 purchase of firearms commonly held and used today. See, e.g., Rhode v. Becerra, No.

 28-CV-00802-BEN-JLB (S.D. Cal. 2024) (Doc. 79). In Bruen, the Supreme Court

 stated that the critical question in its history and tradition analysis is “how and why

 the regulations burden a law-abiding citizen’s right to armed self-defense.” Bruen at

 29. While the Bruen Court’s history and traditions analysis focused on public carry

 laws, this analysis is useful for our purposes here.

       The Bruen Court that “[t]hroughout modern Anglo-American history, the right

 to keep and bear arms in public has traditionally been subject to well-defined

 restrictions governing the intent for which one could carry arms, the manner of carry,




                                      Page 123 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 124 of 168        Page ID
                                          #440



 or the exceptional circumstances under which one could not carry arms.” Id. at 38.

 The Supreme Court cautioned that “that the English common law ‘is not to be taken

 in all respects to be that of America,’” even though “the Second Amendment ‘codified

 a right inherited from our English ancestors.’” Id. (quoting Heller at 599). Mentioned

 in both Bruen and Rahimi is the Statute of Northampton which

       [P]rovided that, with some exceptions, Englishmen could not “come
       before the King’s Justices, or other of the King’s Ministers doing their
       office, with force and arms, nor bring no force in affray of the peace, nor
       to go nor ride armed by night nor by day, in Fairs, Markets, nor in the
       presence of the Justices or other Ministers, nor in no part elsewhere,
       upon pain to forfeit their Armour to the King, and their Bodies to Prison
       at the King’s pleasure.

 Bruen at 40 (quoting 2 Edw. 3 c. 3 (1328)); see Rahimi at 1899 (citing Bruen at 40).

 The Supreme Court states, however, that

       The Statute of Northampton was enacted nearly 20 years before the
       Black Death, more than 200 years before the birth of Shakespeare, more
       than 350 years before the Salem Witch Trials, more than 450 years
       before the ratification of the Constitution, and nearly 550 years before
       the adoption of the Fourteenth Amendment.

 The Supreme Court notes that “the Statute of Northampton survived both Sir John

 Knight’s Case and the English Bill of Rights, but it was no obstacle to public carry for

 self-defense in the decades leading to the founding.” Bruen at 45. Indeed, “Serjeant

 William Hawkins, in his widely read 1716 treatise, confirmed that ‘no wearing of

 Arms is within the meaning of [the Statute of Northampton], unless it be

 accompanied with such Circumstances as are apt to terrify the People.’” Id. (quoting

 1 Pleas of the Crown 136). In conclusion, the Supreme Court concluded that “we

 cannot conclude from this historical record that, by the time of the founding, English




                                      Page 124 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24   Page 125 of 168     Page ID
                                          #441



 law would have justified restricting the right to publicly bear arms suited for self-

 defense only to those who demonstrate some special need for self-protection.” Id. at

 46.

       In the colonial era, “Massachusetts and New Hampshire both authorized

 justices of the peace to arrest ‘all Affrayers, Rioters, Disturbers, or Breakers of the

 Peace, and such as shall ride or go armed Offensively . . . by Night or by Day, in Fear

 or Affray of Their Majesties Liege People.” Id. (quoting 1692 Mass. Acts and Laws no.

 6, pp. 11–12) (citing 1699 N. H. Acts and Laws ch. 1). The Supreme Court also

 discusses 18th and 19th-century statutes from Virginia, Massachusetts, and

 Tennessee which are in this same vein. See id. at 49–50 (quoting Collection of All

 Such Acts of the General Assembly of Virginia ch. 21, p. 33 (1794); 1795 Mass. Acts

 and Laws ch. 2, p. 436, in Laws of the Commonwealth of Massachusetts; 1801 Tenn.

 Acts pp. 260–61).

       Sweeping such statutes aside, the Supreme Court states that “[f]ar from

 banning the carrying of any class of firearms, they merely codified the existing

 common-law offense of bearing arms to terrorize the people, as had the Statute of

 Northampton itself.” Id. at 47 (internal citation omitted). Bruen also discusses a New

 Jersey law specifically regulating “pocket pistols,” which are not at issue in the

 instant suit. Id. at 47–48 (quoting An Act Against Wearing Swords, &c., ch. 9, in

 Grants, Concessions, and Original Constitutions of the Province of New Jersey 290

 (2d ed. 1881) (Grants and Concessions)).




                                     Page 125 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 126 of 168     Page ID
                                          #442



       Decided after Bevis, Rahimi once more provides a template for historical

 analysis. The Supreme Court notes that it “reviewed the history of American gun

 laws extensively in Heller and Bruen” and that “[f]rom the earliest days of the

 common law, firearm regulations have included provisions barring people from

 misusing weapons to harm or menace others.” Rahimi at 1899. Indeed, “[t]he act of

 ‘go[ing] armed to terrify the King’s subjects’ was recognized at common law as a ‘great

 offence.’” Id. (citing Sir John Knight's Case, 3 Mod. 117, 118, 87 Eng. Rep. 75, 76 (K.

 B. 1686)). “Parliament began codifying prohibitions against such conduct as early as

 the 1200s and 1300s, most notably in the Statute of Northampton of 1328.” Id. (citing

 Bruen, 597 U.S., at 40). “In the aftermath of the Reformation and the English Civil

 War, Parliament passed further restrictions” including “[t]he Militia Act of 1662

 [which] authorized the King’s agents to ‘seize all Armes in the custody or possession

 of any person . . . judge[d] dangerous to the Peace of the Kingdome.’” Id. (citing 14

 Car. 2 c. 3, § 13 (1662); J. Greenlee, The Historical Justification for Prohibiting

 Dangerous Persons From Possessing Arms, 20 WYO. L. REV. 249, 259 (2020)).

       Continuing forward, “[t]he Glorious Revolution cut back on the power of the

 Crown to disarm its subjects unilaterally.” Id. “King James II had ‘caus[ed] several

 good Subjects being Protestants to be disarmed at the same Time when Papists were

 . . . armed.’” Id. (citing 1 Wm. & Mary c. 2, § 6, in 3 Eng. Stat. at Large 440 (1689)).

 “By way of rebuke, Parliament adopted the English Bill of Rights, which guaranteed

 ‘that the Subjects which are Protestants, may have Arms for their Defence suitable

 to their Conditions, and as allowed by Law.’” (Id. (citing 1 Wm. & Mary c. 2, § 7, in 3




                                      Page 126 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24     Page 127 of 168     Page ID
                                          #443



 Eng. Stat. at Large 441 (1689)). “But as the document itself memorialized, the

 principle that arms-bearing was constrained ‘by Law’ remained.” (Id. (citing 1 Wm.

 & Mary c. 2, § 7, in 3 Eng. Stat. at Large 441 (1689)). Comparing English with

 American law, the Supreme Court notes that while “English law had disarmed not

 only brigands and highwaymen but also political opponents and disfavored religious

 groups,” in the United States at “the time of the founding, . . . state constitutions and

 the Second Amendment had largely eliminated governmental authority to disarm

 political opponents on this side of the Atlantic.” Id. (citing Heller at 594–595, 600–

 603). It is at this point in its analysis that the Supreme Court delves into the history

 of surety and frankpledge laws, which are not relevant to the discussion of PICA.

       In his concurrence in Rahimi, Justice Kavanaugh provides a blueprint for this

 Court’s analysis of the Second Amendment. See 144 S. Ct. 1889 (2024). Many courts

 have used Second Amendment cases to make policy decisions; as he writes:

       Some say that courts should determine exceptions to broadly worded
       individual rights, including the Second Amendment, by looking to
       policy. Uphold a law if it is a good idea; strike it down if it is not. True,
       the proponents of a policy-based approach to interpretation of broadly
       worded or vague constitutional text usually do not say so explicitly
       (although some do). Rather, they support a balancing approach
       variously known as means-end scrutiny, heightened scrutiny, tiers of
       scrutiny, rational basis with bite, or strict or intermediate or
       intermediate-plus or rigorous or skeptical scrutiny. Whatever the label
       of the day, that balancing approach is policy by another name. It
       requires judges to weigh the benefits against the burdens of a law and
       to uphold the law as constitutional if, in the judge’s view, the law is
       sufficiently reasonable or important. See M. Barnes & E. Chemerinsky,
       The Once and Future Equal Protection Doctrine?, 43 CONN. L. REV. 1059,
       1080 (2011) (“The levels of scrutiny are essentially balancing tests”).




                                      Page 127 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24     Page 128 of 168     Page ID
                                          #444



 Rahimi at 1920 (Kavanaugh, J., concurring). He argues that this “kind of balancing

 approach to constitutional interpretation departs from what Framers such as

 Madison stated, what jurists such as Marshall and Scalia did, what judges as umpires

 should strive to do, and what this Court has actually done across the constitutional

 landscape for the last two centuries.” Id. at 1921. He writes that “[o]ne major problem

 with using a balancing approach to determine exceptions to constitutional rights is

 that it requires highly subjective judicial evaluations of how important a law is—at

 least unless the balancing test itself incorporates history, in which case judges might

 as well just continue to rely on history directly.” Moreover, “[t]he subjective balancing

 approach forces judges to act more like legislators who decide what the law should

 be, rather than judges who ‘say what the law is.’” Id. (citing Marbury v. Madison, 5

 U.S. (1 Cranch) 137 (1803)). While “[t]he historical approach is not perfect,” Justice

 Kavanaugh writes that “the historical approach is superior to judicial policymaking.”

 Id. at 1922. This approach “depends upon a body of evidence susceptible of reasoned

 analysis rather than a variety of vague ethico-political First Principles whose

 combined conclusion can be found to point in any direction the judges favor.” Id.

 (citing McDonald at 804). “Moreover, the historical approach ‘intrudes less upon the

 democratic process because the rights it acknowledges are those established by a

 constitutional history formed by democratic decisions; and the rights it fails to

 acknowledge are left to be democratically adopted or rejected by the people.’” Id.

 (citing McDonald at 805). While “Second Amendment jurisprudence is still in the

 relatively early innings, unlike the First, Fourth, and Sixth Amendments . . . because




                                      Page 128 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24     Page 129 of 168      Page ID
                                          #445



 the Court did not have occasion to recognize the Second Amendment’s individual

 right until recently,” Justice Kavanaugh writes that even though “[d]eciding

 constitutional cases in a still-developing area of this Court’s jurisprudence can

 sometimes be difficult[,] . . . that is not a permission slip for a judge to let

 constitutional analysis morph into policy preferences under the guise of a balancing

 test that churns out the judge’s own policy beliefs.” Id. at 1923–24 (citing Heller v.

 District of Columbia, 670 F.3d 1244, 1269–96 (D.C. Cir. 2011) (Kavanaugh, J.,

 dissenting)).

 B. Seventh Circuit Jurisprudence

       In assessing the “how and why” question, the Bevis Court wrote that

       For all its disclaiming of balancing approaches, Bruen appears to call for
       just that: a broader restriction burdens the Second Amendment right
       more, and thus requires a closer analogical fit between the modern
       regulation and traditional ones; a narrower restriction with less impact
       on the constitutional right might survive with a looser fit.

 Bevis at 1799. The Seventh Circuit noted that “[i]t is at this stage that many courts,

 as well as the state parties here, point to the long-standing tradition of regulating the

 especially dangerous weapons of the time, whether they were firearms, explosives,

 Bowie knives, or other like devices.” Id. The Seventh Circuit states that “[t]he laws

 before us have one huge carve-out: people who presently own the listed firearms or

 ammunition are entitled to keep them, subject only to a registration requirement that

 is no more onerous than many found in history.” Id. “This,” the Court writes “is

 enough, in our view, to satisfy the ‘how’ question Bruen identified.” Id. at 1799–1800.




                                      Page 129 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24     Page 130 of 168      Page ID
                                          #446



       Regarding the “why” question, the Bevis Court writes that “Bruen makes clear

 that the question whether a burden is “comparably justified” cannot be answered by

 pointing to the gravity of the harms the legislation was designed to avert and the

 appropriateness of the mechanism they adopt. Bevis at 1800 (citing Bruen at 2133,

 2129). The majority writes that the Bevis dissent “chooses to take a purposive

 approach to this question[, asking] what were the reasons motivating the historical

 regulations, and do they map well onto the reasons behind the modern law?” The

 majority, because of concerns about differing legislative goals, looks to the

 introductory language of PICA. Id. While “the dissent notes that the bill enacted by

 the City of Naperville recites a few of the many mass shootings that have occurred

 during the last decade, id. (citing id. at 1217 n.13), the Bevis Court writes that “the

 bill also expressly states that the purpose of the ordinance is to protect public health,

 safety, and welfare.” Id. (citing City of Naperville, Ill., Ordinance No. 22-099, at 4

 (Aug. 16, 2022)). The Seventh Circuit also lists the following historical examples

 which it argues support PICA’s regulation of firearms:

       • In 1746, Boston outlawed the discharging of any cannon, gun, or pistol
       within city limits, but it explained that soldiers were still permitted to
       discharge weaponry on their training days. See Chapter 11—An Act to
       Prevent the Firing of Guns Charged with Shot[t] or Ball in the Town of
       Boston, §§ 1–3, in 3 The Acts and Resolves of the Province of the
       Massachusetts Bay 1742-1756, at 309 (1878).

       • Other cities, such as Cleveland, Ohio, implemented similar ordinances
       throughout the 19th century, again exempting military companies
       during drills. See Chapter 33—Fire Arms, §§ 417–423, in Ordinances of
       the City of Cleveland 136–37 (H.L. Vail & L.M. Snyder, eds., 1890).

       • There are dozens of examples of Bowie knife regulations, forbidding or
       limiting the use of these dangerous weapons. Several of those featured



                                      Page 130 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 131 of 168        Page ID
                                          #447



       military exceptions. In 1884, for example, Arkansas outlawed the sale of
       all dirks, Bowie knives, cane-swords, metal knuckles, and pistols, except
       as for use in the army or navy of the United States. See Chapter 53—
       Carrying Weapons, §§ 1907–1909, in A Digest of the Statutes of
       Arkansas 490 (W.W. Mansfield, ed., 1884).

       • Several city ordinances in the late 1800s followed suit, restricting the
       carry of a wide array of dangerous and concealable weapons (slingshots,
       metal knuckles, Bowie knives, daggers, pistols, and clubs), but
       exempting “peace officers” and “conservator[s] of the peace.” See Chapter
       6—Offenses Against the Peace of the City, § 182, in The Revised
       Ordinances of Provo City 106–07 (1877); Chapter 534—Ordinances of
       Baltimore, § 742A, in The Baltimore City *1202 Code 297–98 (John
       Prentiss Poe, ed., 1893).

       • The federal government continued this tradition when it began
       passing gun control laws. The National Firearms Act of 1934 imposed
       taxation and registration requirements on all guns, but it exempted
       transfers to the U.S. government, states, territories, political
       subdivisions, and peace officers. See Pub. L. No. 73-474, §§ 1-12, § 13, 48
       Stat. 1236, 1236-40, 1240 (1934).

       • Federal restrictions expanded in 1968, when sale and delivery of
       destructive devices (defined as an “explosive, incendiary, or poison gas
       bomb, grenade, mine, rocket, missile, or similar device”) and
       machineguns were severely restricted. See Omnibus Crime Control and
       Safe Streets Act of 1968, Pub. L. No. 90-351, § 921(a)(4), § 922(b), 82
       Stat. 197, 227, 230 (1968). Once again, these provisions did not apply to
       items sold to the United States or to any individual state. Id. § 925(a),
       82 Stat. at 233.

       • Machineguns were banned by the Firearm Owners' Protection Act of
       1986. Since then, civilian ownership has been capped at pre1986 levels
       and only military and law enforcement have access to these weapons.
       See Pub. L. No. 99-308, § 102(9), 100 Stat. 449, 453 (1986).

 Bevis at 1201–02.

 C. The Parties’ Arguments




                                     Page 131 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24     Page 132 of 168      Page ID
                                           #448



       As the burden is on the Government to prove that PICA fits within the history

 and regulation of firearms in this nation, the Court will consider their arguments

 before moving to the Plaintiffs’ rebuttal.

       1. Items Restricted by PICA

       The Government argues that “Illinois’s Act, like the numerous historical

 regulations before it, continues a historical tradition of regulating dangerous and

 unusual weapons in the interest of public safety that has existed throughout

 American history.” (Doc. 247, ¶ 485 (citing Doc. 190, Ex. 2, (Delay Rep.), ¶ 79; Doc.

 185, Ex. 5 (Spitzer), ¶ 89)). They argue that “Illinois is not alone in regulating these

 weapons: thirteen other states, plus Washington D.C., regulate assault weapons,

 large capacity magazines, or both.” (Id.; see also id. n.15 (collecting statutes including:

 California (Cal. Penal Code §§ 16350, 16790, 16890, 30500-31115); Colorado (Colo.

 Rev. Stat. § 18-12-302; Connecticut (Conn. Gen. Stat. §§ 53-202a – 53-202o); Delaware

 (Del. Code tit. 11, § 1466(a); District of Columbia (DC Code Ann. §§ 7-2501.01(3A), 7-

 2502.02(a)(6), 7-2505.01, 7-2505.02(a), (c)); Hawaii (Haw. Rev. Stat. Ann. §§ 134-1,

 134-4, 134-8); Maryland (Md. Code Ann., Crim. Law §§ 4-301 – 4-306; Md. Code Ann.,

 Pub. Safety § 5-101(r)); Massachusetts (Mass. Gen. Laws ch. 140, §§ 121, 122, 123,

 131M); New Jersey (N.J. Stat. Ann. §§ 2C:39-1w, 2C:39-5, 2C:58-5, 2C:58-12, 2C:58-

 13); New York (N.Y. Penal Law §§ 265.00(22), 265.02(7), 265.10, 400.00(16-a));

 Oregon (2022 Oregon Ballot Measure 114, SEC. 11); Rhode Island (R.I. Gen. Laws.

 §§ 11-47.1-2, 11-47.1-3); Vermont (13 V.S.A. § 4021(a)); Washington (Rev. Code Wash.

 (ARCW) Chp. 9.41 as amended by 2023 HB 1240))).




                                       Page 132 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24     Page 133 of 168      Page ID
                                           #449



       The Government insists that “[h]istorical regulations show that since the

 Founding there has been an unbroken tradition of regulating weapons when

 technological advances generate unprecedented social consequences.” (Id., ¶ 486

 (citing Doc. 185, Ex. 5 (Spitzer Rep.), ¶¶ 63–89; Doc. 190, Ex. 2 (DeLay Rep.), ¶¶ 51,

 64–65, 77–78; Doc. 185, Ex. 6 (Roth Rep.), ¶ 47; Bevis v. Naperville, 85 F.4th 1175,

 1200 (7th Cir. 2023))). The Government specifically refers to laws from New Jersey,

 Virginia, and Massachusetts restricting concealed carry and riding armed with

 certain weapons, (id., ¶¶ 488–90 (citing id., appx. 1, Nos. 1, 6, 10) as well as to the

 Statute of Northampton mentioned above (id., ¶ 489 (quoting 4 WILLIAM

 BLACKSTONE, COMMENTARIES ON THE LAWS OF ENGLAND, 148–49 (1769))). They posit

 that legislatures restricted various weapons when they threatened public safety,

 including bowie knives (id., ¶¶ 494–502); percussion cap pistols (id., ¶¶ 503–07);

 revolvers when they appeared in the 19th century (id., ¶¶ 508–30); and automatic

 and semiautomatic weapons when they appeared in the early 20th century (id., ¶¶

 531–45). They also argue that military weapons have been restricted, pointing to

 Boston’s 1746 cannon discharge law (see id., ¶ 547 (citing id., appx. tbl. 6, No. 1; Bevis,

 85 F. 4th at 1201)) and to the fact that an 1837 weapons restriction in Georgia was

 stated to “not extend to Sheriffs, Deputy Sheriffs, Marshals, Constables, Overseers

 or Patrols, in actual discharge of their respective duties, but not otherwise.” (Id., ¶

 548 (quoting Doc. 190, Ex. 2 (DeLay Rep.), ¶ 88)). The Government insists that “[a]

 number of 19th century restrictions on carrying handheld firearms included

 exceptions for military firearms” including “Tennessee’s 1879 law [which] prohibited




                                       Page 133 of 168
Case 3:23-cv-00141-SPM         Document 54      Filed 11/08/24   Page 134 of 168   Page ID
                                              #450



 the carrying of ‘any dirk, razor concealed about his person, sword cane, loaded cane,

 slung-shot or brass knucks, Spanish stiletto, belt or pocket pistol, revolver, or any

 kind of pistol,’ but made an exception for ‘the army or navy pistol used in warfare,

 which shall be carried openly in hand.’” (Id., ¶ 550 (quoting id., appx. tbl. 4, No. 7)

 (citing id., appx. tbl. 6, Nos. 3, 4, 6, 7, 17, 18, 23, 33)).

        Continuing on, the Government states that “[b]etween 1864 and 1892, at least

 eighteen states and three territories incorporated explicit exemptions for law

 enforcement and/or military personnel into laws regulating firearms” including

 Georgia, Missouri, Idaho, New Mexico, and Arizona. (Id., ¶ 557 (citing Doc. 190, Ex.

 2 (DeLay Rep.), ¶ 92 nn.127, 128; Doc. 247, appx. tbl. 6.)). They argue that cities

 continued this trend, “restricting the carry of a wide array of dangerous and

 concealable weapons (slingshots, metal knuckles, Bowie knives, daggers, pistols, and

 clubs), but exempting ‘peace officers’ and ‘conservator[s] of the peace.’” (Id., ¶ 558

 (citing (See Doc. 190, Ex. 2 (DeLay Rep.), ¶ 93; Doc. 247, appx. tbl. 6). “Municipalities

 adopting these types of ordinances included: Memphis, Tennessee (1869); Jersey City,

 New Jersey (1868); Washington, D.C. (1871); Omaha, Nebraska (1872); Fayetteville,

 Tennessee (1876); Mexico, Missouri (1877); Provo City, Utah (1877); Kansas City,

 Missouri (1880); Albany, New York (1887); and Milwaukee, Wisconsin (1888).” (Id., ¶

 558 (citing (See Doc. 190, Ex. 2 (DeLay Rep.), ¶ 93; Doc. 247, appx. tbl. 6). They argue

 this same tradition includes the National Firearms Act of 1934 (see id., ¶ 560 (citing

 Pub. L. No. 73-474, §§ 1-13, 48 Stat. 1236-40 (1934))); the Omnibus Crime Control

 and Safe Streets Act of 1968, Pub. L. No. 90-351, §§§ 921(a) (4), 922(b), 925(a), 82




                                         Page 134 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 135 of 168     Page ID
                                          #451



 Stat. 197, 227, 230 (1968) (see id., ¶ 561 (citing the same)); and the federal Firearm

 Owners’ Protection Act of 1986 (see id., ¶ 562 (citing Pub. L. No. 99-308, § 102(9), 100

 Stat. 449, 453 (1986))).

       The Government posits that “[a]ssault weapons and large capacity magazines

 represent dramatic technological changes from the weaponry of the ratifying eras.

 Compared to the muskets of 1791 or the Colt revolvers or Winchester repeating rifles

 of 1868, the weapons and magazines regulated by the Act are terrifyingly efficient

 killing machines.” (Doc. 248, p. 52). They argue that “[i]n Colonial times, the firearms

 owned by Americans—muskets and fowling pieces—were infrequently associated

 with criminal violence” and “were not typically stored ready to fire because of the risk

 of corrosion, and this reduced the likelihood of impulsive use.” (Id., pp. 52–53 (citing

 Doc. 247, ¶ 492)). They also insist that “in the last two decades, mass shootings have

 come to threaten Americans’ everyday lives at school, places of worship, work, and

 everywhere in between,” and that “[a]t the same time, the proliferation of assault

 weapons and large capacity magazines has hampered law enforcement’s ability to

 prevent and respond to active shooters.” (Id., p. 53). The Government argues that

 “[t]his Court should join other courts in concluding that mass shootings using assault

 weapons and large capacity magazines are an unprecedented societal concern.” (Id.,

 p. 55 (citing Bianchi, 111 F.4th at 463; Rupp v. Bonta, No. 17-cv-746, 2024 WL

 1142061, at *33 (C.D. Cal. Mar. 15, 2024); Or. Firearms Fed’n v. Kotek, 682 F. Supp.

 3d 874, 924 (D. Or. 2023); Del. State Sportsmen’s Ass’n v. Del. Dep’t of Safety &

 Homeland Sec., 664 F. Supp. 3d 584, 599 (D. Del. 2023); Nat’l Ass’n for Gun Rights v.




                                      Page 135 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24     Page 136 of 168      Page ID
                                           #452



 Lamont, 685 F. Supp. 3d 63, 107 (D. Conn. 2023); Hartford v. Ferguson, 676 F. Supp.

 3d 897, 907 (W.D. Wash. 2023))).

       Thus, the Government posits that, because assault weapons pose such a risk

 to society, they must be categorized and regulated as being “dangerous and unusual”

 like similar weapons in the past. (See id., p. 55 (citing Heller, 554 U.S. at 627; 4 W.

 BLACKSTONE, COMMENTARIES ON THE LAWS OF ENGLAND 148–49 (1769)); Bruen, 597

 U.S. at 21; id. at 81 (Kavanaugh, J., concurring) (“[N]othing . . . should be taken to

 cast doubt on . . . the historical tradition of prohibiting the carrying of dangerous and

 unusual weapons.”); Rahimi, 144 S. Ct. at 1897 (discussing tradition of “bann[ing]

 the carrying of ‘dangerous and unusual weapons’”); Bevis, 85 F.4th at 1190

 (recognizing the “long-standing tradition of regulating the especially dangerous

 weapons of the time, whether they were firearms, explosives, Bowie knives, or other

 like devices”))). They argue that PICA “continues the through line from regulations

 of ‘fighting knives’ and pistols in the 18th and 19th centuries, to revolvers in the latter

 half of the 19th century, to machine guns and large capacity semiautomatic guns in

 the early 20th century, to assault weapons and large capacity magazines in the late

 20th and early 21st centuries.” (Id., pp. 59–60). They argue that PICA imposes a

 “comparable burden on the right of armed self-defense,” (id., p. 60 (quoting Bruen at

 3)) and that Illinois citizens may still choose from a variety of weapons for self-defense

 and because Illinois does not limit the number of magazines one may possess, but

 rather the size of the magazines themselves (id., pp. 61–62).




                                       Page 136 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24    Page 137 of 168      Page ID
                                           #453



       The Plaintiffs tell a different story, arguing that “PICA’s broad prohibition of

 those firearms and feeding devices does not fall within that historical tradition.” (Doc.

 253, p. 69). They argue that “[t]o the extent Heller, Bruen, and Bevis leave room for

 any other historical tradition that might justify banning common arms that are not

 exclusively or predominantly useful in military service, Defendants have not

 identified one,” and “[t]o the contrary, the historical record reveals a long tradition of

 welcoming technological advancements aimed at enhancing law-abiding citizens’

 ability to safely possess and accurately fire repeatedly.” (Id., p. 76). In opposition to

 the Government’s arguments, they insist that “[b]road bans on the ownership and

 use of firearms by colonists and early Americans were exceedingly rare in the early

 Republic.” (Id. (citing Doc. 185, Ex. 6 (Roth Rep.), ¶¶ 22–23 (confirming that “there

 was little interest among public officials in the North in restricting the use of firearms

 during the Early National period, except in duels,” but [sic] some such laws “in a

 number of slave states”))). Instead, they argue that “disarmament laws directed

 toward unfavored groups . . . were plentiful” (id. (citing Doc. 185, Ex. 6 (Roth Rep.), ¶

 14)), but that “to the extent such invidious laws could even evince a constitutionally

 valid historical tradition of firearm regulation, they do not begin to justify a blanket

 ban on common firearms.” (Id. (citing Range v. Att’y Gen., 69 F.4th 96, 104 (3d Cir.

 2023) (en banc), judgment vacated, Garland v. Range, 144 S. Ct. 2706 (2024) (Mem.)

 (doubting that proposition); Tr. of Oral Argument 53:16-19, United States v. Rahimi,

 No. 22-915 (U.S. Nov. 7, 2023) (Solicitor General Prelogar: Those laws “were [a]n

 application[] of a separate principle under the Second Amendment, which is that




                                       Page 137 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24    Page 138 of 168      Page ID
                                           #454



 those who are not considered among the people can be disarmed.”)). “The near-total

 absence of broad bans on the ownership and use of common firearms with the kinds

 of features PICA singles out extended through nearly all of America’s history”

 because “[a]ll the way until ‘the 1990’s, there was no national history of banning

 weapons because they were equipped with furniture like pistol grips, collapsible

 stocks, flash hiders, . . . or barrel shrouds.’” (Id., p. 77 (quoting Miller v. Bonta, 542

 F.Supp.3d 1009, 1024 (S.D. Cal. 2021), vacated and remanded, 2022 WL 3095986 (9th

 Cir. Aug. 1, 2022); Rhode v. Bonta, No. 3:18-cv-00802-BEN-JLB (S.D. Cal. Jan. 11,

 2023), Dkt.79-3 (cataloging gun restrictions from before the Founding to the mid-

 1900s, none of which restricted firearm possession because they were multi-shot arms

 or because they were equipped with larger capacity magazines or certain other

 accessories); Doc. 69, Ex. 2 (Hlebinsky Rep.), ¶ 36 (“Pistol grips appear on long arms

 dating to at least the 1700s.”))). The Plaintiffs argue that “[n]o state banned so-called

 ‘assault weapons’ until 1989.” (Id. (quoting Doc. 185, Ex. 5 (Spitzer Rep.), ¶ 10) (citing

 Miller v. Bonta, 542 F.Supp.3d at 1024 (highlighting California’s “1989 ban”))). They

 argue the same is true for “restrictions on ammunition feeding devices and magazine

 capacity. (Id., pp. 77–78 (citing Maxine Bernstein, From Bowie Knives to Muskets and

 Machine Guns, Historians Testify in Measure 114 Trial about America’s Gun History,

 Regulations, THE OREGONIAN (June 8, 2023), bit.ly/3p4qvdi (noting that one of the

 state’s historians conceded that “he knew of no law” pre-1990 “that prohibited

 someone from acquiring an ammunition-feeding device”); David B. Kopel, The History

 of Firearm Magazines and Magazine Prohibitions, 78 ALBANY L. REV. 849, 864 (2015)




                                       Page 138 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24    Page 139 of 168      Page ID
                                           #455



 (noting that, when the Second Amendment and the Fourteenth Amendment were

 adopted, “there were no laws restricting ammunition capacity”))).

       Moving to specific laws, the Plaintiffs argue that they “are not aware of any

 antebellum statute that completely banned the sale or possession of Bowie knives”

 and that “[n]early all nineteenth-century Bowie-knife laws were instead limited to

 restricting concealed carry.” (Id., p. 78 (citing Doc. 185, Ex. 2 (Spitzer Rep.) ¶¶ 66–69,

 72–73)). They also argue that such laws were “short-lived” and that “the most onerous

 laws were contemporaneously deemed unconstitutional unless they were construed

 more narrowly.” (Id., pp. 78–79 (citing David Kopel, Bowie Knife Statutes 1837-1899,

 REASON.COM (Nov. 20, 2022), bit.ly/3RNRpQD; Nunn v. State, 1 Ga. 243 (1846);

 Bruen, 597 U.S. at 54 (singling out Nunn as “particularly instructive” regarding the

 Second Amendment’s meaning); Doc. 185, Ex. 2 (Spitzer Rep.), ¶ 69 (discussing

 Nunn))). They similarly argue that the restrictions on clubs, blunt weapons, and

 pistols were directed at specific racial groups and were “anti-carry laws,” which “flunk

 the ‘relevantly similar’ test for yet another reason: Laws that restrict only the

 carrying of certain types of arms (and primarily concealed carrying at that) are not

 remotely similar in how they regulate to a law that bans possession.” (Id., p. 79 (citing

 Doc. 185, Ex. 2 (Spitzer Rep.), ¶ 75; Bruen at 29)). Thus, “[e]arly regulations either

 prohibited concealed carry while allowing open carry or merely ‘prohibit[ed] bearing

 arms in a way that spreads “fear” or “terror” among the people.’” (Id., p. 81 (quoting

 Bruen at 50)). The Plaintiffs also discuss the statutes regulating trap guns and

 regulating automatic weapons. (Id., pp. 81–82).




                                      Page 139 of 168
Case 3:23-cv-00141-SPM        Document 54     Filed 11/08/24      Page 140 of 168     Page ID
                                            #456



        Regarding semiautomatic weapons, the Plaintiffs argue that “at most only

 seven to ten states and the District of Columbia restricted semiautomatic firearms at

 all during [the Prohibition Era]” and that “Defendants’ efforts to inflate those

 numbers are misleading in the extreme.” (Id., p. 82). They argue that the laws cited

 by the Government’s expert are ambiguous about whether they actually applied to

 semiautomatic weapons. (Id.). They argue that “[n]o state prohibits semiautomatic

 firearms entirely, and the semiautomatic firearms Illinois has banned are legal in (at

 least) 40 states.” (Id., pp. 83–84; see id., p. 84 n.14 (“Illinois’ ban is so aggressive that

 it reaches many arms that even some of the states that do have “assault weapon”

 bans do not prohibit.”); see also HAW. REV. STAT. §134-1 (defining “assault pistol” as a

 semiautomatic firearm that “accepts a detachable magazine and has two or more”

 additional features))).

        In a similar fashion, the Plaintiffs argue that “[t]he first state law actually

 restricting magazine capacity did not come until 1990—two centuries after the

 founding and well over a century after the ratification of the Fourteenth

 Amendment.” (Id. (citing 1990 N.J. Laws 217, 221, 235 (codified at N.J. Stat. Ann.

 §2C:39-1(y), -3(j)); Maxine Bernstein, From Bowie Knives to Muskets and Machine

 Guns, Historians Testify in Measure 114 Trial about America’s Gun History,

 Regulations, THE OREGONIAN (June 8, 2023) (one of the state’s historians conceded

 that “he knew of no law” pre-1990 “that prohibited someone from acquiring an

 ammunition-feeding device”); Doc. 69, Ex. 2 (Hlebinsky Rep.) ¶ 54)). They argue that




                                        Page 140 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 141 of 168     Page ID
                                          #457



 only the District of Columbia regulated magazines (and only since 1975, see id., p. 85

 (citing Act of July 8, 1932, Pub. L. No. 72-275, §§1, 14, 47 Stat. 650, 650, 654 (1932),

 (repealed 1934) (codified as amended at 26 U.S.C. §§5801-72)) and that the federal

 government did not regulate magazines until 1994. (See id. (citing Pub. L. No. 103-

 322, 108 Stat. 1796 (1994) (formerly codified at 18 U.S.C. §922(w)); Doc. 96, Ex. 2

 (Hlebinsky Rep.) ¶ 54)).

       The Plaintiffs also argue that “historical laws that regulated weapons use but

 provided for military and/or law enforcement exemptions do not demonstrate any

 tradition of prohibiting law-abiding citizens from possessing common arms.” (Id., p.

 86). “Illinois and its experts point to ‘nineteen states and three territories that

 incorporated explicit exemptions for law enforcement and/or military personnel into

 laws regulating firearms,’” but “by the state expert’s own admission, none of those

 laws imposed a ban on the sale and possession of common arms. One regulated only

 ‘brandishing,’ three ‘concerned’ only ‘sensitive places,’ and ‘all the other laws

 concerned concealed carry,’ not sale, possession, or even open carry.” (Id. (citing Doc.

 185, Ex. 4 (Delay Rep.) ¶ 92; n.127)).

       The Plaintiffs also argue that none of the examples cited by the Seventh Circuit

 in Bevis are sufficiently analogous to PICA as to support there being a history and

 tradition of regulation of semiautomatic rifles, magazines, and attachments. (See id.,

 pp. 86–88 (citations omitted)). Moreover, they disagree with the Government’s

 contention that mass shootings are a recent phenomenon. (See id., p. 89 (citing Doc.

 234 (9/16/2024 Trial Tr., State’s Opening), 15:2-8 (highlighting unlawful gun violence




                                      Page 141 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24   Page 142 of 168     Page ID
                                          #458



 with very first statements at trial); Doc. 185, Ex. 8 (Allen Rep.), ¶ 37 (“It is my

 understanding that the State of Illinois was concerned about public mass shootings

 and enacted the challenged law, in part, to address the problem of public mass

 shootings.”); Doc. 185, Ex., 2 (Andrew Rep.), ¶¶ 42–53 (similar); Doc. 185, Ex. 9

 (Ludwig Rep.), ¶ 6 (devoting entire expert report to issues of gun violence and

 magazines))). Instead, the Plaintiffs argue that “gun violence and mass shootings

 have unfortunately been an ugly part of life in the United States for a very long time.

 (Id. (citing STEPHEN P. HALBROOK, THE FOUNDERS’ SECOND AMENDMENT: ORIGINS OF

 THE RIGHT TO BEAR ARMS 105–06 (2008); Nat’l Rifle Ass’n v. Bondi, 61 F.4th 1317,


 1319 (11th Cir. 2023))). “As Dr. Roth explained, ‘[m]ass murder has been a fact of life

 in the United States since the mid-nineteenth century.’” (Id. (quoting Doc. 185, Ex. 6

 (Roth Rep.), ¶ 41–43 (highlighting examples of mass murders in the early to mid-to-

 late 1800s, one taking “sixty-nine lives,” another “twenty-two” and another

 “nineteen”))). They argue that “[g]un violence likewise was ‘common’ even in the ‘mid-

 seventeenth century,’ and ‘homicides committed with firearms was at that time 40

 percent and rose even higher in contested areas of the frontier.’” (Id. (quoting Doc.

 185, Ex. 6 (Roth Rep.), ¶¶ 18, 28–29 (noting “explo[sion]” of homicide rates in

 Revolutionary and Civil War eras, through the Mexican War and Reconstruction))).

 They argue that “Illinois tries to paint this Nation’s history as one in which gun

 violence and mass shootings were ‘rare’ until the innovation of the arms it bans, but

 it does so only by discounting the atrocities committed against unfavored groups.”

 (Id., pp. 89–90 (citing Doc. 185, Ex. 6 (Roth Rep.), ¶ 41 (“Mass killings of this type




                                     Page 142 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24   Page 143 of 168     Page ID
                                          #459



 were rare in the colonial, Revolutionary, and [e]arly National eras, outside of

 massacres of Native Americans, irregular warfare among citizens seeking political

 power, or public demonstrations that turned deadly.” (emphasis added)); Doc. 185,

 Ex. 6 (Roth Rep.), ¶ 11 (arguing that “apart from the slave South,” the United States

 “was perhaps the least homicidal society in the Western world in the early nineteenth

 century” (emphasis added)); Doc. 185, Ex. 6 (Roth Rep.), ¶ 18 (contending that

 “firearms had a modest impact on homicide rates” after discounting “hostile

 encounters with Native Americans,” or “slaves”); Doc. 185, Ex. 7 (Klarevas Rep.), pp.

 34, 37 (overlooking all atrocities against disfavored groups in claiming that “there is

 no known occurrence of a mass shooting resulting in double-digit fatalities at any

 point in time during the 173-year period between the nation’s founding in 1776 and

 1948” and that mass killings occur more often now than ever before))).

       The Plaintiffs argue that “even assuming the state identified some

 ‘unprecedented social concern,’ it fails to connect that concern to the firearms that

 PICA bans” because “[t]he firearms that Illinois has chosen to ban are used in only a

 small minority (not a majority) of mass shootings.” (Id., p. 91 (citing Doc. 185, Ex. 8

 (Allen Rep.), ¶¶ 42–43 (noting that 20% of mass shootings selected and reviewed

 involved “[a]ssault [w]eapons” and 41% involved “large capacity magazines”))).

 Moreover, “public data from the FBI shows that the numbers are even lower for some

 of those firearms when it comes to homicide in general—lower even than the

 handguns Heller deemed to be the country’s ‘quintessential self-defense weapon.” (Id.,

 p. 92 (quoting 554 U.S. at 629)). “Nationally, in 2019 (the latest complete data




                                     Page 143 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24        Page 144 of 168    Page ID
                                           #460



 available from the FBI’s Uniform Crime Reporting Program) only about 2.6% of

 murders (364 out of 13,927) were confirmed to have been committed with any type of

 rifle, which is below murders using knives (1,476), blunt objects (397), and ‘hands,

 fists, and feet’ (600), and far below murders using the very handguns that Heller and

 Bruen have already deemed protected (6,368). (Id. (citing FBI, 2019 CRIME IN THE

 UNITED STATES (2019), https://tinyurl.com/2tnwa5yu (further reporting about 1.4% of

 homicides are committed with a shotgun of any kind); FBI, CRIME DATA EXPLORER:

 EXPANDED     HOMICIDE     OFFENSES     CHARACTERISTICS       IN    THE   UNITED     STATES,

 https://bit.ly/3IF5A (confirming the same based on updated data); Doc. 185, Ex. 7

 (Klarevas Rep.), p. 32 (confirming the low rates of recorded crime committed with

 “assault weapons,” ranging, for example, “from a low of 2.4% in Baltimore, Maryland,

 to a high of 8.5% in Syracuse, New York,” and “5% . . . nationwide”); NICHOLAS J.

 JOHNSON, ET AL., FIREARMS LAW AND THE SECOND AMENDMENT 2000–01, 2005 (3d ed.

 2021) (2024 Supp.) (discussing FBI Crime statistics and noting that the “[h]andguns”

 deemed protected under Heller and Bruen, not the firearms banned by PICA, “are the

 most common firearm used in mass shootings, accounting for over 50 percent”))).

 Additionally, they argue that “Illinois has provided little to no support for the

 proposition that there is a causal link between any recent rise in mass shootings and

 the availability of arms that have been lawfully possessed by civilians for the better

 part of a century.” (Id., pp. 92–93 (citing Doc. 185, Ex. 8 (Allen Rep.), ¶¶ 37–38)). “The

 state’s inability to demonstrate a causal link between its weapons ban and reducing




                                      Page 144 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24   Page 145 of 168     Page ID
                                          #461



 gun violence is striking given that PICA ‘defines ‘assault weapon’ using language that

 is largely borrowed from the expired Federal Assault Weapons Ban.’” (Id., p. 93 (citing

 Bevis, 85 F.4th at 1183)). “Yet, as noted, Congress declined to renew that federal ban

 in 2004 after the Department of Justice found that it led to ‘no discernible reduction’

 in firearms violence nationally.” (Id. (citing CHRISTOPHER S. KOPER ET AL., AN

 UPDATED ASSESSMENT OF THE FEDERAL ASSAULT WEAPONS BAN: IMPACTS ON GUN

 MARKETS AND GUN VIOLENCE, 1994–2003, at 96 (2004), https://bit.ly/3wUdGRE

 [https://perma.cc/PD4F-YE8R])).

       In summary, they argue that “[f]irearms technology is constantly evolving, but

 one thing has never changed: Law-abiding citizens who wish to possess and carry

 firearms for self-defense have consistently welcomed features that enhance the

 accuracy, efficiency, and speed with which they can fire them.” (Id., p. 94 (citing id.

 35–78; David B. Kopel, Rational Basis Analysis of “Assault Weapon” Prohibition, 20

 J. CONTEMP. L. 381, 395–96 (1994); Factoring Criteria for Firearms with Attached

 “Stabilizing Braces”, 86 Fed. Reg. 30,826, 30,827 (June 10, 2021))).




       2. PICA’s Registration Requirement

       The Government latches onto the Seventh Circuit’s preliminary assessment in

 Bevis that the PICA registration requirement “is no more onerous than that found

 throughout history.” Bevis at 1202, 1219. “Like the ‘shall-issue’ licensing schemes

 that the Supreme Court approved in Bruen, the Act’s optional registration process is




                                     Page 145 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24    Page 146 of 168      Page ID
                                           #462



 automatic and not subject to official discretion.” (Doc. 248, p. 63 (citing Bruen, 597

 U.S. at 38 n.9; Heller, 554 U.S. at 635)). They argue that this means that “[t]his

 requirement is therefore subject only to rational basis review—a standard it easily

 surpasses.” (Id. (citing Bevis, 85 F.4th at 1202); see id. n.43 (arguing that, even if a

 separate history and tradition analysis were required for the registration provision,

 the registration provision is valid under such an analysis))). They argue that “the

 affidavit effectuates the rational legislative purpose to ‘balance’ the public safety

 interest in ‘limiting the number of firearms [ ] most likely to result in a mass shooting’

 against Illinois residents’ ‘reliance interest in retaining possession of items legally

 acquired before such acquisition was prohibited.’” (Id., pp. 64–65 (quoting Caulkins

 v. Pritzker, 2023 IL 129453, ¶¶ 62–63; Minerva Dairy v. Harsdorf, 905 F.3d 1047,

 1055 (7th Cir. 2018) (“[O]n rational-basis review the state does not need to present

 actual evidence to support its proffered rationale for the law, which can be based on

 rational speculation unsupported by evidence or empirical data.”) (cleaned up))).

       While the Plaintiffs’ primary brief does not discuss the registration

 requirement (see Doc. 253), the FFL Plaintiffs submitted a separate brief (Doc. 255)

 in which they address arguments not asserted by the other Plaintiffs—“their

 challenges to the constitutionality of provisions of [PICA] (1) requiring registration

 to maintain lawful possession of the firearms, ammunition, and parts it restricts; and

 (2) restricting the right to keep firearms in working order and suitable for the specific

 user by banning certain parts.” (Id., p. 2).




                                       Page 146 of 168
Case 3:23-cv-00141-SPM        Document 54     Filed 11/08/24   Page 147 of 168    Page ID
                                            #463



        They argue that named Plaintiff Chris Moore “possessed, kept, and bore in

 Illinois at least one firearm that is now classified as an ‘assault weapon’ under PICA

 (a semiautomatic rifle with a detachable magazine and pistol grip, adjustable stock,

 barrel shroud, and flash suppressor), which he could no longer lawfully possess in

 Illinois” and that he refused to register this weapon prior to the January 1, 2024

 deadline. (Id., p. 3 (citing Moore Decl. ¶¶ 5,7)). They argue “[b]ut for PICA, Mr. Moore

 would lawfully possess that rifle in Illinois, which he is currently prohibited from

 doing.” (Id. (citing Moore Decl. ¶ 8(a))). They argue that the organizational Plaintiffs

 (e.g., Gun Owners of America, Inc. (“GOA”), Guns Save Life (“GSL”), and Gun Owners

 Foundation (“GOF”)) also have various members similarly suffering a constitutional

 injury in fact. (See id., pp. 3–4).

        The FFL Plaintiffs argue that “[t]here can be no historical tradition of

 registering arms with the government when one of the Second Amendment’s main

 purposes was to be a ‘doomsday provision’ for the People to protect themselves from

 a tyrannical government.” (Id., p. 6 (citing Silveira v. Lockyer, 328 F.3d 567, 570 (9th

 Cir. 2003) (Kozinski, J., dissenting from denial of rehearing en banc))). They argue

 that “[t]he Second Amendment was written by people who had just revolted against

 a tyrannical government” and that the writings of Tench Coxe, a Constitutional

 Convention delegate, typified the views of the time. (Id., p. 5). They argue that the

 Government’s citation of militia muster laws “appear to have merit at first glance but

 fail upon closer scrutiny” for failure to adequately answer the “how” and why”

 questions required by the Supreme Court in Bruen. (Id., p. 7 (citing Doc. 131 (State’s




                                       Page 147 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24   Page 148 of 168     Page ID
                                           #464



 Opp. to Second MPI), at 39–40; 1631 Va. Acts 174, Acts of Feb. 24, 1631, Act LVI;

 Bruen, 597 U.S. at 29)). They argue that these laws were narrowly confined to militia

 members (the “how”) and that these “laws were not an exception to a categorical ban

 of common arms, ammunition, and parts like PICA’s registration is” but instead

 “sought the opposite—to guarantee that enough fighting-age males were sufficiently

 armed.” (Id., pp. 7–8). They argue that such laws are insufficiently analogous to PICA

 in accordance with Bruen’s test. (See id., pp. 7–10). The FFL Plaintiffs also indicate

 that “none of these few historical laws that the state posits actually banned any

 weapons at all” (id., p. 9 (footnote omitted)) and argue that “[r]egistration laws did

 not even first appear until the 20th century” (id., p. 10). In summary, they argue that

 “no historical tradition supports requiring registration with the government classes

 of commonly owned firearms, ammunition, or firearm parts merely to maintain their

 lawful possession.” (Id., p. 11).

        Regarding firearms parts, the FFL Plaintiffs argue that “without certain parts,

 so too could firearms be rendered useless or significantly neutered. (Id., p. 13 (citing

 Jackson v. City & Cnty. of San Francisco, 746 F.3d 953, 967 (9th Cir. 2014))). They

 analogize the possession and use of certain firearms parts to established Seventh

 Circuit precedent, arguing that “[t]he right to possess firearms for protection implies

 a corresponding right to acquire and maintain proficiency in their use; the core right

 wouldn’t mean much without the training and practice that make it effective.” (Id.

 (citing Ezell v. City of Chicago, 651 F.3d 684, 704 (7th Cir. 2011))). They also cite to

 the Fifth Circuit’s idiosyncratic “right to personal gunsmithing.” (Id. (citing




                                      Page 148 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24     Page 149 of 168     Page ID
                                           #465



 VanDerStok v. Garland, 2023 WL 7403413, at *4 (5th Cir. Nov. 9, 2023); Mock v.

 Garland, No. 23-cv-00095-O, 2023 WL 6457920, at *11 (N.D. Tex. Oct. 2, 2023))).

 They argue that PICA’s prohibition of “various common parts, including ones that are

 designed to accommodate people of different statures or who have different physical

 needs to properly use their firearms and/or the self-defense use of the firearm to

 which they are affixed (e.g., pistol grips, adjustable stocks, flash suppressors, barrel

 shrouds, etc.) . . . precludes Illinoisans . . . from being able to keep their firearms in

 working order or suited to their needs.” (Id., pp. 13–14 (citing Ezell at 704)).

 D. This Court’s Determination

       While Bevis offers several historical examples as evidence of PICA’s

 congruence with the nation’s history and tradition of firearms regulation, none of

 these examples are as dispositive as the Seventh Circuit argues, even in light of

 Rahimi’s interpretation of Bruen’s command. See Bevis at 1201–02. The 1746

 Massachusetts Bay Colony statute is not a ban on possession of firearms; rather, it is

 a ban on the discharge of firearms. See Chapter 11—An Act to Prevent the Firing of

 Guns Charged with Shot[t] or Ball in the Town of Boston, §§ 1–3, in 3 The Acts and

 Resolves of the Province of the Massachusetts Bay 1742-1756, at 305–06 (1878). As

 Judge Brennan stated in his dissent in Bevis, “[r]egulations against the discharge of

 weapons compare better to modern criminal statutes prohibiting, for example, the

 reckless discharge of a firearm. And prohibitions on the carrying of certain weapons

 do not amount to a categorical ban of whole classes of firearms. These examples thus

 fail the ‘how’ question in Bruen.” Bevis at 1227 (Brennan, J., dissenting) (citing 720




                                       Page 149 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 150 of 168     Page ID
                                          #466



 ILL. COMP. STAT. § 5/241.5(a)). The statute from Arkansas also fails Bruen’s “how and

 why” test. See Chapter 53—Carrying Weapons, §§ 1907–1909, in A Digest of the

 Statutes of Arkansas 490 (W.W. Mansfield, ed., 1884); see Bevis at 1227 (Brennan, J.,

 dissenting) (“This law was passed after ratification of the Fourteenth Amendment

 and banned the sale of these knives. It did not categorically ban their possession. This

 example fails the ‘how’ and the ‘why’ test of Bruen for the reasons given previously.”).

 The Provo City ordinance is also akin to a concealed carry prohibition, not an outright

 prohibition. See Chapter 6—Offenses Against the Peace of the City, § 182, in The

 Revised Ordinances of Provo City 106–07 (1877).

       Moving to the National Firearms Act examples cited by the Seventh Circuit in

 Bevis, these statutes are far removed from ratification and the Fourteenth

 Amendment. That being said, even when considering the original 1934 National

 Firearms Act, the Supreme Court rendered the 1934 Act virtually unenforceable

 because of the possessor or an unregistered firearm’s privilege from self-

 incrimination under the Fifth Amendment of the U.S. Constitution. See Haynes v.

 United States, 390 U.S. 85 (1968). While the 1968 amendment is admittedly similar

 to PICA, even this statute was challenged in United States v. Freed, 401 U.S. 601

 (1971). The 1986 amendment prohibited the transfer or possession of machine guns

 (with a broad exception for those lawfully possessed before the effective date). Judge

 Wood concludes this section in Bevis by saying, “[i]n short, there is a long tradition,

 unchanged from the time when the Second Amendment was added to the

 Constitution, supporting a distinction between weapons and accessories designed for




                                      Page 150 of 168
Case 3:23-cv-00141-SPM           Document 54       Filed 11/08/24       Page 151 of 168        Page ID
                                                 #467



 military or law-enforcement use, and weapons designed for personal use. The

 legislation now before us respects and relies on that distinction.” Bevis at 1202. With

 the utmost respect for the Seventh Circuit’s determinations, this Court is concerned

 that the statutes described above do not adequately evince a history and tradition of

 the regulation of specific semiautomatic rifles, shotguns, and attachments. The Court

 must also emphasize that the rights of Illinois citizens to keep and bear arms in the

 21st century are not vexed in the least by the Statute of Northampton and similar

 laws passed centuries before the foundation of our nation. While such historical

 exegeses have value in tracing the origins of the right codified by the Second

 Amendment, such laws are not directly on point when it comes to the exercise of

 Second Amendment rights by Illinois’s law-abiding citizens.

        Considering the above, the Court turns to the parties’ arguments in order to

 determine where PICA fits in the history and tradition of laws restricting firearms.

 After an exhaustive review of the statutes and arguments provided by the

 Government, the Court holds that the nation’s history and tradition of firearms

 regulation does not support a statute as far-reaching as PICA. Put another way, the

 Government’s arguments do not satisfactorily answer the “how” and “why” questions

 required by Bruen—most of the statutes it cites were prohibitions on concealed carry

 or on discharging weapons, not the outright prohibition of such weapons entirely. Of

 the statutes cited in the Government’s Appendix to their Proposed Findings of Fact

 (Doc. 247, Ex. 1), only 4% (9 out of 22534) of the cited statutes entirely restricted the


 34 Because this Court categorically determined that semiautomatic weapons are not “machineguns,”

 this Court excluded the statutes cited in Table 5. (See Doc. 247, Ex. 1, tbl. 5). While the Government


                                            Page 151 of 168
Case 3:23-cv-00141-SPM          Document 54       Filed 11/08/24       Page 152 of 168        Page ID
                                                #468



 sale and/or possession of entire classes of weapons. (See id., Ex. 1, tbl. 1, No. 39; id.,

 tbl. 3, Nos. 32, 33; id., tbl. 4, Nos. 32, 40–42, 44; id., tbl. 6, No. 2); see also 1881 Ark.

 Acts 191–92, An Act to Preserve the Public Peace and Prevent Crime, ch. XCVI, §§

 1–3; 1879 Tenn. Pub. Acts 135-36, An Act to Prevent the Sale of Pistols, chap. 96, §

 1; 1927 Haw. Sess. Laws 209–17, AN ACT Regulating the Sale, Transfer and

 Possession of Certain Firearms and Ammunitions, and Amending Sections 2136,

 2137, 2138, 2139, 2140, 2141, 2142, 2143, 2146 and 2147 of the Revised Laws of

 Hawaii 1925 (the “Small Arms Act”), § 5; 1927 Ind. Acts 469, ch. 156, § 12; 1927 R.I.

 Pub. Laws 256, An Act to Regulate the Possession of Firearms: §§ 1, 4; 1933 Or. Laws

 489, An Act to Amend Sections 72-201, 72-202, 72-207, Oregon Code 1930, ch. 315, §§

 3–4; A. McMicken, City Attorney, The Revised Ordinances of the City of Rawlins,

 Carbon County, Wyoming, 131–32 (1893), Article VII, Carrying Firearms and Lethal

 Weapons, § 1; 1837 Ga. Acts. 90, An Act to Guard and Protect the Citizens of this

 State, Against the Unwarrantable and too Prevalent use of Deadly Weapons, §§ 1–4.

 Moreover, of these 9 statutes, 5 of them were related to revolvers—weapons the Heller

 Court deemed to be presumptively lawful. See 554 U.S. at 629 (“Whatever the reason,

 handguns are the most popular weapon chosen by Americans for self-defense in the

 home, and a complete prohibition of their use is invalid.”).

        Like the statutes cited in Bevis, the Government relies predominantly and

 overwhelmingly on concealed carry statutes, statutes restricting the discharge of

 firearms, and statutes proscribing brandishing or causing terror. (See Doc. 247, Ex.


 states that this table relates to “machine guns” and “semi-automatic weapons,” the cited statutes are
 universally related to machineguns, not to the semiautomatic rifles at issue in this case. (See id.).


                                           Page 152 of 168
Case 3:23-cv-00141-SPM         Document 54     Filed 11/08/24   Page 153 of 168     Page ID
                                             #469



 1). While these statutes may answer the “why” question in Bruen because they were

 clearly preventing death or injury from firearms, they cannot answer the “how”

 question. Moreover, the Government clearly cannot demonstrate that PICA follows

 any historical tradition of sweeping prohibitions on the sale, transfer, and possession

 of vast swaths of firearms.

       Moreover, while the Court has the utmost empathy for those who have lost

 loved ones to grisly mass shootings, the data simply does not show what the

 Government claims. Handguns are predominately used both in gun-related

 homicides and in mass shootings and yet the Heller Court held the following:

       We are aware of the problem of handgun violence in this country, and
       we take seriously the concerns raised by the many amici who believe
       that prohibition of handgun ownership is a solution. The Constitution
       leaves the District of Columbia a variety of tools for combating that
       problem, including some measures regulating handguns. But the
       enshrinement of constitutional rights necessarily takes certain policy
       choices off the table. These include the absolute prohibition of handguns
       held and used for self-defense in the home. Undoubtedly some think that
       the Second Amendment is outmoded in a society where our standing
       army is the pride of our Nation, where well-trained police forces provide
       personal security, and where gun violence is a serious problem. That is
       perhaps debatable, but what is not debatable is that it is not the role of
       this Court to pronounce the Second Amendment extinct.

 554 U.S. at 636 (citing id., 625–29; id. at 627 n.26). Just as in Heller, the Government

 has raised concerns about public safety and about mass shootings that are worthy of

 careful thought and consideration. However, such concerns do not rise to the level of

 eliminating constitutional rights present since the time of the founding.

       The D.C. Circuit also addressed Bruen’s history and tradition analysis in its

 recent opinion. See Hanson v. District of Columbia, No. 23-7061 (D.C. Cir. Oct. 29,




                                      Page 153 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 154 of 168     Page ID
                                          #470



 2024). In holding that the Government had met their burden to demonstrate that

 there was a history and tradition sufficiently analogous to the challenged D.C.

 statute, the D.C. Circuit wrote that “[t]he broader regulation of weapons that are

 particularly capable of unprecedented lethality includes other prominent examples,

 such as the ban on sawed-off shotguns held constitutional by the Supreme Court in

 Miller and implicitly approved in Heller.” Hanson at *22 (citing Heller at 627; Ocean

 State Tactical v. Rhode Island, 95 F.4th 38, 47 (1st Cir. 2024) (The “Congress began

 regulating sawed-off shotguns in 1934, after they became popular with the mass

 shooters of their day — notorious Prohibition-era gangsters like Bonnie Parker and

 Clyde Barrow.” (quotations omitted))). They write that “[t]he examples above

 regarding Prohibition-era bans on machine guns, although insufficient to support a

 tradition of regulating magazines in and of themselves, fit nicely into the tradition of

 regulating weapons particularly capable of unprecedented lethality.” Id.

        The D.C. Circuit also argues that “[l]arge capacity magazines have given rise

 to an unprecedented societal concern: mass shootings,” id. at *26, and state that “[a]

 nuanced approach is also appropriate for the analysis of historical analogues to the

 District’s   magazine   cap   because   large-capacity,   detachable   magazines     for

 semiautomatic handguns are a relatively modern invention.” Id. at *28. The First

 Circuit made a similar argument in Ocean State Tactical, arguing that “we find in

 the record no direct precedent for the contemporary and growing societal concern that

 such weapons have become the preferred tool for murderous individuals intent on

 killing as many people as possible, as quickly as possible,” noting that “[t]his is




                                      Page 154 of 168
Case 3:23-cv-00141-SPM      Document 54       Filed 11/08/24   Page 155 of 168   Page ID
                                            #471



 unsurprising, given evidence that ‘the first known mass shooting resulting in ten or

 more deaths’ did not occur in this country until 1949.” 95 F.4th at 44 (citing Oregon

 Firearms Fed’n, Inc. v. Brown, 644 F. Supp. 3d 782, 803 (D. Or. 2022)) (footnote

 omitted). The Fourth Circuit stated in Bianchi that:

       This case calls for such a nuanced approach. The ripples of fear
       reverberating throughout our nation in the wake of the horrific mass
       shootings in, for example, Las Vegas, Orlando, Blacksburg, Sandy Hook,
       Sutherland Springs, El Paso, Uvalde, Lewiston, Parkland, San
       Bernardino, Binghamton, Fort Hood, Thousand Oaks, Virginia Beach,
       Washington, D.C., Aurora, Monterey Park, Pittsburgh, Geneva County,
       Boulder, Buffalo, Covina, Dayton, Red Lake, Roseburg, San Jose, Santa
       Fe, Allen, Charleston, Indianapolis, Manchester, Omaha, and Plano—
       each of which occurred in the 21st century and resulted in at least nine
       fatalities—stem from a crisis unheard of and likely unimaginable at the
       founding.

 111 F.4th at 463 (citation omitted).

       In line with the First, Fourth, Seventh, and D.C. Circuits, the Government

 points to language in Bruen in which the Supreme Court states that “[w]hile the

 historical analogies here and in Heller are relatively simple to draw, other cases

 implicating unprecedented societal concerns or dramatic technological changes may

 require a more nuanced approach” because “[t]he regulatory challenges posed by

 firearms today are not always the same as those that preoccupied the Founders in

 1791 or the Reconstruction generation in 1868.” Bruen at 27. That being said, the

 Court notes that the “unprecedented societal concerns” argument was made and

 rejected by the majority in both Heller and in Bruen. Justice Breyer wrote in great

 detail in both dissents about the increasing prevalence of firearm crimes in the

 United States, including mass shootings, yet his arguments were in dissent. See supra




                                        Page 155 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24   Page 156 of 168    Page ID
                                          #472



 section I.A. While paying lip service to Bruen’s command, these are the same

 arguments used by the First Circuit in Ocean State Tactical, by the Fourth Circuit in

 Bianchi, by the D.C. Circuit in Hanson, and by the Government in this case. This

 Court looks to Heller, which explicitly held that “the fact that modern developments

 have limited the degree of fit between the prefatory clause and the protected right

 cannot change our interpretation of the right.” Id. at 627–28. The Heller Court was

 aware of the grisly criminal reputation of handguns, yet still held them to be in

 common use, not dangerous and unusual, and held that the District of Columbia could

 not restrict them. Semiautomatic rifles are not a “new” invention—their current form

 is the result of the plodding pace of technological development.

       Moreover, the assertions of the Government and the Seventh Circuit that mass

 shootings are a new phenomenon are clearly inaccurate. As the Plaintiffs indicate,

 Native Americans, slaves and freedpeople, and various other “undesirable” groups

 were frequently victims of mass killings. (See Doc. 253, pp. 89–90 (citing STEPHEN P.

 HALBROOK, THE FOUNDERS’ SECOND AMENDMENT: ORIGINS OF THE RIGHT TO BEAR

 ARMS 105–06 (2008); Nat’l Rifle Ass’n v. Bondi, 61 F.4th 1317, 1319 (11th Cir. 2023);

 Doc. 185, Ex. 6 (Roth Rep.), ¶¶ 11, 18, 28–29; 41–43; Doc. 185, Ex. 7 (Klarevas Rep.),

 pp. 34, 37)). Mass killings are, unfortunately, an American tradition.

       In summary, while mass shootings and firearm-related deaths are universally

 tragic and senseless, the Government has not met its burden to prove that the history

 and tradition of firearm regulations supports PICA’s expansive sweep, covering

 hundreds of models of weapons, magazines, and attachments used by tens of millions




                                     Page 156 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 157 of 168     Page ID
                                          #473



 of law-abiding United States citizens. The Court notes that it has taken care to

 analyze each facet of this case in exacting, excruciating detail in order to generate an

 Order that is not simply a policy decision in disguise.

 III. Motion for Partial Summary Judgment on the Langley Plaintiffs’ Counts

 IV and VI (Doc. 220)

       The Court first assesses the Government’s pending Motion for Partial

 Summary Judgment on the Langley Plaintiffs’ Counts IV and VI (Doc. 220). The

 Court notes that this Motion addresses the same subject matter (a facial challenge to

 PICA’s constitutionality based on vagueness) as the Court assessed when it denied

 the Langley Plaintiffs’ Motion for Partial Summary Judgment (Doc. 111) on

 December 14, 2023 (Doc. 132). In its Motion, the Government argues that “the

 Langley plaintiffs’ vagueness claims fail as a matter of law, and Director Kelly is

 entitled to summary judgment in his favor” because “[a]s the Court correctly found,

 the Langley plaintiffs’ vagueness claims present a ‘question of law,’ and as such there

 are no relevant, material facts at issue with this motion.” (Doc. 220, p. 3 (citing Doc.

 132, p. 5); Little Arm Inc. v. Adams, 13 F.Supp.3d 914, 920 (S.D. Ind. 2014) (“The

 interpretation of a statute is a question of law, and such questions are particularly

 appropriate for summary judgment.”) (citing Masters v. Hesston Corp., 291 F.3d 985,

 989 (7th Cir. 2002))). As the Langley Plaintiffs have not advanced any other facts

 with respect to an argument that has been thoroughly analyzed and briefed, the

 Government argues that summary judgment should be granted.




                                      Page 157 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24    Page 158 of 168      Page ID
                                           #474



        While the Langley Plaintiffs did respond to the Government’s Motion (see Doc.

 254), it is in the form of a single paragraph in which they state that “[i]t is noted that

 Plaintiff previously moved for summary judgment on these grounds which was

 denied. Plaintiff stands on their previously vagueness arguments made, and request

 this Court Deny those summary judgment arguments on vagueness made by

 Defendant.” (Id., p. 8).

        The court shall grant summary judgment “if the movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a

 matter of law.” Spurling v. C & M Fine Pack, Inc., 739 F.3d 1055, 1060 (7th Cir. 2014)

 (quoting FED. R. CIV. P. 56(a)). Once the moving party has set forth the basis for

 summary judgment, the burden then shifts to the nonmoving party who must go

 beyond mere allegations and offer specific facts showing that there is a genuine issue

 of fact for trial. FED. R. CIV. P. 56(e); see Celotex Corp. v. Catrett, 477 U.S. 317, 322–

 23 (1986). Stated another way, the nonmoving party must offer more than

 “[c]onclusory allegations, unsupported by specific facts,” to establish a genuine issue

 of material fact. Payne v. Pauley, 337 F.3d 767, 773 (7th Cir. 2003) (citing Lujan v.

 Nat’l Wildlife Fed’n, 497 U.S. 871, 888 (1990)).

        In determining whether a genuine issue of fact exists, the Court must view the

 evidence and draw all reasonable inferences in favor of the party opposing the motion.

 Bennington v. Caterpillar Inc., 275 F.3d 654, 658 (7th Cir. 2001); see also Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “A genuine issue of material fact arises

 only if sufficient evidence favoring the nonmoving party exists to permit a jury to




                                      Page 158 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24   Page 159 of 168     Page ID
                                           #475



 return a verdict for that party.” Faas v. Sears, Roebuck & Co., 532 F.3d 633, 640–41

 (7th Cir. 2008) (quoting Springer v. Durflinger, 518 F.3d 479, 483 (7th Cir. 2008)).

 The non-movant cannot simply rely on its pleadings; the non-movant must present

 admissible evidence that sufficiently shows the existence of each element of its case

 on which it will bear the burden of proof at trial. Midwest Imps., Ltd. v. Coval, 71

 F.3d 1311, 1317 (7th Cir. 1995) (citing Serfecz v. Jewel Food Stores, 67 F.3d 591, 596

 (7th Cir. 1995); Greater Rockford Energy & Tech. Corp. v. Shell Oil Co., 998 F.2d 391,

 394 (7th Cir. 1993), cert. denied, 510 U.S. 1111 (1994); Celotex, 477 U.S. at 323–24).

       Here, the Government is correct—besides the Langley Plaintiffs’ previous

 filings on this matter (see Docs. 111, 117, 129) and their argument presented live to

 the Court (see Doc. 125), they have neither advanced any arguments nor presented

 any admissible evidence to prove their claims regarding the facial unconstitutionality

 of PICA on vagueness grounds. The Government noted in its Motion to Supplement

 (Doc. 124) that Langley Plaintiffs’ Declarants indicate that they understand how to

 interpret and apply PICA’s definitions, whether they agree with them or not. (See id.,

 pp. 5–15). Indeed, the Langley Plaintiffs’ response explicitly states that they offer no

 new arguments and do not dispute any of the Government’s facts. (See Doc. 254, p.

 8). As the Government notes, this Court previously assessed the Langley Plaintiffs’

 vagueness arguments in its December 14, 2023 Order (Doc. 132) in which this Court

 stated that their arguments were better suited for an as-applied constitutional

 challenge. (See id., pp. 15–16).




                                      Page 159 of 168
Case 3:23-cv-00141-SPM       Document 54      Filed 11/08/24     Page 160 of 168     Page ID
                                            #476



        Because the facts are not in dispute and because the Langley Plaintiffs have

 not presented any additional argument regarding their vagueness challenge either in

 briefing or at trial, the Court holds that summary judgment on Counts IV and VI of

 the Langley Plaintiffs’ Complaint is appropriate. The Court’s holding in its previous

 Order that “the Langley Plaintiffs’ facial challenge has not met constitutional muster”

 carries forward to the instant motion. (Doc. 132, p. 16). Because of this, the

 Government’s Motion for Partial Summary Judgment (Doc. 220) must be granted.

 IV. Permanent Injunction

        Permanent injunctions are “not available as a matter of course.” Liebhart v.

 SPX Corp., 998 F.3d 772, 774 (7th Cir. 2021). Rather, as a “creature of equity, . . . the

 district court has discretion to decide whether that relief is warranted, even if it has

 found liability.” Id. Relief via a permanent injunction is appropriate if the applicant

 proves the following: “(1) that it has suffered an irreparable injury; (2) that remedies

 available at law . . . are inadequate . . . ; (3) that, considering the balance of hardships

 . . . , a remedy in equity is warranted; and (4) that the public interest would not be

 disserved by a permanent injunction.” Id. at 779 (quoting eBay Inc. v. MercExchange,

 L.L.C., 547 U.S. 388, 391 (2006)). “The ultimate decision whether to issue such an

 injunction lies within the discretion of the district court.” Id. (citing EEOC v.

 AutoZone, Inc., 707 F.3d 824, 840 (7th Cir. 2013)). The Seventh Circuit has made it

 clear that “an injunction issues ‘only as necessary to protect against otherwise

 irremediable harm’” and that they “give great deference to the court’s decision either

 to issue or to deny an injunction.” Id. (quoting LAJIM, LLC v. Gen. Elec. Co., 917 F.3d




                                       Page 160 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 161 of 168     Page ID
                                          #477



 933. 944 (7th Cir. 2019)) (citing United States v. Bethlehem Steel Corp., 38 F.3d 862,

 867 (7th Cir. 1994); Bowes v. Ind. Sec’y of State, 837 F.3d 813, 817 (7th Cir. 2016)).

       “A permanent injunction (as opposed to a preliminary injunction or a

 temporary restraining order) is not provisional in nature, but rather is a final

 judgment.” Plummer v. Am. Inst. of Certified Pub. Accts., 97 F.3d 220, 229 (7th Cir.

 1996) (citing Walgreen Co. v. Sara Creek Property Co., 966 F.2d 273, 275 (7th Cir.

 1992)). Thus, while the applicant for a preliminary injunction “must establish that he

 is likely to succeed on the merits,” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,

 20 (2008), “when the plaintiff is seeking a permanent injunction, the first of the four

 traditional factors is slightly modified, for the issue is not whether the plaintiff has

 demonstrated a reasonable likelihood of success on the merits, but whether he has in

 fact succeeded on the merits.” Plummer, 97 F.3d at 229 (citing Amoco v. Village of

 Gambell, 480 U.S. 531, 546 n.12 (1987)).

       Additionally, the Supreme Court has stated that “[f]acial challenges are

 disfavored for several reasons.” Wash. State Grange v. Wash. State Republican Party,

 552 U.S. 442, 450 (2008). Because “[c]laims of facial invalidity often rest on

 speculation . . . , they raise the risk of ‘premature interpretation of statutes on the

 basis of factually barebones records.’” Id. (quoting Sabri v. United States, 541 U.S.

 600, 609 (2004) (internal quotation marks and brackets omitted). “Facial challenges

 also run contrary to the fundamental principle of judicial restraint that courts should

 neither ‘anticipate a question of constitutional law in advance of the necessity of

 deciding it ‘nor ‘formulate a rule of constitutional law broader than is required by the




                                      Page 161 of 168
Case 3:23-cv-00141-SPM       Document 54      Filed 11/08/24     Page 162 of 168     Page ID
                                            #478



 precise facts to which it is to be applied.’” Id. (quoting Ashwander v. TVA, 297 U.S.

 288, 347 (1936) (Brandeis, J., concurring)). “Finally, facial challenges threaten to

 short circuit the democratic process by preventing laws embodying the will of the

 people from being implemented in a manner consistent with the Constitution.” Id.

        The Seventh Circuit has states that “[i]n a facial constitutional challenge,

 individual application facts do not matter” and that “[o]nce standing is established,

 the plaintiff’s personal situation becomes irrelevant.” Ezell v. City of Chicago, 651

 F.3d 684, 697 (7th Cir. 2011). “It is enough that ‘[w]e have only the [statute] itself’

 and the ‘statement of basis and purpose that accompanied its promulgation.’” Id. at

 697–98 (quoting Reno v. Flores, 507 U.S. 292, 300–01 (1993); Nicholas Quinn

 Rosenkranz, The Subjects of the Constitution, 62 STAN. L. REV. 1209, 1238 (2010);

 David L. Franklin, Facial Challenges, Legislative Purpose, and the Commerce Clause,

 92 IOWA L. REV. 41, 58 (2006); Mark E. Isserles, Overcoming Overbreadth: Facial

 Challenges and the Valid Rule Requirement, 48 AM. U. L. REV. 359, 387 (1998)).

 Additionally, according to the Salerno principle, “a law is not facially unconstitutional

 unless it ‘is unconstitutional in all of its applications.’” Id. at 698 (quoting Wash. State

 Grange, 552 U.S. at 449); see United States v. Salerno, 481 U.S. 739, 745 (1987). The

 Seventh Circuit continues, stating that “[i]n a facial challenge . . . , the claimed

 constitutional violation inheres in the terms of the statute, not its application.” Ezell

 at 698 (citing Rosenkranz, The Subjects of the Constitution, 62 STAN. L. REV. at 1229–

 38). “The remedy is necessarily directed at the statute itself and must be injunctive




                                       Page 162 of 168
Case 3:23-cv-00141-SPM       Document 54     Filed 11/08/24   Page 163 of 168         Page ID
                                           #479



 and declaratory; a successful facial attack means the statute is wholly invalid and

 cannot be applied to anyone.” Id.

       “Whether invalid provisions in a state law can be severed from the whole to

 preserve the rest is a question of state law.” Burlington N. & Santa Fe Ry. Co. v.

 Doyle, 186 F.3d 790, 804 (7th Cir. 1999) (citing Leavitt v. Jane L., 116 S. Ct. 2068,

 2069 (1996); Brockett v. Spokane Arcades, Inc., 472 U.S. 491, 506 (1985)). The Illinois

 Supreme Court has stated “the general test in determining whether an invalid part

 of a statute is severable” is the following:

        If what remains after the invalid portion is stricken is complete in itself
       and capable of being executed wholly independently of that which is
       rejected, the invalid portion does not render the entire section
       unconstitutional unless it can be said that the General Assembly would
       not have passed the statute with the invalid portion eliminated.

 Com. Nat. Bank of Chi. v. City of Chicago, 432 N.E.2d 227, 240 (Ill. 1982) (citing

 Livingston v. Ogilvie, 250 N.E.2d 138 (Ill. 1969); City of Carbondale v. Van Natta, 338

 N.E.2d 19 (Ill. 1975); Village of Oak Lawn v. Marcowitz, 427 N.E.2d 36 (Ill. 1981)).

       The Plaintiffs seek to enjoin the application of PICA in the entirety, including

 the registration requirement and endorsement affidavit process and the criminal

 penalties associated with the knowing possession of weapons proscribed by PICA. See

 PICA §§ 5/24-1(14) (bump stocks); 5/24-1.9 (assault weapons and attachments); 5/24-

 1.10 (large-capacity magazines). The Court has previously addressed the Plaintiffs’

 arguments that the statute is unconstitutionally vague via a Motion for Partial

 Summary Judgment filed by the Langley Plaintiffs. (See Doc. 132).




                                       Page 163 of 168
Case 3:23-cv-00141-SPM      Document 54       Filed 11/08/24     Page 164 of 168       Page ID
                                            #480



       While the Plaintiffs are vague about their requested remedy, the Government

 insists that this Court is limited to enjoining the enforcement of PICA against the

 specific named Plaintiffs. Not so. In Ezell, the Seventh Circuit was clear that, if a

 statute is found to be facially unconstitutional under the Second Amendment, that it

 is unconstitutional in all applications. Full stop. Additionally, the Government has

 argued that the offending portions of PICA should be severed from the whole, as the

 Illinois Statute on Statutes applies to PICA. (See Doc. 116, pp. 21–22 (quoting 5 ILL.

 COMP. STAT. 70/1.31)); see also 720 ILL. COMP. STAT. § 97 (“Severability. The

 provisions of this Act are severable under Section 1.31 of the Statute on Statutes.”).

 The Seventh Circuit also indicated in Bevis that specificity was required in

 determining    whether    portions    of    PICA       should   be   stricken   for    their

 unconstitutionality, namely §§ 5/24-1(a)(14)–(16) (bump stocks and assault weapons);

 5/24-1.9(a)–(h) (assault weapons and attachments); and 5/24-1.10(a)–(h) (large-

 capacity magazines). This does not include the in-line modifications made by PICA to

 extant statutes.

       While neither side has briefed the issue of severability in detail, the Court

 holds that the Statute on Statutes covers PICA such that, should the Plaintiffs meet

 their burden, the Court is empowered to enjoin the constitutionally offensive portions

 of PICA “[u]nless it is evident that the legislature would not have enacted those

 provisions which are within its power, independently of that which is not, the invalid

 part may be dropped if what is left is fully operative as a law.” Champlin Refining

 Co. v. Corp. Comm'n of Okla., 286 U.S. 210, 234 (1932). Reviewing the challenged




                                      Page 164 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 165 of 168    Page ID
                                          #481



 provisions of PICA, this Court is concerned that the Illinois Legislature would not

 have enacted the provisions of PICA related to the definition of assault weapons only

 without including any operative provisions. See PICA §§ 5/24-1(14) (bump stocks);

 5/24-1.9(a) (assault weapons and attachments); 5/24-1.10(a) (large-capacity

 magazines). This Court also recognizes that Illinois’s definition of “assault weapons”

 may be referenced elsewhere in the statutory scheme and that future legislation may

 be passed that does not offend the Second Amendment. However, this Court is unable

 to determine a reasonable way to sever the offensive portions of PICA such that what

 remains would have been enacted by the legislature or is operative as a law.

 Therefore, this Court holds that the operative provisions of PICA cannot be severed

 from the whole and must be stricken in the entirety.

       Considering the four factors discussed supra, the Plaintiffs have successfully

 proven the merits of their case. Clearly, remedies at law are insufficient to remedy

 an injury of constitutional magnitude such as PICA’s infringement on Illinois citizens’

 time-honored right to bear arms guaranteed by the Second Amendment. Considering

 the balance of hardships here, it is clear that a remedy in equity is warranted—the

 constitutional injury here demands action from this Court in accordance with the

 Second Amendment’s “unqualified command.” Bruen, 597 U.S. at 17 (quoting

 Konigsberg v. State Bar of Cal., 366 U.S. 36, 50, n.10 (1961)).

       While the Plaintiffs’ vagueness concerns about PICA’s text have been

 previously addressed (see Doc. 132), the Court is deeply concerned about arbitrary

 enforcement. Various Sheriffs’ Departments in Illinois have expressly indicated that




                                     Page 165 of 168
Case 3:23-cv-00141-SPM           Document 54       Filed 11/08/24       Page 166 of 168        Page ID
                                                 #482



 they will decline to enforce PICA in their counties. See, e.g., Sarah Schulte, New Gun

 Law: Over 2 Dozen Sheriffs Refuse to Enforce Illinois Assault Weapons Ban, ABC7

 Chi. (Jan. 12, 2023), https://abc7chicago.com/illinois-assault-weapon-ban-gun-laws-

 2023-mchenry-county           -sheriff-kane/12694745/           [https://perma.cc/5VQX-NYSZ].

 Indeed, the McHenry County Sheriffs’ Department (one of the Defendants in Barnett)

 filed a Response (Doc. 39) to the Motion for Preliminary Injunction (Doc. 10)

 expressing that they believe that PICA is unconstitutional.35 The Illinois Sheriffs’

 Association also filed an amicus brief arguing that PICA is unconstitutional. (See Doc.

 50). Therefore, it stands to reason that PICA can and will be enforced arbitrarily.

        The data also indicate that property crimes are increasing across the country.

 See Associated Press, FBI Report: Violent Crime Decreases to Pre-Pandemic Levels,

 but Property Crime Is on the Rise, U.S News & World Report (Oct. 16, 2023, 11:43

 a.m.), https://www.usnews.com/news/us/articles/2023-10-16/fbi-report-violent-crime-

 decreases-to-pre-pandemic-levels-but-property-crime-is-on-the-rise.                    What         is

 particularly disturbing is that the prohibition of weapons that are commonly owned

 and used by citizens are now banned, depriving citizens of a principal means to defend

 themselves and their property in situations where a handgun or shotgun alone would

 not be the citizen’s preferred arm.

        Therefore, the Court must take action as justice demands. PICA is an

 unconstitutional affront to the Second Amendment and must be enjoined. The


 35 The Sheriffs of St. Clair County and Randolph County both filed similarly worded Responses (see

 Docs. 40 & 41) indicating that they did not adopt the arguments of either the Plaintiffs or Defendants
 and that they “request clarity of the current state of the law so that they may perform their duties
 under the Constitution and laws of the State of Illinois.” (Doc. 40, p. 3; Doc. 41, p. 4).


                                            Page 166 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24    Page 167 of 168   Page ID
                                          #483



 Government may not deprive law-abiding citizens of their guaranteed right to self-

 defense as a means of offense. The Court will stay enforcement of the permanent

 injunction for a period of thirty (30) days from the date of this Order.

 V. Concluding Observations

       Sadly, there are those who seek to usher in a sort of post-Constitution era

 where the citizens’ individual rights are only as important as they are convenient to

 a ruling class. Seeking ancient laws that may partner well with a present-day

 infringement on a right proclaimed in the Bill of Rights without reading it in

 conjunction with the aforementioned history is nonsense. The Statute of

 Northampton cannot in the least bit be used to vex the rights of Illinois citizens in

 the 21st century to keep and bear arms. The oft-quoted phrase that “no right is

 absolute” does not mean that fundamental rights precariously subsist subject to the

 whims, caprice, or appetite of government officials or judges.

                                      CONCLUSION

       For the reasons set forth above, the Government’s Motion for Partial Summary

 Judgment on the Langley Plaintiffs’ Counts IV and VI (Doc. 220) is GRANTED.

       Most importantly, considering all of the evidence presented, the Court holds

 that the provisions of PICA criminalizing the knowing possession of specific

 semiautomatic rifles, shotguns, magazines, and attachments are unconstitutional

 under the Second Amendment to the United States Constitution as applied to the

 states by the Fourteenth Amendment. Therefore, the Plaintiffs’ request for a

 permanent injunction is GRANTED. The State of Illinois is hereby ENJOINED




                                      Page 167 of 168
Case 3:23-cv-00141-SPM      Document 54     Filed 11/08/24   Page 168 of 168     Page ID
                                          #484



 from the enforcement of PICA’s criminal penalties in accordance with 720 ILL. COMP.

 STAT. §§ 5/24-1(a)(14)–(16) (bump stocks and assault weapons); 5/24-1.9(a)–(h)

 (assault weapons and attachments); and 5/24-1.10(a)–(h) (large-capacity magazines)

 against all Illinois citizens, effective immediately. As the prohibition of firearms is

 unconstitutional, so is the registration scheme for assault weapons, attachments, and

 large-capacity magazines. Therefore, the State of Illinois is ENJOINED from

 enforcing the firearm registration requirements and penalties associated with

 entering false information on the endorsement affidavit for non-exempt weapons,

 magazines, and attachments previously required to be registered in accordance with

 430 ILL. COMP. STAT. 65/4.1. This permanent injunction is STAYED for thirty (30)

 days. The Clerk of Court is DIRECTED to enter judgment in favor of the Plaintiffs.

 IT IS SO ORDERED.

 DATED: November 8, 2024



                                                /s/ Stephen P. McGlynn_
                                                STEPHEN P. McGLYNN
                                                U.S. District Judge




                                     Page 168 of 168
